                        Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 1 of 52
                                           Patient History Report           EXHIBIT J
       Client:
       Client:      Candy, Bob
                    Candy,  Bob {Tri-State
                                (Tri-State Zoo)
                                           Zoo) (15924)
                                                (15924)                       Patient:
                                                                              Patient:     Zoo (37600)
                                                                                           Zoo  (37600)
       Phone:
       Phone:       (240) 727-8051
                    (240) 727-8051                                           Species:
                                                                             Species:      Other Large
                                                                                           Other  Large                  Breed: Other
                                                                                                                         Breed: Other Large
                                                                                                                                      Large
     Address:
     Address:       10105 Cottage
                    10105  Cottage Inn
                                    Inn Ln
                                        Ln NE
                                           NE                                     Age:     7Yrs.
                                                                                           7 Yrs. 11 Mos.                  Sex: Male
                    Cumberland, MD
                    Cumberland,  MD 21502
                                      21502                                     Color:
                                                                                Color:     Apricotlwhite
                                                                                           ApricoUWhite


         Date Type
         Date Type              Staff
                                Staff           History
                                                History




    5/21/2020 c
              C                 AB
                                AB             Default Comments
                                               Default  Comments
                                               All records were
                                               All records were emailed
                                                                emailed to
                                                                        to gloia.s.mcfadden@usda.gov
                                                                           gloia.s.mcfaddenusda.gov on
                                                                                                     on 5-21-20.
                                                                                                        5-21-20. AB
                                                                                                                 AB



    10/3/2019 c
              C                 GD             Default Comments
                                               Default   Comments
                                               Routine evaluation
                                               Routine   evaluation of of zoo.
                                                                          zoo. Of
                                                                                Of note:
                                                                                   note: Dodger
                                                                                          Dodger shows
                                                                                                    shows evidence
                                                                                                              evidence ofof ectoparasites
                                                                                                                            ectoparasites
                                               (fleas)- recommend
                                               (fleas)-  recommend treatment.
                                                                        treatment. Vaccinated
                                                                                     Vaccinated both
                                                                                                   both miniature
                                                                                                          miniature horses
                                                                                                                       horses with
                                                                                                                               with Flu/Rhino,
                                                                                                                                    Flu/Rhino,
                                               West Nile
                                               West   Nile Virus,
                                                            Virus, PHF.
                                                                    P1-IF. Mr.
                                                                           Mr. Candy
                                                                                Candy reports
                                                                                        reports that
                                                                                                 that owner
                                                                                                       owner of of bears
                                                                                                                   bears declines
                                                                                                                          declines treating
                                                                                                                                    treating
                                               dental disease
                                               dental  disease d/td/t age
                                                                      age of
                                                                           of bears-
                                                                              bears- discussed
                                                                                      discussed that
                                                                                                   that condition
                                                                                                         condition isis painful
                                                                                                                        painful and
                                                                                                                                and highly
                                                                                                                                     highly
                                               recommend treatment.
                                               recommend       treatment. Cheyenne-
                                                                            Cheyenne- no  no obvious
                                                                                             obvious abnormalities
                                                                                                        abnormalities noted,
                                                                                                                          noted, ambulates
                                                                                                                                  ambulates well,
                                                                                                                                                well,
                                               played with
                                               played   with plastic
                                                              plastic barrel,
                                                                      barrel, stood
                                                                               stood on
                                                                                      on hind
                                                                                          hind legs-
                                                                                               legs- nono visible
                                                                                                           visible abnormalities.
                                                                                                                    abnormalities. Peka-
                                                                                                                                     Peka- mild
                                                                                                                                             mild
                                               difference in
                                               difference   in muscling
                                                               muscling of of LF
                                                                              LF vs
                                                                                 vs RF
                                                                                     RF limb
                                                                                          limb and
                                                                                               and drop
                                                                                                     drop inin height
                                                                                                               height of
                                                                                                                       of cranial
                                                                                                                          cranial thoracic
                                                                                                                                  thoracic spine
                                                                                                                                            spine
                                               vs. shoulder
                                               vs. shoulder height.
                                                               height. Discussed
                                                                        Discussed possibility
                                                                                     possibility of
                                                                                                  of arthritis-
                                                                                                     arthritis- discussed
                                                                                                                 discussed meloxicam
                                                                                                                             meloxicam trial
                                                                                                                                          trial
                                               including risks
                                               including   risks of
                                                                 of NSAIDS
                                                                     NSAIDS in in cats.
                                                                                  cats. Mowgli-
                                                                                         Mowgli- discussed
                                                                                                   discussed recurrent
                                                                                                                 recurrent fingal
                                                                                                                            fingal disease-
                                                                                                                                   disease-
                                               patient shows evidence of patches where    where skin has pigmented and hair has not
                                               grown back from previous infections- discussed that may or may not reflect
                                               continued disease.
                                               continued    disease. Mr.
                                                                       Mr. Candy
                                                                            Candy opts
                                                                                    opts to
                                                                                          to conitnue
                                                                                             conitnue to to treat
                                                                                                            treat with
                                                                                                                   with CKIHC
                                                                                                                        CKIHC shampoo
                                                                                                                                 shampoo as  as
                                               needed.
                                               needed.


    10/3/2019 B
    10/3/2019 B                 GD             1.00 LAS
                                               1.00 LA S Farm
                                                         Farm Call
                                                               Call (LAFARMC)
                                                                    (LAFARMC) byby AMM
                                                                                   AMM
              B
    10/3/2019 B                 GD             1.00 LAS
                                               1.00 LA S Professional
                                                         Professional Service
                                                                      Service Consult
                                                                              Consult (589764)
                                                                                      (589764) by
                                                                                               by AMM
                                                                                                  AMM
    10/3/2019 B
    10/3/2019 B                 GD                                (CF-FINAL) by AMM
                                               1.00 Charges Final (CHFINAL)     AMM



    9/22/2019 c
    9/22/2019 C                 GD             Default Comments
                                               Default Comments
                                               Present at
                                               Present  at Tri-State
                                                           Tri-State Zoo
                                                                      Zoo for
                                                                            for visit
                                                                                visit by
                                                                                      by PETA
                                                                                          PETA personnel,
                                                                                                  personnel. Mr.
                                                                                                              Mr. Nevin
                                                                                                                   Nevin Young,
                                                                                                                          Young, Mr.
                                                                                                                                   Mr. Candy.
                                                                                                                                         Candy.
                                               Abnormalities
                                               Abnormalities ofof note-
                                                                  note- severe
                                                                         severe dental
                                                                                   dental disease
                                                                                            disease in
                                                                                                     in Asian
                                                                                                        Asian Bears
                                                                                                               Bears (both)
                                                                                                                      (both) likely
                                                                                                                             likely d/t
                                                                                                                                     d/t
                                               previously discussed
                                               previously  discussed chewing
                                                                       chewing on  on bars-
                                                                                       bars- Mr.
                                                                                               Mr. Candy
                                                                                                   Candy toto discuss
                                                                                                              discuss with
                                                                                                                       with owners
                                                                                                                            owners of of bears.
                                                                                                                                          bears.
                                               Peka shows
                                               Peka  shows evidence
                                                             evidence of of decreased
                                                                            decreased muscle
                                                                                           muscle tone
                                                                                                    tone in
                                                                                                         in LF
                                                                                                             LF limb-
                                                                                                                limb- discussed
                                                                                                                      discussed with
                                                                                                                                  with Mr.
                                                                                                                                         Mr.
                                               Candy- new
                                               Candy-  new since
                                                             since last
                                                                    last visit.
                                                                         visit. Will
                                                                                Will revisit
                                                                                      revisit at
                                                                                              at next
                                                                                                 next scheduled
                                                                                                      scheduled zoozoo evaluation
                                                                                                                       evaluation visit.
                                                                                                                                    visit.



    9/22/2019 B
    9/22/2019 B                 GD             1.00 LAS
                                               1.00 LA S Farm
                                                         Farm Call
                                                              Call (LAFARMC)
                                                                   (LAFARMC) byby AMM
                                                                                  AMM
    9/22/2019 B
    9/22/2019 B                 GD             1.00 LAS Professional Service Consult (589764) by AMM
    9/22/2019 B
    9/22/2019 B                 GD             1.00 Charges
                                               1.00 Charges Final
                                                            Final (CHFINAL)
                                                                  (CHFINAL) by
                                                                             by AMM
                                                                                AMM



    5/30/2019 c
    5/30/2019 C                 GD             Default Comments
                                               Default Comments


                        CB:call back, CK:Check"in,
B:Billing, C:Med note, CB:Call         cK:Check-in, CM:Communications,
                                                    CM:communtcations, D:Diagnosis, DH:Oeclined
                                                                                    DH:Declined to history, E:Examination, ES:Estimates,
l:Deparling instr, L:Lab result. M:lmage cases, P:Prescription, PA:PVL
!:Departing                                                     PAPA Accepted, PB:problems, PP:PVL
                                                                                            PP:PvL Performed, PR:PVL Recommended,
R:correspondence, T:lmages, TC:Tentative
R:Correspondence,                Tc:Tentative medl note, V:vital
                                                         V:Vital signs


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                                                                            of 4
                                                                               4                                              7:38 PM
                                                                                                              Date: 3/24/2021 7:38PM




                                                                                                                                                 MVS00109
                        Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 2 of 52
                                                            Patient History Report
       Client: Candy,
       Client: Candy, Bob
                       Bob (Tri-State
                           (Tri-State Zoo)
                                      Zoo) (15924)
                                           (15924)                             Patient:
                                                                               Patient:      Zoo (37600)
                                                                                             Zoo  (37600)
       Phone: (240) 727-8051                                                  Species:
                                                                              Species:       Other  Large
                                                                                             Other Large                   Breed: Other Large
     Address:  10105 Cottage
     Address: 10105   Cottage Inn
                               Inn Ln
                                   Ln NE
                                      NE                                          Age:
                                                                                   Age:      7Yrs.
                                                                                             7      11 Mos.
                                                                                               Yrs. 11 Mos.                  Sex: Male
               Cumberland, MD 21502                                              Color:
                                                                                 Color:      Apricot/White
                                                                                             ApricoUWhite


          Date Type
          Date Type             Staff
                                Staff           History
                                                History


                                                Quarterly visit
                                                Quarterly    visit (last
                                                                   (last visit
                                                                          visit roughly
                                                                                roughly 6 6months
                                                                                            months ago):
                                                                                                       ago): Discussed
                                                                                                               Discussed footfoot baths
                                                                                                                                   baths with
                                                                                                                                          with Mr.
                                                                                                                                                Mr.
                                                Candy- has
                                                Candy-    has not
                                                                not installed/started
                                                                     installed/started procedure
                                                                                          procedure yet.yet. All   animals appear
                                                                                                              All animals    appear relatively
                                                                                                                                      relatively
                                                healthy. Discussed
                                                healthy.   Discussed Dodger-
                                                                          Dodger- Mr.Mr. Candy
                                                                                          Candy had had taken
                                                                                                         taken himhim to
                                                                                                                       to a
                                                                                                                          aprimate
                                                                                                                            primate specialist
                                                                                                                                      specialist per
                                                                                                                                                   per
                                                veterinary plan
                                                veterinary    plan as
                                                                    as MVS
                                                                        MVS does
                                                                               does not
                                                                                      not practice
                                                                                           practice onon primates-
                                                                                                          primates- seenseen this
                                                                                                                               this past
                                                                                                                                    past winter
                                                                                                                                          winter for
                                                                                                                                                  for
                                                apparent forstbite,
                                                apparent    forsthite, had
                                                                         had first
                                                                              first digits
                                                                                    digits of
                                                                                           of all
                                                                                              all fingers
                                                                                                   fingers on
                                                                                                            on both
                                                                                                                 both hands
                                                                                                                       hands andand aafew
                                                                                                                                       few on
                                                                                                                                            on hind
                                                                                                                                                hind feet
                                                                                                                                                      feet
                                                (Mr. Candy
                                                (Mr.  Candy was       unsure which
                                                               was unsure      which digits)
                                                                                       digits) removed
                                                                                               removed d/t   d/t damage
                                                                                                                 damage (presumably)-
                                                                                                                            (presumably)- alsoalso
                                                recieved RV,
                                                recieved    RV, also
                                                                  also discovered
                                                                        discovered DOdger
                                                                                       DOdger was       neutered previously.
                                                                                                  was neutered       previously. Bobcat
                                                                                                                                   Bobcat shows
                                                                                                                                            shows
                                                evidence of
                                                evidence    of arthritis-
                                                                arthritis- discussed
                                                                           discussed meloxicam
                                                                                         meloxicam trialtrial for
                                                                                                              for comfort.
                                                                                                                   comfort. Discussed
                                                                                                                              Discussed separating
                                                                                                                                           separating
                                                Kumar and India again- Mr. Candy had previously indicated that separation was
                                                possible- indicated today that he would have to likely move one of the tigers next to
                                                Pika (lion) and decrease her space by half (to the pen she originally inhabited).
                                                Kumar and
                                                Kumar    and India
                                                               India observed
                                                                       observed multiple
                                                                                   multiple times
                                                                                              times during
                                                                                                      during visit
                                                                                                               visit attempting
                                                                                                                     attempting to to breed-
                                                                                                                                      breed- India
                                                                                                                                               India
                                                would
                                                would posture for Kumar, Kumar would       would mount high on back. Mr. Candy said they
                                                have done that before by he has not observed Kumar "getting close to the right
                                                spot- advised
                                                spot"-  advised Mr. Mr. Candy
                                                                        Candy that
                                                                                 that the
                                                                                       the risk
                                                                                            risk is
                                                                                                  is enough
                                                                                                     enough to  to advise
                                                                                                                   advise immediate
                                                                                                                            immediate separation
                                                                                                                                         separation
                                                and/or implantation of deslorelin implant in India- elected separation dit              d/t high cost of
                                                implant and risks associated with     with sedation. Set up date for next visit to vaccinate/
                                                float farm animals and horses.



              B
    5/30/2019 B                 GD
                                GO              1.00 LAS
                                                1.00 LA S Farm
                                                          Farm Call
                                                                Call (LAFARMC)
                                                                     (LAFARMC) by by MR
                                                                                     AJR
    5/30/2019 B
    5/30/2019 B                 GD
                                GD              1.00 LAS
                                                1.00 LA S Professional
                                                          Professional Service
                                                                       Service Consult
                                                                               Consult (589764)
                                                                                       (589764) by
                                                                                                by AJR
                                                                                                   AJR
    5/30/2019 B
    5/30/2019 B                 GD
                                GO              1.00 Charges
                                                1.00 Charges Final
                                                              Final (CHFI
                                                                    (CF{FINAL) byAJR
                                                                          NAL) by AJR



    5/21/2019 C     c           GD
                                GO              Default Comments
                                                Owner presented
                                                Owner   presented forfor review
                                                                         review ofof veterinary
                                                                                     veterinary plan
                                                                                                   plan as
                                                                                                         as revised
                                                                                                              revised by
                                                                                                                       by GD.
                                                                                                                           GD. Discussed
                                                                                                                                  Discussed withwith
                                                owner recommended changes including foot baths at all entrances, changes in
                                                feeding, review
                                                feeding,  review ofof nutrition
                                                                      nutrition plan
                                                                                 plan by
                                                                                       by veterinary
                                                                                          veterinary nutritionist
                                                                                                        nutritionist bi-annually
                                                                                                                      bi-annually (recommended
                                                                                                                                      (recommended
                                                previously), flea/tick
                                                previously),  fleaftick control
                                                                        control (GD
                                                                                  (GD will   call Zoetis
                                                                                        will call Zoetis toto inquire
                                                                                                              inquire about
                                                                                                                       about safety
                                                                                                                                safety ofof revolution
                                                                                                                                            revolution
                                                plus), vaccinations
                                                plus), vaccinations (Mr.
                                                                       (Mr. Candy
                                                                             Candy toto review
                                                                                         review facility
                                                                                                  facility plan
                                                                                                           plan to
                                                                                                                 to facilitate
                                                                                                                    facilitate vaccination),
                                                                                                                                vaccination),
                                                separating Kumar/
                                                separating   Kumar/ India
                                                                       India to
                                                                              to prevent
                                                                                 prevent breeding,
                                                                                           breeding, vaccinations
                                                                                                         vaccinations for for farm
                                                                                                                              farm animals
                                                                                                                                     animals areare all
                                                                                                                                                     all
                                                due, and
                                                due,  and fecals.
                                                           fecals. Also   discussed visits-
                                                                    Also discussed     visits- advised
                                                                                                advised Mr.Mr. Candy
                                                                                                                Candy that
                                                                                                                        that per
                                                                                                                               per his
                                                                                                                                   his previous
                                                                                                                                         previous
                                                veterinary plan
                                                veterinary  plan visits
                                                                  visits were   recommended quarterly
                                                                         were recommended          quarterly andand he
                                                                                                                     he has
                                                                                                                         has not
                                                                                                                               not had
                                                                                                                                    had usus out
                                                                                                                                              out for
                                                                                                                                                  for 66
                                                months at
                                                months   at this
                                                            this point.
                                                                 point. Owner
                                                                         Owner to to call
                                                                                     call and
                                                                                          and set
                                                                                                set up
                                                                                                     up next
                                                                                                         next visit
                                                                                                               visit with
                                                                                                                     with Allie
                                                                                                                           Allie at
                                                                                                                                 at his
                                                                                                                                     his
                                                convenience.
                                                convenience.



    12/6/2018 c
    12/6/2018 C                 GD
                                GO              Default Comments
                                                Default Comments
                                                Discussions with owner at visit- All
                                                                                  All patients appear to be in good body condition
                                                with no apparent
                                                with no apparent obvious
                                                                  obvious healthy
                                                                           healthy concerns
                                                                                   concerns at at this
                                                                                                  this time.
                                                                                                       time. Discusse
                                                                                                             Discusse feeding
                                                                                                                        feeding of
                                                                                                                                 of deer-
                                                                                                                                    deer-
                                                recommend no
                                                recommend    no more
                                                                 more than
                                                                      than one
                                                                            one deer
                                                                                 deer per
                                                                                       per week   even seasonally
                                                                                           week even     seasonally dlt
                                                                                                                    d/t potential
                                                                                                                         potential
                                                concerns of
                                                concerns  of vitamin
                                                             vitamin A toxicosis. Discussed
                                                                     A toxicosis. Discussed feeding
                                                                                               feeding deer
                                                                                                         deer meat
                                                                                                              meat and
                                                                                                                   and bone
                                                                                                                          bone without
                                                                                                                                without

D:Billing, C:Med
B:Billlng, c:Med note, CB:Call
                        cB:call back, CK:Check-in,
                                      cK:check-in, CM:Communications,
                                                    CM:communioations, D:Diagnosis, DH:Declined
                                                                                       DH:Declinedto          E:Examinalion, ES:Estimates,
                                                                                                  to history, E:Examination,
l:Departing instr, L:Lab result.
!:Departing              result, M:lmage
                                 M:tmage cases, P:Prescription,
                                                P:Prescription. PA:PVL
                                                                PA.-PVLAccepted,  PB:problems. PP:PVL
                                                                        Accepted, PB:probtems, PP:PvL Performed, PR:PVL
                                                                                                                   PR:PvL Recommended,
R:correspondence, T:lmages, TC:Tentative medf
R:Correspondence,                            medl note, V:vital
                                                         V:Vita! signs


 MOUNTAINVIEW VETERINARY
 MOUNTAINVIEW VETERINARY SVS
                         SVS                                          Page 2
                                                                      Page 2of4
                                                                             of 4                               Date: 3/24/2021
                                                                                                                Date: 3/24/2021 7:38PM
                                                                                                                                7:38 PM




                                                                                                                                                      MVS00110
                        Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 3 of 52
                                           Patient History Report
        Client: Candy,
        Client: Candy, Bob
                        Bob (Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                             Patient:      Zoo (37600)
        Phone: (240)
        Phone:  (240) 727-8051
                      727-8051                                                 Species:
                                                                               Species:       Other Large
                                                                                              Other  Large                   Breed: Other
                                                                                                                             Breed: Other Large
                                                                                                                                          Large
      Address:  10105 Cottage
      Address: 10105   Cottage Inn
                                Inn Ln
                                    Ln NE
                                       NE                                          Age:
                                                                                   Age:       7Yrs.
                                                                                              7 Yrs. 11
                                                                                                     11 Mos.
                                                                                                        Mos.                   Sex: Male
                                                                                                                               Sex: Male
                Cumberland, MD
                Cumberland,  MD 21502
                                  21502                                          Color:
                                                                                 Color:       Apricot/White
                                                                                              ApricoUWhite


          Date Type
          Date Type              Staff
                                 Staff           History
                                                 History


                                                 viscera to
                                                 viscera   to decrease
                                                              decrease thisthis potential-
                                                                                potential- advised
                                                                                           advised owner
                                                                                                     owner that
                                                                                                            that this
                                                                                                                 this may
                                                                                                                       may help
                                                                                                                              help but
                                                                                                                                    but should
                                                                                                                                         should still
                                                                                                                                                   still
                                                 be limited
                                                 be  limited to
                                                              to one
                                                                  one per
                                                                        per week.
                                                                            week. Advised    to be
                                                                                    Advised to  be sure
                                                                                                    sure to
                                                                                                         to feed
                                                                                                            feed chicken
                                                                                                                  chicken necks
                                                                                                                              necks andand backs
                                                                                                                                            backs at  at
                                                 previously recommended
                                                 previously    recommended frequency
                                                                                  frequency (3
                                                                                             (3 nights
                                                                                                 nights per
                                                                                                        per week)
                                                                                                            week) although
                                                                                                                     although eating
                                                                                                                                  eating of
                                                                                                                                          of deer
                                                                                                                                              deer
                                                 bones will
                                                 bones   will also
                                                               also assist
                                                                     assist with  maintaining calcium
                                                                             with maintaining   calcium intake.
                                                                                                         intake. Owner
                                                                                                                  Owner willwill continue
                                                                                                                                 continue to to
                                                 monitor feedstuffs
                                                 monitor    feedstuffs for
                                                                         for signs
                                                                             signs of
                                                                                    of spoilage
                                                                                       spoilage and
                                                                                                 and avoid
                                                                                                      avoid feeding
                                                                                                             feeding ifif present
                                                                                                                          present asas many
                                                                                                                                        many
                                                 different kinds of meat is donated. Discussed recommended feeding alterations
                                                 that will
                                                 that       be present
                                                      will be   present inin revised
                                                                             revised veterinary
                                                                                      veterinary plan
                                                                                                  plan (currently
                                                                                                       (currently under
                                                                                                                   under revision)
                                                                                                                            revision) toto include
                                                                                                                                           include
                                                 written   recommendations on
                                                 written recommendations          on sanitation,
                                                                                     sanitation, feeding
                                                                                                  feeding times
                                                                                                          times and
                                                                                                                  and protocols,
                                                                                                                        protocols, weighing
                                                                                                                                      weighing feed,
                                                                                                                                                  feed,
                                                 food logs, etc. Some recommendations are already being followed, some are
                                                 recommended for conssitency and monitoring in future. Discussed fecal samples-
                                                 recommended in october and have not yet been recieved. recommend separate
                                                 samples for
                                                 samples     for all
                                                                 all mammals
                                                                     mammals present,
                                                                                  present, group
                                                                                           group sample
                                                                                                   sample OKOK for
                                                                                                                for tortoises
                                                                                                                    tortoises andand reptiles
                                                                                                                                       reptiles
                                                 housed together.
                                                 housed     together. Discussed
                                                                        Discussed cold
                                                                                     cold weather   management- all
                                                                                          weather management-        all animals
                                                                                                                          animals appear
                                                                                                                                     appear to to be
                                                                                                                                                  be
                                                 comfortable and
                                                 comfortable     and inin good
                                                                          good health
                                                                                 health today.
                                                                                        today.



   12/6/2018
   12/6/2018        B
                    B           GD                    LA S Professional Service Fee (16115) by BJH
                                                 1.00 LAS                                         BJN
   12/6/2018
   12/6/2018        B
                    B           GD               1.00 Charges
                                                 1.00 Charges Final
                                                                Final (CHFINAL)
                                                                      (CHFINAL) byby BJH
                                                                                     BJH
  11/13/2018
  11/13/2018        B
                    B           GD               1.00 Legal
                                                 1.00 Legal Services-
                                                             Services- Expert
                                                                        Expert Witness
                                                                               Witness Depositio
                                                                                       Depositio (MISCFEE)
                                                                                                 (MISCFEE) by
                                                                                                            by ACS
                                                                                                               ACS
  11/13/2018
  11/13/2018        B
                    B           GD               1.00 Charges
                                                 1.00 Charges Final
                                                                Final (CHFINAL)
                                                                      (CHFINAL) byby ACS
                                                                                     ACS
    6/2/2018
    6/2/2018        B
                    B           GD               15.00 Fecal
                                                 15.00  Fecal Ova
                                                              Ova and
                                                                   and Parasites
                                                                        Parasites (FEOVAP)
                                                                                  (FEOVAP) byby CO
                                                                                                CO
    6/2/2018        B
                    B           GD               2.00 [None]
                                                 2.00 [None] of
                                                              of Fecal,
                                                                 Fecal, Primate,
                                                                        Primate, To
                                                                                 To ldexx
                                                                                    ldexx (FECPRIM)
                                                                                          (FECPRIM) byby CO
                                                                                                         CO
    6/2/2018
    6/2/2018        B
                    B           GD               1.00 Charges
                                                 1.00 Charges Final
                                                                Final (CHFINAL)
                                                                      (CHFINAL) byby CO
                                                                                     CO



    5/25/2018 c
              C                 GD              Default Comments
                                                Default   Comments
                                                After  communications with
                                                After communications       with AZA-accredited    veterinarian- discussed
                                                                                AlA-accredited veterinarian-        discussed possibility
                                                                                                                                possibility of
                                                                                                                                             of
                                                spinal arthropathy
                                                spinal  arthropathy inin Cayenne-
                                                                         Cayenne- recommends
                                                                                     recommends spinal/abdominal
                                                                                                     spinal/abdominal radiographs
                                                                                                                           radiographs ifif
                                                abnormal behavior
                                                abnormal    behavior continues,
                                                                        continues, abdominal
                                                                                    abdominal ultrasound.
                                                                                                ultrasound. If If no
                                                                                                                  no abnormalitites
                                                                                                                      abnormalitites reports
                                                                                                                                       reports
                                                has had
                                                has  had good
                                                           good success
                                                                  success with   meloxicam for
                                                                            with meloxicam   for potential
                                                                                                 potential arthritis/spinal
                                                                                                             arthritis/spinal arthropathies.
                                                                                                                               arthropathies. InIn
                                                regards to
                                                regards   to diet-
                                                             diet- recommends
                                                                    recommends vitamin/mineral
                                                                                   vitamin/mineral supplement.
                                                                                                      supplement. In  In regards
                                                                                                                         regards to
                                                                                                                                  to "Dodger"
                                                                                                                                     "Dodger"
                                                recommend if
                                                recommend      if a
                                                                  afemal
                                                                    femal becomes
                                                                           becomes available
                                                                                      available attempt
                                                                                                attempt introdcution,
                                                                                                           introdcution, recommend
                                                                                                                           recommend tetanuz
                                                                                                                                          tetanuz
                                                vaccine every
                                                vaccine   every 5 5years,
                                                                    years, rabies
                                                                            rabies every
                                                                                   every 3
                                                                                         3years
                                                                                           years (if
                                                                                                   (if has
                                                                                                       has had
                                                                                                            had appropriate
                                                                                                                  appropriate boosters
                                                                                                                                boosters inin
                                                past). Clarification
                                                past).  Clarification of
                                                                       of vaccination
                                                                          vaccination recommendations
                                                                                       recommendations for   for big
                                                                                                                  big cats
                                                                                                                       cats pending.
                                                                                                                            pending.



    5/24/2018 c
    5/24/2018 C                 GD               Default Comments
                                                 Default   Comments
                                                 Fecal samples
                                                 Fecal  samples taken
                                                                    taken for
                                                                          for evaluation-
                                                                              evaluation- all
                                                                                          all mammals
                                                                                              mammals except
                                                                                                       except goats
                                                                                                              goats (pending
                                                                                                                    (pending
                                                 availability), tortoise.
                                                 availability), tortoise. For
                                                                          For submittal
                                                                              submittal to
                                                                                        to IDEXX
                                                                                           IDEXX (farm
                                                                                                  (farm animals
                                                                                                        animals to
                                                                                                                to be
                                                                                                                   be run
                                                                                                                      run in-house).
                                                                                                                          in-house).



              B
    5/24/2018 B                 GD                    LA S Fecal Floatation (lab)
                                                 1.00 LAS                   (Lab) (854) by CO

                       co:call back, ck:check-in, CM:Communications,
B:Billing, C:Med note, CB:Call                      cM:communicauons, D:Diagnosis,
                                                                         D:Oiagnosis, DH:Declined
                                                                                      DII:Declined to history,
                                                                                                      histoiy, E:Examination, ES:Estimates,
                                                                                                                              ES: Estimates,
IDeparting instr, L:Lab result. M:lmage
!:Departing                     M:Image cases, P:Prescription, PA:PVL
                                                                PkPVLAccepted,
                                                                       Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
                     T:Images, TC:Tentative
R:Correspondence, T:lmages,                   medi note, v:vitar
                                 Tc:Tentative medl       V:Vilal signs


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                                                                                 4                               Date: 3/24/2021
                                                                                                                 Date: 3/24/2021 7:38
                                                                                                                                 7:38 PM
                                                                                                                                      PM




                                                                                                                                                    MVS00111
                        Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 4 of 52
                                                            Patient History Report
       Client:
        Client: Candy,
                Candy, Bob
                        Bob (Tri-State Zoo)
                            (Tri-State Zoo) (15924)
                                            (15924)                            Patient:
                                                                               Patient:       Zoo (37600)
                                                                                              Zoo  (37600)
       Phone:
       Phone: (240)
                (240) 727-8051
                      727-8051                                                Species:
                                                                              Species:        Other  Large
                                                                                              Other Large                    Breed: Other Large
     Address:
     Address: 10105
                10105 Cottage
                       Cottage Inn  Ln NE
                               Inn Ln  NE                                         Age:
                                                                                  Age:        7Yrs.
                                                                                              7 Yrs. 11
                                                                                                     11 Mos.
                                                                                                        Mos.                   Sex: Male
                                                                                                                               Sex: Male
                Cumberland,
                Cumberland, MD
                             MD 21502
                                  21502                                          Color:
                                                                                 Color:       Apricot/White
                                                                                              ApricoUWhite


          Date
          Date Type
               Type             Stall
                                Staff           History
                                                History


    5/17/2018
    5/17/2018 B
              8                 GD              1.00
                                                1.00 LAS  Professional Service
                                                     LAS Professional  Service Fee
                                                                               Fee (16115)
                                                                                   (16115) by
                                                                                           by CO
                                                                                              CO
    5/17/2018
    5/17/2018 B
              8                 GD              1.00 Charges Final
                                                1.00 Charges  Final (CHFINAL)
                                                                    (CHFINAL) by
                                                                               by CO
                                                                                  CO



    4/13/2018
    4/13/2018 C     c           GD              Default Comments
                                                Default   Comments
                                                Presented for
                                                Presented      for first
                                                                    first quarterly
                                                                           quarterly zoozoo visit-
                                                                                              visit- for
                                                                                                      for purposes
                                                                                                           purposes of     of finalizing
                                                                                                                              finalizing USDA
                                                                                                                                            USDA form form forfor
                                                veterinary    care. Items
                                                veterinary care.       Items discussed
                                                                                 discussed include
                                                                                                include housing-
                                                                                                            housing- all  all animals
                                                                                                                              animals havehave access
                                                                                                                                                  access to   to
                                                shade/shelterat
                                                shade/shelterat all    all times.
                                                                            times. Straw
                                                                                     Straw used
                                                                                              used intermittently
                                                                                                      intermittently for   for bedding
                                                                                                                                bedding as  as needing
                                                                                                                                                 needing
                                                depending
                                                depending on   on weather/        flooring (i.e
                                                                    weather/ flooring        (i.e to
                                                                                                  to pad
                                                                                                       pad concrete).
                                                                                                              concrete). All      animals have
                                                                                                                              All animals      have resh
                                                                                                                                                       resh water
                                                                                                                                                              water
                                                available-    cleaned daily
                                                available- cleaned         daily oror if
                                                                                      if visibly
                                                                                         visibly contaminated.
                                                                                                  contaminated. Pool      Pool inin pen
                                                                                                                                     pen ofof three
                                                                                                                                              three sibling
                                                                                                                                                       sibling tigers
                                                                                                                                                                 tigers
                                                drained
                                                drained weekly-        fills with
                                                           weekly- fills            ground water
                                                                              with ground      water as  as well.    Sprinkler system
                                                                                                             well. Sprinkler       system available
                                                                                                                                              available on   on hot
                                                                                                                                                                 hot
                                                days
                                                days in   summer. Environmental
                                                       in summer.        Environmental enrichment
                                                                                               enrichment for    for Tigers
                                                                                                                      Tigers includes
                                                                                                                                includes various
                                                                                                                                             various objects
                                                                                                                                                         objects that
                                                                                                                                                                    that
                                                are
                                                are rotated- balls, barrels, tree trunks, deer. Fed variety of meats (donated)
                                                including    beef, pork,
                                                including beef,      pork, chicken
                                                                               chicken (legs,
                                                                                          (legs, necks,
                                                                                                  necks, etc),etc), whole
                                                                                                                      whole deerdeer (average
                                                                                                                                       (average 1    Iper
                                                                                                                                                        per week-
                                                                                                                                                              week-
                                                varies
                                                varies with     season). No
                                                         with season).        No supplements-
                                                                                   supplements- discussed
                                                                                                        discussed consultation
                                                                                                                        consultation with        big cat
                                                                                                                                          with big     cat
                                                nutritionist   bi-annually to
                                                nutritionist bi-annually         to evaluate
                                                                                    evaluate needneed for for supplements.
                                                                                                               supplements. Discussed
                                                                                                                                    Discussed cleaning
                                                                                                                                                   cleaning of   of
                                                pens-
                                                pens- mulch       raked/spot cleaned/feces
                                                        mulch raked/spot           cleaned/feces removed removed daily.daily. Discussed
                                                                                                                                Discussed adding
                                                                                                                                               adding area area ofof
                                                mulch
                                                mulch at at end
                                                            end of of sibling's
                                                                       sibling's penpen where
                                                                                          where they
                                                                                                   they laylay toto observe
                                                                                                                    observe otherother tigers-
                                                                                                                                         tigers- Mr.Mr. Candy
                                                                                                                                                          Candy to  to
                                                oversee addition
                                                oversee    addition of   of this.
                                                                             this. Roughly
                                                                                    Roughly 8   8feet
                                                                                                  feet between
                                                                                                          between sibling's
                                                                                                                        sibling's penpen and
                                                                                                                                          and other
                                                                                                                                                 other tigers.
                                                                                                                                                          tigers.
                                                Discussed
                                                Discussed Pika  Pika asas solitary
                                                                            solitary lion-
                                                                                       lion- shows
                                                                                              shows no   no evidence
                                                                                                             evidence of    of distress-
                                                                                                                                distress- discussed
                                                                                                                                             discussed ideally
                                                                                                                                                             ideally
                                                Lions   are in
                                                Lions are        pairs or
                                                             in pairs     or groups
                                                                              groups but but may
                                                                                              may notnot bebe necessary
                                                                                                                necessary based based on  on specific
                                                                                                                                              specific lion.
                                                                                                                                                           lion.
                                                Discussed
                                                Discussed farm farm animals-
                                                                       animals- to   to vaccinate
                                                                                         vaccinate in   in May.
                                                                                                           May. Discussed
                                                                                                                    Discussed castration
                                                                                                                                    castration of  of intact
                                                                                                                                                       intact mini
                                                                                                                                                                mini
                                                stud.  Discussed Capuchin-
                                                stud. Discussed         Capuchin- concern
                                                                                        concern of  of introdcuing
                                                                                                         introdcuing second
                                                                                                                          second d/t  d/t Dodger's
                                                                                                                                          Dodger's age, age, lack
                                                                                                                                                                lack ofof
                                                canines to
                                                canines    to protect
                                                               protect himself.
                                                                           himself. Discussed
                                                                                       Discussed Diva- Diva- in in isolation-
                                                                                                                    isolation- discussed
                                                                                                                                  discussed options
                                                                                                                                                  options of  of where
                                                                                                                                                                 where
                                                best to
                                                best  to house
                                                          house after
                                                                    after isolation.
                                                                            isolation. Discussed
                                                                                          Discussed tearing
                                                                                                          tearing of  of on
                                                                                                                         on pot
                                                                                                                              pot bellied
                                                                                                                                    bellied pig-
                                                                                                                                              pig- appears
                                                                                                                                                    appears
                                                related
                                                related toto entropion.
                                                             entropion. Discussed
                                                                               Discussed concerns
                                                                                              concerns of    of anesthesia
                                                                                                                 anesthesia in    in pigs
                                                                                                                                      pigs for
                                                                                                                                            for correction,
                                                                                                                                                 correction,
                                                discussed
                                                discussed daily cleaning of facial folds. Discussed vaccinations- recommend
                                                raccoons     vaccinated (although
                                                raccoons vaccinated            (although concerns
                                                                                             concerns of    of vaccinating
                                                                                                                vaccinating aged aged raccoon
                                                                                                                                          raccoon reviewed),
                                                                                                                                                       reviewed),
                                                vaccinate feral/domestic
                                                vaccinate     feral/domestic cats   cats yearly,
                                                                                           yearly, vaccinating
                                                                                                     vaccinating exotic exotic cats
                                                                                                                                 cats not
                                                                                                                                        not necessary
                                                                                                                                              necessary as    as
                                                reduction
                                                reduction of of exposure
                                                                 exposure risk   risk is
                                                                                      is most
                                                                                          most important.
                                                                                                 important. Discussed
                                                                                                                  Discussed fastingfasting days
                                                                                                                                             days after
                                                                                                                                                     after big
                                                                                                                                                             big
                                                meals    (deer) for
                                                meals (deer)      for large
                                                                        large cats-
                                                                                 cats- to
                                                                                        to provide
                                                                                            provide bones
                                                                                                        bones on  on fasting
                                                                                                                       fasting days.
                                                                                                                                 days. Mr.Mr. Candy
                                                                                                                                                Candy expressed
                                                                                                                                                           expressed
                                                concern of
                                                concern    of raccoon-
                                                                raccoon- abnormal
                                                                              abnormal scaling
                                                                                            scaling on  on paws,
                                                                                                             paws, appears
                                                                                                                       appears to   to prefer
                                                                                                                                       prefer fruits/vegetables
                                                                                                                                                fruits/vegetables
                                                over other
                                                over  other foods,
                                                               foods, hashas lump
                                                                                lump atat base
                                                                                           base ofof tail.
                                                                                                       tail. Recommend
                                                                                                              Recommend bring     bring to
                                                                                                                                         to clinic
                                                                                                                                             clinic atat next
                                                                                                                                                          next
                                                availability if travels well for further evaluation. Tiger Cayenne appears much
                                                improved
                                                improved overover last
                                                                     last visit,
                                                                            visit, interacting
                                                                                   interacting with       other tigers,
                                                                                                  with other       tigers, ambulating
                                                                                                                             ambulating normally,
                                                                                                                                              normally, appears
                                                                                                                                                             appears
                                                to have
                                                to        filled out,
                                                   have filled    out, hair
                                                                         hair coat
                                                                                coat appears
                                                                                       appears healthy.
                                                                                                   healthy.



   4/13/2018
   4/13/2018 B
             8                  GD
                                GO              1.00
                                                1.00 Consult Fee (LACON) by MMA
   4/13/2018
   4/13/2018 B
             8                  GD
                                GO              1.00 Charges Final
                                                1.00 Charges  Final (CHFINAL)
                                                                    (CHFINAL) by
                                                                              by MMA
                                                                                 MMA




B:Billing, c:Med
           C:Med note, cB:call
                        CB:Ca!l back, cK:check4n,
                                       CK:Check-in, cM:communtcatlons,                                       E:Examinalion. ES:Estimates,
                                                     CM:Communications, D:Diagnosis, DH:Declined to history, E:Examination,
l:Departing
!:Departing instr, L:Lab result, M:lmagecases,
                                 M:lmage cases, P:Prescription, PA:PVL
                                                                  PA:PvL Accepted, PB:problems, PP:PVL
                                                                                                PP:PvL Performed, PR:PVL
                                                                                                                  PR:PvL Recommended,
R:Correspondence, T:lmages, Tc:Tentative
                                  TC:Tentative medi
                                               medl note, v:vital
                                                          V:Vital signs


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              VETERINARY SVS                                               4of 4
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                                                                                                                                                                    MVS00112
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                                                               Patient History Report
         Client: Candy,
         Client: Candy, Bob
                         Bob (Tri-State
                             (Tri-State Zoo)
                                        Zoo) (15924)
                                             (15924)                              Patient:
                                                                                  Patient:      Charlie (3761
                                                                                                Charlie (37610)
                                                                                                              0)
         Phone: (240)
         Phone:  (240) 727-8051
                       727-8051                                                  Species:
                                                                                 Species:       Feline
                                                                                                Feline                            Breed: Puma
                                                                                                                                  Breed: Puma
       Address:  10105 Cottage
       Address: 10105   Cottage Inn
                                Inn Ln
                                     Ln NE
                                        NE                                           Age:
                                                                                     Age:       13 Yrs.
                                                                                                13 Yrs. 6
                                                                                                        6Mos.
                                                                                                          Mos.                      Sex: Male
                                                                                                                                    Sex: Male
                 Cumberland, MD
                 Cumberland,  MD 21502
                                   21502                                           Color:
                                                                                   Color:       Tan
                                                                                                Tan


           Date Type
           Date Type              Staff
                                  Staff            History
                                                   History


    1/19/2019
    1/19/2019        B
                     B            GD
                                  GD              -60.00 each
                                                  -60.00   each of
                                                                 of Doxycycline
                                                                    Doxycycline 100mg
                                                                                  100mg Tablet
                                                                                          Tablet (DOXTAB1)
                                                                                                 (DOXTABI) by
                                                                                                           by BJH
                                                                                                              BJH
    1/19/2019
    1/19/2019        B
                     B            GD
                                  GD              -2.00 tablet
                                                  -2.00  tablet of
                                                                of Mirtazapine
                                                                   Mirtazapine (MIRTAZ)
                                                                                (MIRTAZ) by by BJH
                                                                                               BJH
    1/1912019
    1/19/2019        B
                     B            GD
                                  GD              1,00 Charges
                                                  1.00  Charges Final
                                                                   Final (CHFINAL)
                                                                         (CHFINAL) by by BJH
                                                                                         BJH
    1/18/2019
    1/18/2019        B
                     B            HOS
                                  HOS             -60.00 each
                                                  -60.00  each ofof Doxycycline
                                                                    Doxycycline 100mg
                                                                                  100mg Tablet
                                                                                          Tablet (DOXTAB1)
                                                                                                 (DOXTAB1) by
                                                                                                           by AB
                                                                                                              AB
    1/18/2019
    1/18/2019        B
                     B            HOS
                                  HOS             -2.00 tablet
                                                  -2.00  tablet of
                                                                of Mirtazapine
                                                                   Mirtazapine (MIRTAZ)
                                                                                (MIRTAZ) by by AB
                                                                                               AB
   1211412018
   12/14/2018        B
                     B            HOS
                                  HOS             -3.00 cc
                                                  -3.00  cc of
                                                            of Cerenia
                                                               Cerenia 1010 mg
                                                                            mg injectable
                                                                                injectable (CERINJ)
                                                                                            (CERINJ) by
                                                                                                     by BW
                                                                                                        SW
   12/11/2018
   12/11/2018        B
                     B            HOS
                                  HOS             -1.00 CBC,Chem
                                                  -1.00  CBC,Chem 17,  17, Electrolytes-In
                                                                           Electrolytes- In House
                                                                                            House (CBC12EH)
                                                                                                   (CBC12EH) by
                                                                                                             by BW
                                                                                                                BW
   11/20/2018
   11/20/2018        B
                     B            IJS
                                  IJS             1.00 Charges
                                                  1.00  Charges Final
                                                                   Final (CHFINAL)
                                                                         (CHFINAL) by by DCN
                                                                                         DCN



   11/10/2018 C
   11/10/2018        c            GD
                                  GD              Default Comments
                                                  Default  Comments
                                                  Mr.   candy called to
                                                  Mr. candy called   to say
                                                                        say Charlie
                                                                            Charlie passed
                                                                                     passed during
                                                                                             during night-
                                                                                                    night- found
                                                                                                           found him
                                                                                                                   him stretched
                                                                                                                       stretched out
                                                                                                                                 out (likely
                                                                                                                                     (likely
                                                  d/t agonal
                                                  d/t  agonal breaths
                                                              breaths at
                                                                       at passing).
                                                                          passing). Had
                                                                                    Had not
                                                                                         not eaten,
                                                                                             eaten, did
                                                                                                    did not
                                                                                                        not get
                                                                                                             get oral
                                                                                                                 oral doxycycline
                                                                                                                      doxycycline into
                                                                                                                                  into
                                                  Charlie. Recommended
                                                  Charlie.  Recommended necropys-
                                                                             necropys- owner
                                                                                        owner declined.
                                                                                               declined. Owner
                                                                                                          Owner wanted
                                                                                                                  wanted toto know
                                                                                                                              know cause
                                                                                                                                   cause
                                                  of death-
                                                  of  death- advised
                                                             advised necropsy
                                                                      necropsy required
                                                                                 required to
                                                                                          to determine
                                                                                             determine cause
                                                                                                        cause ofof death.
                                                                                                                   death.



     11/9/2018 C
     11/9/2018       c            US
                                  IJS             Default Comments
                                                  Default Comments
                                                  Administered 3.2m1 excede,
                                                  Administered 3.2ml excede, 3m
                                                                             3m1I cerenia,
                                                                                  cerenia, 3m
                                                                                           3m1I dexamthasone
                                                                                                dexamthasone IM.
                                                                                                             IM.



     11/9/2018 p
     11/9/2018 P                  GD
                                  GD             60.00 each
                                                 60.00  each ofof Doxycycline
                                                                  Doxycycline 100mg
                                                                                  100mg Tablet
                                                                                           Tablet (DOXTAB1)
                                                                                                   (DOXTABI)
                                                 Rx #:
                                                 Rx #: 106471
                                                        106471 0    oOf
                                                                      Of 00Refills
                                                                            Refills Filled
                                                                                     Filled by:
                                                                                            by: TC
                                                                                                 TC
                                                 Give 6
                                                 Give  6tablets
                                                         tablets by
                                                                  by mouth
                                                                      mouth ONCE
                                                                               ONCE a  aday
                                                                                          day with  food until
                                                                                              with food  until gone
                                                                                                                gone
    11/9/2018 p
    11/9/2018 P                  GD
                                 GD              3.00 cc
                                                 3.00 cc of
                                                          of Cerenia
                                                             Cerenia 10 10 mg
                                                                            mg injectable
                                                                                 injectable (CERINJ)
                                                                                             (CERINJ)
                                                 Rx #: 1
                                                 Rx     106469
                                                         06469 0    0Of
                                                                      Of 00Refills
                                                                            Refills Filled
                                                                                     Filled by:
                                                                                            by: TC
                                                                                                 TC
                                                 Give 3
                                                 Give  3mls
                                                         mIs injection
                                                               injection SQ
                                                                          SQ
    11/9/2018 p
    11/9/2018 p                  GD
                                 GD              2.00 tablet
                                                 2.00 tablet of
                                                              of Mirtazapine
                                                                 Mirtazapine (MIRT
                                                                                (MIRTAZ)AZ}
                                                 Rx #: 1
                                                 Rx    106468
                                                         06468 0   0OfOf 00Refills
                                                                            Refills Filled
                                                                                     Filled by:
                                                                                            by: TC
                                                                                                TC
                                                 Give 2
                                                 Give  2tablets
                                                         tablets by
                                                                  by mouth
                                                                      mouth ONE
                                                                              ONE time
                                                                                     time
    11/9/2018
    11/9/2018       B
                    B            GD
                                 GD              2.00 tablet
                                                 2.00 tablet of
                                                              of Mirtazapine
                                                                 Mirtazapine (MIRTAZ)
                                                                                (MIRTAZ) by  by DCN
                                                                                                 DCN
    11/9/2018
    11/9/2018       B
                    B            GD
                                 GD              3.00 cc
                                                 3.00 cc of
                                                          of Cerenia
                                                             Cerenia 10 10 mg
                                                                           mg injectable
                                                                                injectable (CERINJ)
                                                                                             (CERINJ) byby DCN
                                                                                                            DCN
    11/9/2018
    11/9/2018       B
                    B            GD
                                 GD              60.00 each
                                                 60.00  each ofof Doxycycline
                                                                  Doxycycline 100mg
                                                                                  100mg Tablet
                                                                                           Tablet (DOXTAB1)
                                                                                                   (DOXTAB1) by   by DCN
                                                                                                                     DCN
    11/9/2018
    11/9/2018       B
                    B            GD
                                 GD              1.00 Charges
                                                 1.00 Charges Final
                                                                  Final (CHFINAL)
                                                                         (CHFINAL) by  by DCN
                                                                                           DCN
    11/9/2018
    11/9/2018       B
                    B            IJS
                                 IJS             1.00 LAS
                                                 1.00 LA S Farm
                                                             Farm Call
                                                                     Call (LAFARMC)
                                                                          (LAFARMC) by    by DCN
                                                                                              DCN
    11/9/2018
    11/9/2018       B
                    B            IJS
                                 IJS             3.00 cc
                                                 3.00 cc of
                                                          of LAM
                                                             LAM Excede
                                                                    Excede (5697872)
                                                                               (5697872) by by DCN
                                                                                                DCN
    11/9/2018
    11/9/2018       B
                    B            IJS
                                 IJS             3.00 cc
                                                 3.00 cc of
                                                          of Cerenia
                                                             Cerenia 10 10 mg
                                                                           mg injectable
                                                                                injectable (CERINJ)
                                                                                             (CERINJ) byby DCN
                                                                                                           DCN
    11/9/2018
    11/9/2018       B
                    B            IJS
                                 IJS             3.00 cc
                                                 3.00 cc of
                                                          of LAM
                                                             LAM Dexamethasone
                                                                    Dexamethasone (LAMDEX)
                                                                                         (LAMDEX) by  by DCN
                                                                                                          DCN
    11/8/2018
    11/8/2018       L
                    L            GD
                                 GD              Chemistry results
                                                 Chemistry       results from from IDEXX
                                                                                       IDEXX VetLab
                                                                                                 VetLab In-clinic
                                                                                                           In-clinic
                                                 Laboratory Requisition
                                                 Laboratory        Requisition ID:     ID:     9037
                                                                                               9037            Posted
                                                                                                               Posted         Final
                                                                                                                              Final
                                                 Test
                                                 Test                   Result
                                                                        Result                           Reference Range
                                                                                                         Reference      Range
                                                 ALB =
                                                 ALB=                   3.4 g/dL
                                                                        3.4   g/dL                       2.3 - 3.9
                                                                                                         2.3       3.9        -




                                                 ALKP<
                                                 ALKP   <               <1OU/LL
                                                                        <  10 U/L L                      14-111
                                                                                                         14    - 111

           c:Med note, CB:Call
B:Bilting, C:Med         cB:call back, CK:Check-Jn,
                                         cK:check-ln, CM:Communications,
                                                       cM:communicauons, D:Diagnosis,
                                                                            D:Oiagnosis, DH:Declined
                                                                                         Dftoeclined to history, E:Examination, ES:Estimates,
I:Deparling instr,l:lab
!:Departing  instr, 1:Lab result, M:fmage
                                  M:lmage cases, P:Prescriplion,
                                                  P:Prescrtption, PA:PVL
                                                                   PA:PvL Accepted, PB:problems,
                                                                                    PB:problems, PP:PVL
                                                                                                 PP:PvL Performed, PR:PVL Recommended,
R:correspondence, T:lmages, TC:Tentative
R:Correspondence,                  Tc:Tentative medl
                                                rnedl note, V:Vltal
                                                            v:vital signs


 MOUNTAINVIEW VETERINARY
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                                                                               of 5
                                                                                  5                              Date: 4/30/2021
                                                                                                                 Date: 4/30/2021 12:10
                                                                                                                                 12:10 PM
                                                                                                                                       PM



                                                                                                                                                MVS00161
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 6 of 52
                                                               Patient History
                                                               Patient History Report
                                                                               Report
                           (Tri-State Zoo) (15924)
        Client: Candy, Bob (Tri-State                                          Patient:             (37610)
                                                                                            Charlie (3761 0)
        Phone: (240) 727-8051                                                 Species:      Feline                              Breed: Puma
      Address:
      Address: 10105 Cottage Inn Ln NE                                           Age:               6 Mos.
                                                                                            13 Yrs. 6                             Sex: Male
                Cumberland, MD 21502                                            Color:      Tan


          Date Type              Staff          History


                                                ALT =
                                                ALT=                             u/L H
                                                                             470 U/L                               12 - 130
                                                                                                                        -




                                                AMYL =
                                                AMYL=                        516 U/L                               500 - 1500   -




                                                BUN/UREA
                                                BUN/UREA=                    92 mg/dL H                            16 - 36
                                                                                                                        -



                                                Ca =
                                                Ca                           9.7 mg/dL                             7.8
                                                                                                                   7.8-  11.3   -




                                                Chloride                     131 mmol/L H                          112 - 129    -




                                                CHOL =                       138 mg/dL                             65 - 225
                                                                                                                        -




                                                CREA -     -
                                                                             --.-- mg/dL
                                                                                --                                0.8 - 2.4     -




                                                GGT =
                                                GGT                         00 U/L
                                                                               u/L                                00-4
                                                                                                                     - 4
                                                GLU =                        153 mg/dL                             71 - 159
                                                                                                                  71    -




                                                LIPA =
                                                LIPA                        215 U/L
                                                                                 u/L                              100 - 1400    -




                                                PHOS =                      8.4 mg/dL H                           3.1
                                                                                                                  3.1-   7.5    -




                                                Potassium =
                                                Potassium   =                4.1 mmol/L
                                                                                 rnmol/L                          3.5 - 5.8     -



                                                TaIL >
                                                TBIL                        > 27.9 rng/dL
                                                                            >       mg/dL H*                      0.0 - 0.9     -



                                                TP ==                       7.7 g/dL                              5.7
                                                                                                                  5.7-   8.9    -



                                                Sodium =                         mmol/L
                                                                            158 rnrnol/L                          150 - 165     -



                                                GLOB =                      4.3 g/dL                              2.8 - 5.1     -



                                                OSM calc
                                                      cab =                 343 mmol/kg
                                                                                 mxno1/kg
                                                ALB/GLOB =                  0,8
                                                                            0.8
                                                Na/K = =                    39


    111812018 L
    11/8/2018 L                 GD             Hematology results from IDEXX
                                                                           XDEXX VetLab
                                                                                 Vettab In-clinic
                                               Laboratory Requisition ID:      9037       Posted      Final
                                               Test           Result                  Reference Range
                                               BASO *
                                               BASO   *        ** 0.23 K/uL           0.01 - 0.26                                       -




                                               E08 *
                                               EOS  *             0,05 K/uL L
                                                              ** 0.05        L                1,57
                                                                                      0.17 - 1.57                                       -



                                               HCT =          29.6 % L
                                                              29.6%     L             30,3
                                                                                      30.3-   52.3                                      -



                                               HG? =
                                               HGB           8.9 g/dL L   L           9.8
                                                                                      9.8-   16.2                           -



                                               LYMPHS *
                                               LYMPHS    *        6.62
                                                              ** 6.     K/uL
                                                                    62 K/uL           0.92
                                                                                      0.      6.88
                                                                                         92 - 6. 88                                 -.



                                               MCII =
                                               MCH           14.9 pg                  11.8
                                                                                      11.8-   17.3                                  -



                                               MCHC =        30.1 g/dL                28.1 - 35.8                                   -



                                               MCV =          49.5 fLfL               35,9 - 53.1
                                                                                      35.9                                          -




                                               MONOS *
                                               MONOS   *     ** 2.17 K/uL H           0.05
                                                                                      0.05-   0.67                                  -




                                               MPV
                                               MPV-    -                    ----fL
                                                                            --. -- fL                            11.4-
                                                                                                                 11.     21,6
                                                                                                                     4 - 21. 6
                                               RBC =
                                               RBC=                          5.98 M/uL L L                       6.54 - 12.20       -




                                               WBC *
                                               WBC     *                     ** 30.76 K/uL H                     2.87
                                                                                                                 2.87-  17.02       -




                                               %LYMPHS *
                                               %LYMPHS               *       ** 21.5
                                                                                21,5 %%
                                               %MONOS *          *           ** 7.1%
                                                                                7.1 %
                                               NEUT
                                               NEUT *      *                 ** 21.69 K/uL H                     1,48 - 10.29
                                                                                                                 1.48
                                               %NEUT *
                                               %NEUT         *               ** 70.5
                                                                                70.5 %%
                                               %EOS *
                                               %EOS        *                 ** 0.2
                                                                                0,2 %%
                                               %BASO *
                                               %BASO        *               ** 0.7%
                                                                                0.7 %
                                               PUP =
                                               PLT  =                       94 K/uL L  L                         151 - 600  -




                                               Ratios =
                                               Retics                       235.0 K/uL H                         3.0 - 50.0 -



                                               %Retics =
                                               %Ratios                      3.9 %
                                               RDW =
                                               RDW                          28.2 % H                                    27.0
                                                                                                                 15.0 - 27. 0       -



                                               PCT -   -                    --.--%                               0.00
                                                                                                                 0.00-  0.79        -




                                               Band *
                                               Band   *      ** Suspected
                                                                Suspected
                                               Band neutrophils suspected

B:Bilting, C:Med note, CB:Calt
                        CB:Call back, CK:Check-in, CM:Communications, O:Diagnosis, OH:Declined to history, E:ExaminaUon,
                                                                                                           E:Examination, ES:Estimates,
I:Departing instr, l:lab
!:Departing        1:Lab result, M:lmage cases, P:Prescriplfon,
                                                P:Prescription, PA:PVL
                                                                PA:PVLAccepted,
                                                                       Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
R:Correspondence, T:lmages, TC:Tentative med! medl note, V:Vital signs



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                                                                         Page 2    5                        Date: 4/30/2021 12:10 PM


                                                                                                                                              MVS00162
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                                                              Patient History
                                                              Patient History Report
                                                                              Report
          Client: Candy,
          Client: Candy, Bob
                          Bob (Tri-State
                              (Tri-State Zoo)
                                         Zoo) (15924)
                                              (15924)                            Patient:      Charlie (37610)
         Phone: (240)
         Phone:   (240) 727-8051
                        727-8051                                                Species;
                                                                                Species:       Feline
                                                                                               Feline                         Breed: Puma
                                                                                                                              Breed: Puma
       Address:   10105 Cottage
       Address: 10105    Cottage Inn
                                 Inn Ln
                                      Ln NE
                                         NE                                         Age:
                                                                                    Age:       13 Yrs.
                                                                                               13      6Mos.
                                                                                                  Yrs. 6 Mos.                   Sex; Male
                                                                                                                                Sex: Male
                  Cumberland, MD
                  Cumberland,  MD 21502
                                    21502                                         Color:
                                                                                  Color:       Tan
                                                                                               Tan


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History


                                                                                                      WBC Abnormal Distribution
                                                                                                      WEC Abnormal Distribution




     11/8/2018 C
     11/8/2018       c            GD
                                  GD             Routine exam
                                                 Routine  exam
                                                 HISTORY: Presented
                                                 HISTORY:    Presented for
                                                                       for evaluation
                                                                           evaluation of
                                                                                      of ADR,   not eating
                                                                                         ADR, not   eating right
                                                                                                           right 2.5
                                                                                                                 2.5 days,
                                                                                                                     days, now
                                                                                                                            now lying
                                                                                                                                 lying in
                                                                                                                                       In
                                                 pen not
                                                 pen  not moving
                                                          moving much.
                                                                 much. Appears   to be
                                                                        Appears to  be in
                                                                                       in pain,
                                                                                          pain, has
                                                                                                 has not
                                                                                                     not seen
                                                                                                         seen defecate,
                                                                                                               defecate, is
                                                                                                                          is drinking
                                                                                                                             drinking
                                                 water.:
                                                 water.:

                                                  103.2
                                                  103.2

                                                 Physical Exam:
                                                 Physical  Exam:
                                                 GENERAL: BCS
                                                 GENERAL:      BCS 5/9, 5/9, on
                                                                             on presentation
                                                                                 presentation patient
                                                                                              patient in
                                                                                                      in sternal
                                                                                                         sternal recumbency,
                                                                                                                 recumbency, does
                                                                                                                              does not
                                                                                                                                   not
                                                 interact normally with                                                 In abdomen. Will
                                                                      with observers. Growling consistently, splinting in
                                                 not rise.
                                                 not rise. Sedated
                                                           Sedated withwith 12mg
                                                                             12mg ketamine,
                                                                                   ketamine, 3mg
                                                                                              3mg dexmedetomidine,
                                                                                                   dexmedetomidine, 5mg5mg midazolam
                                                                                                                            midazolam IM,
                                                                                                                                       IM,
                                                 topped up
                                                 topped   up with
                                                             with 5mg
                                                                    5mg ketamine,
                                                                          ketamine, 1 1mg
                                                                                       m dexmedetomidine,
                                                                                           dexmedetomidine, 2.5mg
                                                                                                                2.5mg midazolam
                                                                                                                      mldazolam IM-
                                                                                                                                 IM- heavy
                                                                                                                                     heavy
                                                 sedation but
                                                 sedation  but still
                                                                still mildly
                                                                      mildly responsive
                                                                              responsive to
                                                                                         to palpation,
                                                                                            palpation, stimuli.
                                                                                                       stimuli.

                                                 ABDOMEN:
                                                 ABDOMEN: The abdomen palpates with gas-distended intestines throughout
                                                 majority of
                                                 majority of abdomen.
                                                             abdomen. No
                                                                       No palpable
                                                                          palpable abnormalities
                                                                                   abnormalities of
                                                                                                 of either
                                                                                                    either kidney,
                                                                                                           kidney, spleen,
                                                                                                                   spleen, or
                                                                                                                           or liver.
                                                                                                                              liver.
                                                 No feces palpable in colon, bladder small, no obvious abnormalities on palpation.

                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arrythniias are
                                                                                           are heard.
                                                                                               heard.

                                                 EARS: The ears are clear with no evidence of redness or discharge

                                                 EYES: The eyes are bright and clear. The cornea, sclera, conjunctiva, and eyelids
                                                 are intact
                                                 are intact and
                                                            and healthy.
                                                                healthy. The
                                                                          The lens
                                                                              lens is
                                                                                   is transparent
                                                                                      transparent and
                                                                                                  and thethe iris
                                                                                                             iris has
                                                                                                                  has a
                                                                                                                      anormal
                                                                                                                        normal color
                                                                                                                               color and
                                                                                                                                     and
                                                 texture. The
                                                 texture. The pupils
                                                               pupils are
                                                                      are normally
                                                                          normally responsive
                                                                                   responsive to
                                                                                               to light.
                                                                                                  light. Vision
                                                                                                          Vision appears
                                                                                                                   appears normal.
                                                                                                                           normal.

                                                 GASTROINTESTINAL: Gas-distended
                                                 GASTROINTESTINAL: Gas-distended intestines
                                                                                 intestines palpable.
                                                                                            palpable.

                                                 MOUTH/TEETH: The
                                                 MOUTH/TEETH:         The gums
                                                                          gums appear
                                                                                  appear healthy.
                                                                                           healthy. The
                                                                                                    The tongue,
                                                                                                        tongue, tonsils,
                                                                                                                 tonsils, palate,
                                                                                                                          palate, and
                                                                                                                                  and
                                                 pharynx have a   ahealthy color and appearance. The teeth appear clean, white, and
                                                 properly aligned.
                                                 properly  aligned. There
                                                                     There is
                                                                            is no
                                                                               no significant
                                                                                   significant accumulation
                                                                                               accumulation of
                                                                                                            of tartar.
                                                                                                               tartar. Gums
                                                                                                                        Gums areare pale
                                                                                                                                    pale
                                                 pink, slightly
                                                 pink, slightly tacky,
                                                                tacky, CRT
                                                                       CRT <2
                                                                            <2 seconds.
                                                                                seconds.

                                                 MUCOUS MEMBRANES:
                                                 MUCOUS  MEMBRANES: Mucous
                                                                    Mucous membranes
                                                                           membranes are
                                                                                     are slightly
                                                                                         slightly pale,
                                                                                                  pale, slightly
                                                                                                        slightly tacky,
                                                                                                                 tacky,
                                                 CRT <2sec

                                                 LYMPH NODES: Lymph nodes are of normal size and character


B:Billing,              ce:catt back, CK:Check·in,
B:Bilhing, C:Med note, CB:Call        CK:checkin, CM:Communications,
                                                    cM:communications, D:Diagnosis, DH:Declined
                                                                                      Dt-i:Dectined to history, E:Examination, ES:Estimates,
I:Departing instr, l:lab
!:Departing        L:Lab result, M:lmage
                                 M:tmage cases, P:Prescrlption,
                                                P:Prescription, PA:PVL
                                                                PA:PVLAccepted,  PB:problems, PP:PVL
                                                                       Accepted, PB:prob!ems,  PP:PvL Performed, PR:PVL Recommended,
R:Correspondence, T:lmages,                  medi note, v:vitat
                      T:tmages, TC:Tentative medl        V:Vltal signs

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                                                                                 5                              Date: 4/30/2021
                                                                                                                Date: 4/30/2021 12:10
                                                                                                                                12:10 PM
                                                                                                                                      PM



                                                                                                                                               MVS00163
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                                                             Patient History Report
         Client: Candy,
         Client: Candy, Bob
                         Bob (Tri-State
                             (Tri-State Zoo)
                                        Zoo) (15924)
                                             (15924)                           Patient:
                                                                               Patient:      Charlie (3761
                                                                                             Charlie (37610)
                                                                                                           0)
         Phone: (240)
         Phone:  (240) 727-8051
                       727-8051                                               Species:
                                                                              Species:       Feline
                                                                                             Feline                        Breed: Puma
                                                                                                                           Breed: Puma
       Address:  10105 Cottage
       Address: 10105   Cottage Inn
                                 Inn Ln
                                     Ln NE
                                        NE                                         Age:
                                                                                   Age:              6Mos.
                                                                                             13 Yrs. 6                       Sex: Male
                                                                                                                             Sex: Male
                 Cumberland, MD
                 Cumberland,  MD 21502
                                   21502                                         Color:
                                                                                Color:       Tan
                                                                                             Tan


           Date Type
           Date Type             Staff
                                 Staff           History
                                                 History


                                                 MUSCULOSKELETAL: The
                                                 MUSCULOSKELETAL:       The muscles
                                                                             muscles have
                                                                                       have normal
                                                                                             normal tone
                                                                                                    tone and
                                                                                                          and strength
                                                                                                              strength for
                                                                                                                       for the
                                                                                                                           the pet's
                                                                                                                                pet's
                                                 age and
                                                 age and breed.
                                                         breed. The
                                                                The pet's
                                                                    pet's gait
                                                                          gait is
                                                                               is normal
                                                                                  normal with no signs
                                                                                         with no signs of
                                                                                                       of lameness
                                                                                                          lameness or
                                                                                                                    or joint
                                                                                                                       joint pain.
                                                                                                                             pain.

                                                 NERVOUS SYSTEM:
                                                 NERVOUS    SYSTEM: The The pet
                                                                             pet presented
                                                                                  presented bright,
                                                                                            bright, alert,
                                                                                                    alert, and
                                                                                                           and responsive
                                                                                                                responsive with
                                                                                                                           with no
                                                                                                                                no
                                                 obvious abnormalities.
                                                 obvious abnormalities. A  full neurologic
                                                                         A full neurologic exam
                                                                                           exam was
                                                                                                 was not
                                                                                                       not performed.
                                                                                                            performed.

                                                 RESPIRATORY: Respiration
                                                 RESPIRATORY: Respiration is
                                                                          is normal
                                                                             normal with no crackles
                                                                                    with no crackles or
                                                                                                     or wheezes.
                                                                                                        wheezes.

                                                 SKIN/HAIR COAT: Your  Your pet's skin is healthy with no redness or evidence of
                                                 infection or
                                                 infection or parasites.
                                                              parasites.

                                                UROGENITAL: Normal
                                                UROGENITAL:      Normal urinary
                                                                         urinary tract.
                                                                                 tract. The
                                                                                        The bladder
                                                                                             bladder and
                                                                                                     and kidneys
                                                                                                          kidneys are
                                                                                                                  are of
                                                                                                                      of normal
                                                                                                                         normal
                                                shape, size,
                                                shape, size, and
                                                             and consistency.
                                                                 consistency. Normal
                                                                               Normal genitalia
                                                                                        genitalia and
                                                                                                  and reproductive
                                                                                                      reproductive organs
                                                                                                                   organs for
                                                                                                                           for the
                                                                                                                               the
                                                age, sex, and reproductive status of the animal are present. No discharge was
                                                noted.
                                                noted.


                                                ASSESSMENT:
                                                ASSESSMENT: Drew blood, administered 850ml     850m1 NaCI
                                                                                                       NaCl SQ. Reversed with 4mg
                                                antisedan IM-
                                                antisedan   IM- recovered
                                                                recovered well,
                                                                           well, head
                                                                                 head held
                                                                                       held up
                                                                                            up and
                                                                                                and moving
                                                                                                     moving all4
                                                                                                              all 4limbs.
                                                                                                                     limbs. Discussed
                                                                                                                            Discussed
                                                concerns of
                                                concerns   of Gl
                                                              GI obstruction,
                                                                 obstruction, need
                                                                              need for
                                                                                    for surgical
                                                                                        surgical referral.
                                                                                                 referral. CBC/Chem/Lytes
                                                                                                           CBC/Chem/Lytes revealed
                                                                                                                                revealed
                                                significant anemia,
                                                significant anemia, leukocytosis
                                                                     leukocytosis with
                                                                                   with neutrophilia,
                                                                                        neutrophilia, monocytosis,
                                                                                                       monocytosis, thrombocytopenia.
                                                                                                                        thrombocytopenia.
                                                Severe azotemia,
                                                Severe   azotemia, mild
                                                                    mild hyperphosphatemia,
                                                                         hyperphosphatemia, severe
                                                                                                severe hyperbilirubinemia.
                                                                                                         hyperbilirubinemia. Rule
                                                                                                                               Rule outs
                                                                                                                                    outs
                                                include Gl
                                                include  GI FB
                                                            FB obstruction,
                                                                obstruction, hemobartonellosis,
                                                                             hemobartonellosis, acute
                                                                                                  acute renal
                                                                                                          renal failure.
                                                                                                                 failure.

                                                PLAN: IJS
                                                PLAN:  US to
                                                           to administer
                                                              administer cerenia,
                                                                            cerenia, excede,
                                                                                     excede, dexamethasone
                                                                                             dexamethasone tomorrow.
                                                                                                             tomorrow. Discussed
                                                                                                                       Discussed
                                                very poor
                                                very poor prognosis
                                                          prognosis with
                                                                       with owner-
                                                                            owner- declined
                                                                                    declined euthanasia.
                                                                                             euthanasia. Discussed
                                                                                                         Discussed necropsy
                                                                                                                   necropsy highly
                                                                                                                            highly
                                                recommended if
                                                recommended     if patient
                                                                   patient passes.
                                                                           passes.

                                                PROCEDURES PERFORMED ON YOUR PET TODAY:



    11/8/2018
    11/8/2018       B
                    B           GD
                                GD              1.00 CBC,Chem
                                                1.00 CBC,Chem 17, 17, Electrolytes-In
                                                                      Electrolytes- In House
                                                                                       House (CBC12EH)
                                                                                              (CBC12EH) by
                                                                                                         by DCN
                                                                                                            DCN
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 LAS
                                                1.00 LAS Farm
                                                          Farm Call
                                                                 Call (LAFARMC)
                                                                      (LAFARMO) by  by DCN
                                                                                        DON
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 LAS
                                                1.00 LA S Professional
                                                          Professional Service
                                                                         Service Fee
                                                                                  Fee (16115)
                                                                                       (16115) by
                                                                                               by DCN
                                                                                                  DON
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 LAS
                                                1.00 LAS Sedation
                                                          Sedation (LASED)
                                                                     (LASED) byby DCN
                                                                                   DON
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 CBC,Chem
                                                1.00 CBO,Chem 17, 17, Electrolytes-In
                                                                      Electrolytes- In House
                                                                                       House (CBC12EH)
                                                                                              (OBC12EH) by
                                                                                                        by DCN
                                                                                                            DON
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 bag
                                                1.00 bag of
                                                         of 0.9
                                                            0.9%   Sodium Chloride
                                                                %Sodium     Chloride 1l000ml(0.9%SOD)   by DCN
                                                                                        OOOml (0.9%SOD) by  DON
    11/8/2018
    11/8/2018       B
                    B           GD
                                GO              1.00 Charges
                                                1.00 Charges Final
                                                              Final (CHFINAL)
                                                                     (CHFINAL) byby DCN
                                                                                     DON
     7/3/2018
     7/3/2018       T
                    T           8W
                                BW              Image: Previous
                                                Image:  Previous records
                                                                  records
     7/3/2018
     7/3/2018       T
                    T           8W
                                BW              Image: Previous
                                                Image:  Previous vet
                                                                  vet records
                                                                      records
    5/26/2018
    5/26/2018       L
                    L                           Microbiology results from IDEXX Reference
                                                Laboratory Requisition ID: 4601370582                        Posted                         Final
                                                Test                Result                        Reference Range
                                                GIARDIA                   NEGATIVE
                                                                          NEGATIVE


B:thlling, C:Med note, CB:Ca!l
B:Billing,               cB;catt back, CK:Check-fn,
                                        cK:check•tn, CM:Communications,
                                                      CM:communications, D:Diagnosis, DH:Dectined to history,
                                                                                                     histo,, E:Examination, ES:Estimates,
I:OepartIng instr, l:lab
!:Departing        L: Lab result, M:Jmage
                                  M:tmage cases, P:Prescription, PA:PVL Accepted, PB:problems,
                                                                                  PB:probtems, PP:PVL Performed, PR:PVL Recommended,
R:correspondence, T:lmages,
R:Correspondence,      T:Images, TC:Tentative
                                   Tc:Tentative medl
                                                medi note,
                                                     note. V:vitat
                                                           V:Vita! signs


 MOUNTAINVIEW VETERINARY
 MOUNTAINVIEW VETERINARY SVS
                         SVS                                          Page 4
                                                                      Page 4of
                                                                             of 5
                                                                                5                            Date: 4/30/2021
                                                                                                             Date: 4/30/2021 12:10
                                                                                                                             12:10 PM
                                                                                                                                   PM



                                                                                                                                                MVS00164
                          Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 9 of 52

                                                              Patient History Report
          Client: Candy, Bob (Tri -State Zoo) (15924)
                              (Tri-State                                          Patient:              (37610)
                                                                                                Charlie (3761 0)
         Phone:
         Phone: (240)
                  (240) 727-8051
                        727-8051                                                 Species:       Feline                        Breed: Puma
       Address: 10105 Cottage Inn Ln NE                                             Age:        13 Yrs. 6
                                                                                                        6Mos.                   Sex: Male
                  Cumberland,
                  Cumberland, MD
                               MD 21502
                                    21502                                          Color:       Tan


           Date Type              Staff           History
                                                  History


                                                  OVA& PARA
                                                   Ason:
                                                   Ascn: 4601370582

                                                   OVA & PARASITES
                                                   Sample submitted in an improper container. Please submit in
                                                  a
                                                  a solid plastic
                                                   container or refer to the IDEXX reference laboratories
                                                  directory of tests and
                                                   services for approved submittal information. TOXOCARA SP OVA
                                                  PRESENT MODERATE
                                                    (11-30)
                                                   In cases of acute or chronic diarrhea in addition to a
                                                                                                        a fecal
                                                  flotation and
                                                   antigen testing for ova and parasites consider testing for
                                                  viral, bacterial and
                                                   protozoal infectious agents using RealPCR (canine diarrhea
                                                  panel: test code
                                                   2625; feline diarrhea panel: test code 2627).




B:Billing, C:Med note, CB:CalI
                          CB:Call back.
                                   back, CKCheck-in,
                                         CK:Check-in, CM:Commufflcations,  O:Diagnosis, DH:Declined to history, E:ExaminaUon,
                                                      CM:Communications, D:Diagnosis,                           E:Examination, ES:Estimates,
                                                                                                                               ES:Estimates.
I:Oeparting
!:Departing inch,
             instr, L:Labresult.
                    l:lab result, M:Imagecases,
                                  M:lmage cases, P:Prescription, PA:PVl
                                                                  PA:PVL Accepted, PB:probJems,
                                                                                   PB:problems, PP:PVl
                                                                                                PP:PVL Performed, PR:PVL Recommended,
R:Correspondence, T:Images,
                       T:lmages, Tc:Tentative
                                   TC:Tentative medi
                                                medJ note, V:Vital signs

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                                                                              of 5
                                                                                 6                              Date: 4/30/2021
                                                                                                                Date: 4/3012021 12:10
                                                                                                                                12:10 PM
                                                                                                                                      PM



                                                                                                                                               MVS00165
                                                        image 1
                                                              I
                      Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 10 of 52
                                                        image
     Patient:
     Patient: 37610
              37610       Charlie
                          Charlie                      Species: Feline                             Breed: Puma
                                                                                                   Breed: Puma

      Client: 15924
              15924       Candy,
                          Candy, Bob (Id-State
                                 Bob (Tri-State            DOB: 4/17/05                           Gender: Male
                                                                                                  Gender: Male




             NAME:
             NAME: Sian,
                   Sian, Charlie
                         Charlie

             SPECIES:
             SPECIES: Cougar,
                      Cougar, Felis concolor
                              felis concolor

             HABITAT:
             HABITAT: TheThe cougar  thrives in
                             cougar thrives  in montane,
                                                montane, coniferous
                                                          coniferous forests,
                                                                      forests, lowland
                                                                               lowland tropical
                                                                                       tropical forests,
                                                                                                forests,
             swamps,
             swamps, grassland, dry brush
                     grassland, dry       country, or
                                    brush country,  or any
                                                       any other
                                                           other area
                                                                 area with
                                                                      with adequate
                                                                            adequate cover
                                                                                     cover and
                                                                                            and prey.
                                                                                                prey.

            RANGE:
            RANGE: Western
                      Western North
                              North America   from British
                                     America t!·om  British Columbia
                                                            Columbia and
                                                                     and south
                                                                          south Alberta
                                                                                Alberta south
                                                                                        south
            through
            through west
                    west Wyoming
                         Wyoming toto California
                                      California and
                                                 and west
                                                      west Texas.
                                                           Texas. Also
                                                                  Also south
                                                                       south Texas,
                                                                             Texas, Louisiana.
                                                                                    Louisiana, south
                                                                                               south
            Alabama,
            Alabama, Tennessee,  and peninsular
                      Tennessee, and             Florida.
                                     peninsular florida.

            SOCIAL     BEHAVIOUR: Cougars
            SOCIAL BEHAVIOUR:             Cougars are
                                                   are solitary
                                                         solitary cats
                                                                  cats and
                                                                       and will
                                                                           will avoid
                                                                                 avoid other
                                                                                       other individuals
                                                                                             individuals
            except  for during
            except for  during mating.   They communicate
                                mating. They   communicate by       the use
                                                                 by the use visual
                                                                            visual and
                                                                                    and olfactory
                                                                                        olthc(ory signals,
                                                                                                  signals, and
                                                                                                            and
            the males
            the        regularly make
                males regularly          scrapes in the
                                  make scrapes       (lie soil
                                                          soil or
                                                               or snow.
                                                                  snow. Their
                                                                         Their vocalizations
                                                                                vocalizations include growls,
                                                                                                       growls,
            hisses, and
            hisses, and bird-like
                         bird-like whistles. They purr
                                   whistles. They   purr like
                                                           like the
                                                                the domestic
                                                                    domestic cats,
                                                                              cats, and
                                                                                    and during
                                                                                        during estrus,
                                                                                                estrus, the
                                                                                                        the
            females give
            females  give off  loud, hair-raising
                           off loud,              screams.
                                     hair-raising screams.

            DIET: Cougars
            DIET:   Cougars primarily     feed on
                              primarily feed    on large
                                                    large mammals,
                                                          mammals, preferring
                                                                     preferring deer,
                                                                                  deer, but  they will
                                                                                        but they  will also
                                                                                                       also eat
                                                                                                            eat
            Coyotes,   Porcupines,   Beaver,   mice   marmots,  hares,  raccoons,  birds
            Coyotes, Porcupines, Beaver, mice marmots, hares, raccoons, birds and even   and   even
            grasshoppers.   They kill
            grasshoppers. They     kill by
                                        by stalking
                                           stalking toto within
                                                         within 30
                                                                30 feet
                                                                   feet of
                                                                        of their
                                                                           their prey
                                                                                 prey before   pouncing from
                                                                                       before pouncing    from
            its hiding
            its hiding place. It leaps
                       place. It        onto its
                                 leaps onto   its victim's
                                                  victim's back  and bites
                                                            back and  bites into
                                                                            into the
                                                                                 the neck
                                                                                      neck and
                                                                                            and holds
                                                                                                 holds with
                                                                                                       with its
                                                                                                             its
            sharp
            sharp claws.
                   claws.

           SIZE
           SIZE AND
                  AND LIFESPAN:
                        LIFESPAN: The The cougar  is the
                                           cougar is the largest
                                                         largest cat
                                                                 cat in
                                                                     in the
                                                                        the genus
                                                                            genus "felis",
                                                                                    "fells", and
                                                                                             and is
                                                                                                 is
           comparable
           comparable inin size
                           size as the leopard.
                                as the          They vary
                                       leopard. They  vary in
                                                            in length
                                                               length from
                                                                      from 5959 - I108
                                                                                   -    inches with
                                                                                    08 inches   with aatail
                                                                                                       tail
           length
           length of 21 —36
                   of21-   36 inches,  and height
                              inches, and  height tJ·om23-
                                                  from 23 —28    inches at
                                                              28 inches  at the
                                                                            the shoulder.
                                                                                shoulder. Weight
                                                                                            Weight can
                                                                                                     can vary
                                                                                                         vary
           greatly,
           greatly, between
                    between 75
                             75 and
                                 and 250
                                     250 pounds.   They have
                                          pounds. They   have aalong
                                                                 long body   with aasmall
                                                                       body with     small head,
                                                                                             head, short
                                                                                                   short tace,
                                                                                                         face,


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                                                                 1                                                            MVS00166
                                                                                                      Print Date:
                                                                                                      Print Date:   4)30/21
                                                                                                                    4/30/21
                                                                                                    Image Date:
                                                                                                    Image   Date:   7/3/18
                                                                                                                    7/3/18
                                                         image 1
                                                               I
                       Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 11 of 52
                                                         image
     Patient: 3761
     Patient: 37610o      Charlie
                          Charlie                       Species: Feline
                                                        Species: Feline                      Breed: Puma
                                                                                             Breed: Puma

      Client: 15924
      Client: 15924       Candy ,Bob
                          Candy, Bob (Tri-State
                                     (Ill-State             DOB: 4/17/05
                                                            008: 4/17/05                    Gender: Male
                                                                                            Gender: Male



                NEW ANIMAL INFORMATION RECORD

             ANIMAL INFO
             ANIMAL INFO                 h   1,
             ANIMALS NAME:          C__ Q_J}U,                            BIRTHDtW/AGE:   a/'/o I
                                                                          BIRTHbAY/AGE: 6,/£/o(
             SPECIES/BREED:     Wt.-,-kn     i1ntt&zt   ----                   (#.) FF UNKNOWN
                                                                          5EX:('
                                                                          SEX:
            COLOR/MARKINGS: · 77 ,    J
            AVERAGE TEMPERATURE/CLIMATE USED TO: AUC_ ______________
            TYPE
            TYPE OF
                 OF ENVIRONMENT/CAGE:
                    ENVIRONMENT/CAGE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


            TYPE OF FOOD, AMOUNT GIVEN, FREQUENCY:                    JUJLsrtJ&_ _ _ _ _ _ _ __


            ANY SPECIAL CARE
            ANY SPECIAL      NEEDED: A!&) _,./3M'/
                        CARE NEEDED:.......,/\1"'-etJ"'". Ba.. A.... /VuflriJ
                                                                     ....v_,Wl""8T""'""tJ'-'6-'-----------
                                                                                -




                          eu.8 - /0 7Jk{S
            TEMPERMENT: (!JJ..f3          0th I
                                    ZIAVY OQ>
                                     -        • PIA
                                                Pt AYfi,LC
                                                    VFuc
            ANY
            ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT:                    .)&rdddamtd
                                                                                        I

            WAS ANIMAL KEPT ALONE
                            ALONE OR WITH OTHER ANIMALS,
                                                ANIMALS, IF SO WHAT:                        in M"f\
                                                                                            /o M'c CVJ)
                                                                                                    ntb



            ACQL'ISTION/H(IMAN
            ACQUIS170NIHUMAN INFO
            METHOD; SALE
            METHOD: SALE / DONATION/I BIRTH
                         I DONATION
                      NAME:
                                      BIRTH / TRADE /
                                            I TRADE   LOAN AZECUEJDATE:
                                                    I LOAN                                   fa,/ct/o C
                      NAME; _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                ADDRESS:
                ADDRESS'---..,.------------------
                CITY/STATE/ZIP: &L2zPt8US ,, oi/ro
                                                 oi?rO
                PHONE # (
                PHONE#    (OPTIONAL):
                            OPTIONAL):_--:---------------
                USDA # (IF APPLICABLE):
                USDA  # (IF                Percjftra O(.JjJEL.
                            APPLICA BLE):__._P,.,m-""ur!I"'-"'E--'Q""Id::ctl""EA-""'·-----------
                DRIVERS LICENSE #: _ _ _ _ _ _ _ _ _ _ _ _.STATE:.           STATE: _ __
                         LICENSE #:
                VEHICLE LICENSE#:                                            STATE:_ __
                                                                             STATE:.
           TRANSPORTATION INFORMATION:
           METHOD: CARRIER /I INTERMEDIATE HANDLER /cMR1VATE       VEHICLE)
                                                          I&UVATE VEHICLO
                NAME: &!13    Owbl /1IcU-Yu/n
                        RoB &vJ'f:d /1Jt:r     -E 'l99
           DISPOSITION
           DISPOSI770N INFO
                       INFO                                            <"'
           METHOD: SALE
           METHOD: SALE / DONATION /
                        I DONATION        DEATH /
                                        I DEATH     TRADE /(OAf94' RELEASE
                                                  I TRADE                  DATE: t/j li-i
                                                                   RELEASE OATE:              I/ { /rt..
                 NAME: A))luM>9
                 NAME:   cr&vaS Qo,,   k tj& L
                                  2jbd/I,                 'rQ*Ajtu(


                 ADDRESS: \0 l<>5 \at:fu:l' li:UJ
                 ADDRES5;  O10S    Catla    Lcui c;kAV-

                CITY/STATE/ZIP;
                CITY/STATE/ZIP:          a:::Lu]a;L/ji/j]) "'5
                                                    MT' Q/sR)1
                USDA#  (IF APPLICABLE):
                USDA# (IF APPLICABLE):,..--_ _' - - - - - - - - - - - - - -
                       # (OPTIONAL): 3oi
                PHONE #(OPTIONAL)
                PHONE                                 Wv)
                                                      uY6u.ilL------------
           TRANSPORTATION
           TRANSPORTA TION INFORMATION:
           METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                NAME: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  NAME;


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                                                        Page 1 oil1                             Print Date:
                                                                                                Print Date:   4/30/21
                                                                                                              4/30/21
                                                                                              Image Date:
                                                                                              Image   Date:   7/3/18
                                                                                                              7/3118
                          Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 12 of 52
                                                              Patient History Report
         Client: Candy,
         Client: Candy, Bob
                         Bob (Tri-State
                             (Tri-State Zoo)
                                        Zoo) (15924)
                                             (15924)                             Patient:
                                                                                 Patient:      Bridgette (Personal
                                                                                               Bridgette (Personal Ace!)
                                                                                                                   Acct) (38216)
                                                                                                                         (38216)
        Phone: (240)
        Phone:   (240) 727-8051
                       727-8051                                                 Species:
                                                                                Species:       Canine
                                                                                               Canine               Breed: Hound,
                                                                                                                    Breed:   Hound, Basset
                                                                                                                                    Basset
      Address:
      Address: 10105 Cottage Inn Ln NE                                              Age:
                                                                                    Age:               5Mos.
                                                                                               11 Yrs. 5              Sex: Spayed Female
                 Cumberland, MD
                 Cumberland,  MD 21502
                                   21502                                          Color:       Brown and white


          Date Type
          Date Type              Staff
                                 Staff            History
                                                  History


      8/9/2018 CK
      8/9/2018 CI<               AS
                                 AB              Suture Removal
                                                 Suture   Removal
                                                 Reason for
                                                 Reason    for Visit:
                                                               Visit: Tech
                                                                       Tech Appointment    Practice 1
                                                                             Appointment Practice   1
    7/26/2018 T
    7/26/2018 T                  BW
                                 BW              Image: Patient
                                                 Image:    Patient Drop
                                                                     Drop Off
                                                                            Off
    7/26/2018 T
    7/26/2018 T                  ss
                                 SS              Image: Sedation
                                                 Image:    Sedation Consent
                                                                        Consent
              P
    7/26/2018 p                  DCN
                                 DCN             28.00 capsule
                                                 28.00  capsule of of Cephalexin
                                                                       Cephalexin 500
                                                                                    500 mg
                                                                                        mg Capsule
                                                                                            Capsule (02408)
                                                                                                      (02408)
                                                 Rx #: 102047 0     0Of 0 0Refills Filled by: BJH
                                                 ADMINISTER
                                                 ADMINISTER 1      1CAPSULE
                                                                      CAPSULE BY  BY MOUTH
                                                                                      MOUTH EVERY
                                                                                               EVERY 12 12 HOURS
                                                                                                           HOURS FOR
                                                                                                                   FOR 14
                                                                                                                       14 DAYS.
                                                                                                                          DAYS. GIVE
                                                                                                                                GIVE
                                                 WITH FOOD.
                                                 WITH    FOOD.
    7/26/2018 CK
    7/26/2018 CK                 SE
                                 SE              afew
                                                 a few stitches
                                                        stitches came
                                                                  came out out
                                                 Reason for
                                                 Reason    for Visit:
                                                               Visit: Drop
                                                                       Drop off
                                                                             off
                                                 Date Patient
                                                 Date  Patient Checked
                                                                 Checked Out:Out: 07/26/18
                                                                                  07/26/18 Practice
                                                                                            Practice 1
                                                                                                     1
    7/26/2018       B
                    B            DCN
                                 DCN             .50 cc
                                                 .50 cc of
                                                         of Domitor
                                                            Domitor (DOMIT)
                                                                       (DOMIT) by by BRT
                                                                                     BRT
    7/26/2018
    7/26/2018       B
                    B            DCN
                                 DCN             .20 cc
                                                 .20 cc of
                                                         of Butorphanol
                                                            Butorphanot (SUTOR)
                                                                             (BUTOR) byby BRT
                                                                                          BRT
    7/26/2018
    7/26/2018       B
                    B            DCN
                                 DCN             28.00 capsule
                                                 28.00  capsule of of Cephalexin
                                                                       Cephalexin 500
                                                                                    500 mg
                                                                                        mg Capsule
                                                                                            Capsule (02408)
                                                                                                     (02408) by
                                                                                                              by BRT
                                                                                                                 BRT
    7/26/2018
    7/26/2018       B
                    B            BJH
                                 BJH             1.00 Charges
                                                 1.00 Charges Final
                                                                  Final (CHFINAL)
                                                                          (CHFINAL) byby BRT
                                                                                         BRT
    7/23/2018       T
                    T            ANY
                                 ANY             Image: Canine
                                                 Image:    Canine Mass
                                                                    Mass Removal!
                                                                            Removal!



    7/20/2018 C     c            DCN
                                 DCN             Post Operative
                                                 Post  Operative Instructions
                                                                   Instructions
                                                 Today, your
                                                 Today,  your pet
                                                               pet underwent
                                                                    underwent a asurgical
                                                                                  surgical procedure
                                                                                             procedure in
                                                                                                        in our
                                                                                                           our office.
                                                                                                               office. Please
                                                                                                                       Please rest
                                                                                                                               rest assured
                                                                                                                                    assured
                                                 that your pet was
                                                                was given the best possible care throughout the procedure. Because
                                                 the health
                                                 the health and
                                                             and welfare
                                                                  welfare of
                                                                          of your
                                                                              your pet
                                                                                   pet is
                                                                                       is of
                                                                                           of the
                                                                                              the utmost
                                                                                                  utmost importance
                                                                                                          importance toto us,
                                                                                                                          us, we
                                                                                                                              we ask
                                                                                                                                 ask that
                                                                                                                                      that
                                                 you carefully
                                                 you  carefully review
                                                                review the
                                                                        the information
                                                                            information inin this
                                                                                             this handout.
                                                                                                  handout.

                                                 There is
                                                 There  is a
                                                           agood
                                                             good chance
                                                                  chance that
                                                                           that your
                                                                                your pet
                                                                                     pet will be slightly
                                                                                         will be slightly groggy
                                                                                                          groggy after
                                                                                                                 after surgery.
                                                                                                                       surgery. Do
                                                                                                                                Do not
                                                                                                                                    not be
                                                                                                                                        be
                                                 overly concerned
                                                 overly concerned if
                                                                   if your
                                                                      your pet
                                                                           pet just
                                                                               just wants  to sleep
                                                                                    wants to  sleep once
                                                                                                     once he
                                                                                                           he or
                                                                                                              or she
                                                                                                                 she returns
                                                                                                                     returns home.
                                                                                                                              home.

                                                 Anesthesia  can prevent
                                                 Anesthesia can    prevent your
                                                                            your pet
                                                                                 pet from
                                                                                     from regulating
                                                                                           regulating his
                                                                                                       his or
                                                                                                           or her
                                                                                                              her own
                                                                                                                  own body
                                                                                                                       body temperature
                                                                                                                             temperature
                                                 so we
                                                 so      recommend that
                                                    we recommend      that you
                                                                           you make
                                                                               make sure
                                                                                       sure your
                                                                                            your pet's
                                                                                                 pet's sleeping
                                                                                                        sleeping area
                                                                                                                  area is
                                                                                                                       is clean,
                                                                                                                          clean, warm,
                                                                                                                                 warm, and
                                                                                                                                       and
                                                 free from
                                                 free from drafts.
                                                           drafts.

                                                 Often your pet will behave as if nothing has happened. Therefore, it is important to
                                                 limit his
                                                 limit his or
                                                           or her
                                                              her exercise.
                                                                  exercise. Climbing
                                                                             Climbing stairs,
                                                                                      stairs, jumping, or running
                                                                                              jumping, or running could
                                                                                                                  could potentially
                                                                                                                        potentially open
                                                                                                                                    open
                                                 the incision
                                                 the  incision or
                                                               or cause
                                                                  cause swelling.
                                                                         swelling.

                                                 It is important that you check your pet's incision daily for redness, swelling, or
                                                 drainage. If
                                                 drainage.  If you
                                                               you detect
                                                                   detect any
                                                                          any problems,
                                                                              problems, please
                                                                                         please contact
                                                                                                 contact us.
                                                                                                          us.

                                                 Try to
                                                 Try  to keep
                                                         keep your
                                                                your pet
                                                                      pet from
                                                                          from licking
                                                                               licking or
                                                                                       or chewing
                                                                                          chewing around
                                                                                                   around his
                                                                                                            his or
                                                                                                                or her
                                                                                                                   her sutures.
                                                                                                                        sutures. If
                                                                                                                                  If this
                                                                                                                                     this is
                                                                                                                                          is
                                                 difficult for
                                                 difficult for you
                                                               you to
                                                                   to do,
                                                                       do, you
                                                                           you may
                                                                               may need
                                                                                     need to
                                                                                           to use
                                                                                              use an
                                                                                                  an 'Elizabethan
                                                                                                     'Elizabethan collar'
                                                                                                                    collar' for
                                                                                                                            for the
                                                                                                                                the times
                                                                                                                                     times you
                                                                                                                                             you
                                                 are unable to supervise your pet. Please call us if you need one of these protective
                                                 collars.
                                                 collars.


           c:Med note, CB:Ca!l
B:Billing, C:Med          cB:catt back, CK:Check-fn,
                                          cK:checktn, CM:Communlcations,
                                                       cMcommunrcauons. D:Diagnosis,
                                                                            D:Diagncsis, DH:Declined to history,
                                                                                                        history. E:ExaminaUon, ES:Estimates,
                                                                                                                               ES:EsUmates,
I: Departing instr,
!:Departing  insir, l:lab
                    L: Lab result, M:fmage
                                   M: Image cases, P:Prescription,
                                                   RPrescription, PA:PVL
                                                                   PA:PvLAccepted,                                    PR:PVL. Recommended,
                                                                          Accepted, PB:problems, PP:PVL Performed, PR:PVL
R:correspondence, T:lmages,
R:Correspondence,       Timages, TC:Tentative
                                    Tc;Tentative medl
                                                 medt note, V:Vilal
                                                            V:vitat signs


 MOUNTAINVIEW VETERINARY
 MOUNTAINVIEW VETERINARY SVS
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                                                                                                                                                   MVS00132
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                                                             Patient History Report
         Client:
         Client: Candy.
                 Candy, Bob
                         Bob (Tri-State Zoo)
                             (Tri-State Zoo) (15924)
                                             (15924)                            Patient:      Bridgette (Personal Acct)
                                                                                                                  Acct) (38216)
        Phone:
        Phone: (240)
                 (240) 727-8051
                       727-8051                                                Species:       Canine               Breed: Hound, Basset
      Address:
      Address: 10105
                 10105 Cottage
                        Cottage Inn
                                Inn Lin NE
                                     Ln NE                                        Age:
                                                                                  Age:                5Mos.
                                                                                              11 Yrs. 5               Sex: Spayed Female
                 Cumberland,
                 Cumberland, MD
                              MD 21502
                                   21502                                         Color:
                                                                                 Color:       Brown and
                                                                                              Brown  and white
                                                                                                          white


           Date Type
           Date Type             Staff
                                 Staff           History
                                                 History


                                                 Because the
                                                 Because   the incision
                                                               incision needs
                                                                        needs to to be
                                                                                    be kept
                                                                                       kept dry,
                                                                                            dry, bathing
                                                                                                 bathing isis not
                                                                                                              not permitted
                                                                                                                  permitted until
                                                                                                                             until the
                                                                                                                                   the sutures
                                                                                                                                       sutures
                                                 have
                                                 have been   removed. If
                                                       been removed.    If the
                                                                           the incision
                                                                               incision becomes
                                                                                        becomes dirty,
                                                                                                   dirty, you
                                                                                                          you can
                                                                                                               can blot
                                                                                                                    blot gently
                                                                                                                         gently with
                                                                                                                                with aadamp
                                                                                                                                        damp
                                                 paper towel. If your pet doesn't have sutures to be removed, please do not bathe
                                                 for two weeks.
                                                 for two weeks.

                                                 The  staff at
                                                 The staff  at Mountainview
                                                               Mountainview Veterinary
                                                                               Veterinary Services
                                                                                            Services knows
                                                                                                       knows that
                                                                                                               that your
                                                                                                                    your pets
                                                                                                                         pets are
                                                                                                                              are more
                                                                                                                                   more than
                                                                                                                                        than
                                                 just animals; they
                                                 just animals;  they are
                                                                     are aapart
                                                                            part of
                                                                                 of your
                                                                                    your family.
                                                                                          family. We
                                                                                                   We will   work together
                                                                                                        will work together with
                                                                                                                           with you
                                                                                                                                you to
                                                                                                                                     to
                                                 provide  the best
                                                 provide the   best possible
                                                                    possible care
                                                                              care for
                                                                                    for your
                                                                                        your pet.
                                                                                              pet. If
                                                                                                   If you
                                                                                                      you have
                                                                                                           have any
                                                                                                                any questions
                                                                                                                     questions or
                                                                                                                                or concerns,
                                                                                                                                   concerns,
                                                 please  contact our
                                                 please contact   our office.
                                                                      office.


                                                 Medications: Carprofen and
                                                 Medications: Carprofen and Clindamycin
                                                                            Clindamycin

                                                 Exercise: Please restrict
                                                 Exercise: Please restrict exercise
                                                                           exercise and
                                                                                    and walk
                                                                                        walk on
                                                                                             on a
                                                                                                aleash
                                                                                                  leash for
                                                                                                        for 1
                                                                                                            10-12 days.
                                                                                                             0-12 days.

                                                 Diet:  Feed 1/2
                                                 Diet: Feed   1/2 the
                                                                  the amount
                                                                       amount of
                                                                              of food
                                                                                 food normally
                                                                                      normally fed
                                                                                               fed this
                                                                                                   this evening.
                                                                                                        evening. If
                                                                                                                 If patient
                                                                                                                    patient vomits,
                                                                                                                            vomits, do
                                                                                                                                    do
                                                 not offer food
                                                 not offer food until
                                                                until tomorrow
                                                                      tomorrow morning.
                                                                                morning.

                                                 Recheck: Sutures are
                                                 Recheck: Sutures are absorbable.
                                                                      absorbable. No
                                                                                  No recheck
                                                                                     recheck is
                                                                                             is required.
                                                                                                required.

                                                 Additional Comments: E-collar
                                                 Additional Comments: E-collar needs
                                                                               needs to
                                                                                     to stay
                                                                                        stay in
                                                                                             in place
                                                                                                place for
                                                                                                      for at
                                                                                                          at least
                                                                                                             least 10
                                                                                                                   10 days.
                                                                                                                      days.




                                                 Mountainview Veterinary Services
                                                 Mountainview Veterinary Services
                                                 90 Southern Drive
                                                 90 Southern Drive
                                                 Keyser, WV 26726
                                                 Keyser, WV  26726
                                                 304-788-6602
                                                 304-788-6602



    7/20/2018
    7/20/2018 P
              p                  DCN
                                 DCN            56.00  tablet of
                                                56.00 tablet  of Clindamycin
                                                                 Clindamycin 100mg
                                                                                100mg Quad
                                                                                        Quad Tablet
                                                                                               Tablet (CLINDA1)
                                                                                                      (CLINDA1)
                                                Rx#:
                                                Rx #: 101805
                                                      101805 0    0Of
                                                                    Of 0
                                                                       0Refills
                                                                         Refills Filled
                                                                                 Filled by:
                                                                                        by: BJH
                                                                                            BJH
                                                ADMINISTER
                                                ADMINISTER 2     2CAPSULES
                                                                   CAPSULES BY   BY MOUTH
                                                                                     MOUTH EVERY
                                                                                               EVERY 1212 HOURS.
                                                                                                          HOURS.
    7/20/2018
    7/20/2018 P
              p                  DCN
                                 DCN            14.00                                         (CARPRIO)
                                                14.00 each of Carprofen Caplets 100mg (CARPR10)
                                                Rx #:
                                                Rx #: 101804
                                                      101804 0    0Of
                                                                    Of 0
                                                                       0Refills
                                                                         Refills Filled
                                                                                 Filled by:
                                                                                        by: BJH
                                                                                            BJH
                                                ADMINISTER
                                                ADMINISTER 1/2   1/2 TABLET
                                                                     TABLET BY BY MOUTH
                                                                                   MOUTH EVERY
                                                                                             EVERY 12 12 HOURS.
                                                                                                         HOURS. ALREADY IN
                                                                                                                ALREADY IN
                                                HALVES FOR
                                                HALVES           YOU.
                                                          FOR YOU.
    7/20/2018 V     v            BRT
                                 BRT            Jul
                                                Jul 20,     2018 08:03AM
                                                      20, 2018       08:03 AM Staff:
                                                                                  Staff: BRTBRT

                                                Weight
                                                Weight                              :: 41.50
                                                                                       41.50 pounds
                                                                                             pounds

    7/20/2018
    7/20/2018 CK
              CK                 SE
                                 SE             Mass removal
                                                Mass          ingrown tonenail
                                                      removal ingrown   tonenail
                                                Reason for Visit: Surgery
                                                Date
                                                Date Patient Checked Out:
                                                     Patient Checked   Out: 07/23/18
                                                                            07/23/18 Practice
                                                                                     Practice 1
                                                                                              I

B:Billing,
B:BHiing, c:Med
           C:Med note, cB:cauback.
                          CB:Call back, cKCheck-in,   cMcommunications, O:Diagnosis,
                                        CK:Check-in, CM:Communications,    D:Diagnosis, DH:Oectined
                                                                                        DH:oeclrned to history, E:Examination, ES:EsUmates,
I: Departing insir,
!:Departing  inslr, 1:Lab
                    l:Lab result, M:lmagecases,
                                  M:lmage cases, P:Prescription, PA:PVL
                                                                  PA:PvLAccepted,               PP:PvL Performed, PR:PVL
                                                                         Accepted, PB:problems, PP:PVL               PR:PvL Recommended,
R:correspondence,
R:Correspondence, T:[mages.        rc:rentative medi
                       T:fmages, TC:Tentalive   medl note.
                                                     note, V:Vital signs

 MOUNTAINVIEW
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              VETERINARY SVS
                         SVS                                           Page 2
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                                                                                                                                               MVS00133
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                                                              Patient History
                                                              Patient History Report
                                                                              Report
         Client: Candy,
         Client: Candy, Bob
                        Bob {Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                              Patient:
                                                                                 Patient:      Bridgette (Personal
                                                                                               Bridgette (Personal Ace!)
                                                                                                                   Acct) (38216)
                                                                                                                         (38216)
         Phone: (240) 727-8051                                                  Species:
                                                                                Species:       Canine
                                                                                               Canine               Breed: Hound,
                                                                                                                    Breed:   Hound, Basset
                                                                                                                                    Basset
       Address:  10105 Cottage
       Address: 10105  Cottage Inn
                               Inn Ln
                                   Ln NE
                                       NE                                           Age:
                                                                                    Age:       11 Yrs.
                                                                                               11 Yrs. 55Mos.
                                                                                                         Mos.          Sex: Spayed
                                                                                                                      Sex:   Spayed Female
                                                                                                                                    Female
                 Cumberland, MD
                 Cumberland, MD 21502
                                  21502                                           Color:
                                                                                  Color:       Brown and
                                                                                               Brown   and white
                                                                                                           white



           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History


     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             1.00 Mass
                                                 1.00 Mass Removal
                                                              Removal (MASSREM)
                                                                         (MASSREM) by  by CO
                                                                                          CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             .50 cc
                                                 .50 cc of
                                                         of Domitor
                                                            Domitor (DOMIT)
                                                                      (DOMIT) by
                                                                               by CO
                                                                                   CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             .20 cc
                                                 .20 cc of
                                                         of Butorphanol
                                                            Butorphanol (BUTOR)
                                                                           (BUTOR) byby CO
                                                                                        CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             1.00 IV
                                                 1.00 IV Catheter/Fluids
                                                          Catheter/Fluids Anesthesia    (IV/FLUA) by
                                                                            Anesthesia (IV/FLUA)  by CO
                                                                                                      CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             1.00 NAIL
                                                 1.00 NAIL TRIM
                                                             TRIM (NAILTRI)
                                                                     (NAILTRI) by
                                                                                by CO
                                                                                   CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             1.00 EAR
                                                 1.00 EAR CLEANING-
                                                             CLEANING COMPLIMENTARY
                                                                            COMPLIMENTARY {EARCLN)
                                                                                  -             (EAROLN) by by CO
                                                                                                               00
     7/20/2018       B
                     B           DON
                                 DCN             14.00 each
                                                 14.00  each of
                                                              of Carprofen
                                                                  Carprofen Caplets
                                                                             Caplets 100mg
                                                                                      100mg (CARPR10)
                                                                                             (OARPR1O) by by CO
                                                                                                             00
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             56.00 tablet
                                                 56.00  tablet of
                                                               of Clindamycin
                                                                   Olindarnycin 100mg
                                                                                100mg Quad
                                                                                        Quad Tablet
                                                                                             Tablet (CLINDA1)
                                                                                                     (CLINDA1) byby CO
                                                                                                                    CO
     7/20/2018
     7/20/2018       B
                     B           DCN
                                 DCN             1.00 each
                                                 1.00 each ofof E-COLLAR
                                                                E-COLLAR SIZESIZE 25
                                                                                   25 (ECOL25)
                                                                                      (ECOL2S) by
                                                                                                by CO
                                                                                                    CO
     7/20/2018
     7/20/2018       B
                     B           DON
                                 DCN             1.00 Charges
                                                 1.00 Charges Final
                                                                 Final (CHFINAL)
                                                                        (CUFINAL) byby CO
                                                                                       CO
     6/12/2018
     6/12/2018       T
                     T           BW
                                 BW              Image: Signed
                                                 Image:   Signed Estimate
                                                                    Estimate
      6/1/2018
      6/1/2018       L
                     L           GO
                                 GD              Chemistry results from IDEXX VetLab In-clinic
                                                 Laboratory Requisition ID: 8006                        Posted         Final
                                                 Test                  Result                      Reference Range
                                                 ALB =
                                                 ALB=                  3.1 g/dL                     2.2
                                                                                                   2.2-     3.9                   -




                                                 ALKP =                79 U/L                      23 - 212                   -




                                                 ALT =                 28 U/L                      10 - 125                   -




                                                 BUN/UREA =    =       99 mg/dL                    77 - 27                -




                                                 Chloride =                 mntol/L
                                                                       114 mmol/L                   109 - 122                     -




                                                 CREA =                     ntg/dL
                                                                       0.5 mg/dL                   0.5 - 1.8                      -




                                                 GLU =                      rag/dL
                                                                       130 mg/dL                   70 - 143                   -




                                                 Potassium =
                                                 Potassium=            3.7 mmol/L                   3.5
                                                                                                   3.5-     5.8                   -




                                                 TP =                  7.3
                                                                       7. 3 g/dL                   5.2
                                                                                                   5.       8.2
                                                                                                       2 - 8.  2                  -




                                                 Sodium =                   tzuaol/L
                                                                       153 mmol/L                  144 - 160                      -




                                                 GLOB =
                                                 GLOB=                 4.2 g/dL                    2.5 - 4.5                      -




                                                 OSM calc =            302 mmol/kg
                                                 ALB/GLOB =
                                                 ALB/GLOB=             0.7
                                                 BUN/CREA =            18
                                                 Na/K =                41


      6/1/2018 p
      6/1/2018 P                 GD
                                 GD             14.00 each
                                                14.00  each ofCarprofen
                                                             of Carprofen Caplets
                                                                            Caplets 100mg
                                                                                      100mg (CARPR10)
                                                                                              (CARPR1O)
                                                Rx #: 99751
                                                Rx     99751 0  0Of
                                                                  Of 0
                                                                     0Refills
                                                                       Refills Filled
                                                                               Filled by:
                                                                                       by: TC
                                                                                           TC
                                                Give 1/2
                                                Give  1/2 of
                                                          of a
                                                             atablet
                                                               tablet TWICE
                                                                      TWICE a  aday
                                                                                day for
                                                                                      for pain
                                                                                          pain and
                                                                                               and inflamation
                                                                                                    inflamation
      6/1/2018 p
      6/1/2018 P                 GO
                                 GD             56.00 tablet
                                                56.00  tablet of
                                                              of Clindamycin
                                                                 Clindamycin 100mg
                                                                               100mg Quad
                                                                                        Quad Tablet
                                                                                               Tablet (CLINDA1)
                                                                                                      (CLINDA1)
                                                Rx #:
                                                Rx #: 99750
                                                       99750 0  0Of
                                                                  Of 0
                                                                     0Refills
                                                                       Refills Filled
                                                                               Filled by:
                                                                                       by: TC
                                                                                           TG
                                                Give 2
                                                Give  2Tablets
                                                        Tablets TWICE
                                                                 TWICE a  aday
                                                                            day until
                                                                                until gone
                                                                                      gone
               L
      6/1/2018 L                 GO
                                 GD             Hematology results from IDEXX VetLab In-clinic
                                                Laboratory Requisition ID: 8006                          Posted      Final
                                                Test                 Result                          Reference Range
                                                BASO =               0.03 K/uL                       0.00 - 0.10
                                                EOS = =              0.42 K/uL                       0.06       1.23
                                                                                                               1.23
                                                HCT =                45.2 %  %                       37.3       61 7
                                                                                                                61.7                   .


                                                HGB =                15.3 g/dL                       13.1      20.5
                                                LYMPHS =             1.28
                                                                     1. 28 K/uL                      1.05
                                                                                                     1. 05     5.10
                                                NCH =
                                                MCH                  21.1 pg L                       21.2      25.9
                                                Mdc =
                                                MCHC   =             33.8 g/dL
                                                                     33.8                            32.0       37.9

S:flhlhng, C:Med
B:Billing, c:Med note, CB:Call          cK:check.in, CM:Communications,
                         cB:call back, CK:Check-in,  cM:communicaffons, D:Diagnosis,
                                                                          D:Oiagnosis, DH:Oec!ined
                                                                                       DI-toectined to history, E:Examination, ES:Eslimates,
                                                                                                                               ES:Estimates,
[:Departing fnstr,
!:Departing  lnstr, l:lab
                    L:Lab result,
                          result, M:lmage
                                  M:Image cases,
                                          cases, P:PrescripUon,
                                                 P:Prescrtpt(on, PA:PVL
                                                                 PAPvL Accepted,  PB:probtems. PP:PVL
                                                                        Accepted, PB:prob!ems,           Performed. PR:PVL
                                                                                                PP:PVL Performed,    PR:PVL Recommended,
                                                                                                                             Recommended,
ftcorrespondence. T:lmages, TC:Tentative
R:Correspondence,                  Tc:TentaUve medl
                                               medi note,
                                                    note. V:vital srgns
                                                          V:Vital signs

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                                                                                                                                       PM



                                                                                                                                               MVS00134
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                                                             Patient History Report
          Client: Candy,
          Client: Candy, Bob
                          Bob (Tri-State
                              (Tri-State Zoo)
                                         Zoo) (15924)
                                              (15924)                           Patient:      Bridgette (Personal Acct) (38216)
         Phone: (240)
         Phone:   (240) 727-8051
                        727-8051                                               Species:
                                                                               Species:       Canine
                                                                                              Canine               Breed: Hound,
                                                                                                                   Breed:   Hound, Basset
                                                                                                                                   Basset
       Address:   10105 Cottage
       Address: 10105    Cottage Inn
                                 Inn Ln
                                     Ln NE
                                         NE                                        Age:
                                                                                   Age:               5Mos.
                                                                                              11 Yrs. 5              Sex: Spayed Female
                  Cumberland, MD
                  Cumberland,  MD 21502
                                    21502                                        Color:
                                                                                 Color:       Brown and
                                                                                              Brown  and white
                                                                                                          white



           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History


                                                 MCV =
                                                 MCV                        62.3 fL
                                                                            62.3  EL                                61.6 - 73.5
                                                                                                                    61.6   73.5 -




                                                 MONOS =
                                                 MONOS                      0.74 K/uL
                                                                            0.74  K/uL                              0.16
                                                                                                                    0.16-  1.12
                                                                                                                           1.12     -




                                                 MPV =                      11.7 fL
                                                                            11.7  EL                                8.7 - 13.2
                                                                                                                    8.7   13.2
                                                                                                                            -




                                                 RBC=
                                                 RBC =                      7.25 M/uL
                                                                            7.25  M/uL                              5.65
                                                                                                                    5.65-  8.87
                                                                                                                           8.87 -




                                                 WBC=
                                                 WEC =                      11.33 K/uL
                                                                            11.33  K/ilL                            5.05
                                                                                                                    5.05-  16.76
                                                                                                                           16.76-




                                                 %LYMPHS =
                                                 %LYMPHS                    11.3 %
                                                                            11.3  %
                                                 %MONOS =
                                                 %MONOS   =                 6.5 %
                                                                            6.5  %
                                                 NEUT
                                                 NEUT =                     8.86 K/uL
                                                                            8.86  K/uL                              2.95
                                                                                                                    2.      11.64
                                                                                                                       95 - 11.64
                                                                                                                                -




                                                 %NEUT
                                                 %NEIJT =                   78.2 %
                                                                            78.2  %
                                                 %EOS =
                                                 %EOS                       3.7 %
                                                                            3.7  %
                                                 %BASO =                    0.3 %
                                                                            0.3  %
                                                 PLT =
                                                 PLT                        293 K/uL
                                                                            293  K/uL                               148 - 484
                                                                                                                    148   484
                                                 Retios =
                                                 Retics                     68.2 K/uL
                                                                            68.2  K/uL                              10.0 - 110.0
                                                                                                                    10.0   110.0-




                                                 %Retics =
                                                 %Retics                    0.9 %
                                                                            0.9  %
                                                 ROW=
                                                 RDW =                      19.3 %
                                                                            19.3  %                                 13.6
                                                                                                                    13.6-  21.7
                                                                                                                           21.7 -




                                                 PDW =
                                                 PDW                        16.0 fL
                                                                            16.0  EL                                9.1 - 19.4
                                                                                                                    9.1   19.4
                                                                                                                            -




                                                 PCT =
                                                 PCT =                      0.34 %
                                                                            0.34  %                                 0.14 - 0.46
                                                                                                                    0.14   0.46 -




      6/1/2018 C     c           GD              Routine exam
                                                 HISTORY: Mass on Left front leg, been there about 1   1year. Seen by a  avet last year
                                                 and was
                                                 and       told it
                                                      was told  it was
                                                                   was an
                                                                       an abcess.
                                                                          abcess. Gotten
                                                                                  Gotten bigger
                                                                                         bigger and
                                                                                                and it
                                                                                                    it does
                                                                                                       does brust
                                                                                                              brust open
                                                                                                                    open at
                                                                                                                         at times
                                                                                                                            times butbut
                                                 not alot
                                                 not alot of
                                                          of discharge.
                                                             discharge. NO
                                                                         NO FNA
                                                                             FNA was
                                                                                  was done
                                                                                      done when
                                                                                           when seen
                                                                                                 seen last
                                                                                                        last year.
                                                                                                             year. was
                                                                                                                   was told
                                                                                                                       told itit was
                                                                                                                                 was an
                                                                                                                                     an
                                                 abcess.:
                                                 abcess.:

                                                 102.9
                                                 102.9

                                                 Physical Exam:
                                                 Physical Exam:
                                                 GENERAL: BCS
                                                 GENERAL:    BCS 5/9,
                                                                 5/9, BAR
                                                                      BAR

                                                 ABDOMEN:
                                                 ABDOMEN:          The abdomen
                                                                   The  abdomen isis soft
                                                                                     soft and
                                                                                          and non-painful.
                                                                                               non-painful. The
                                                                                                             The internal
                                                                                                                 internal organs
                                                                                                                          organs palpated,
                                                                                                                                  palpated,
                                                 including the
                                                 including the     kidneys and
                                                                   kidneys and loops
                                                                                loops of
                                                                                       of intestines
                                                                                          intestines had
                                                                                                     had normal
                                                                                                          normal sizes,
                                                                                                                 sizes, location,
                                                                                                                        location, and
                                                                                                                                  and
                                                 consistency.
                                                 consistency.      No abnormalities
                                                                   No  abnormalities were
                                                                                      were detected.
                                                                                             detected.

                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arrythmias are
                                                                                          are heard.
                                                                                              heard.

                                                 EARS: The
                                                 EARS: The ears
                                                           ears are
                                                                are clear
                                                                    clear with
                                                                          with no
                                                                               no evidence
                                                                                  evidence of
                                                                                           of redness
                                                                                              redness or
                                                                                                      or discharge
                                                                                                         discharge

                                                EYES: The eyes are bright and clear. The cornea, sclera, conjunctiva, and eyelids
                                                are intact
                                                are intact and
                                                           and healthy.
                                                               healthy. The
                                                                         The lens
                                                                             lens is
                                                                                  is transparent
                                                                                     transparent and
                                                                                                 and thethe iris
                                                                                                            iris has
                                                                                                                 has a
                                                                                                                     anormal
                                                                                                                       normal color
                                                                                                                              color and
                                                                                                                                    and
                                                texture. The
                                                texture.  The pupils
                                                              pupils are
                                                                     are normally
                                                                         normally responsive
                                                                                  responsive to
                                                                                              to light.
                                                                                                 light. Vision
                                                                                                         Vision appears
                                                                                                                  appears normal.
                                                                                                                          normal.

                                                GASTROINTESTINAL: There
                                                GASTROINTESTINAL: There is
                                                                        is no
                                                                           no evidence
                                                                              evidence of
                                                                                       of gastrointestinal
                                                                                          gastrointestinal abnormalities.
                                                                                                           abnormalities.

B:Billing, C:Med
           c:Med note, CB:Call
                        cB:call back, CK:Check-in, CM:Communications,
                                                    cMcommuarcauons. D:Diagnosrs,
                                                                         D:oiagnosls, DH:Declined
                                                                                      DJ-toeclined to history,
                                                                                                      history. E:Examfnation,
                                                                                                               E:Eamlnation, ES:Eslimates,
 :Departing instr,
!:Departing  instr,L:lab
                   L:Lab result, M:fmage
                                 M:lmage cases, ?:Prescription,
                                                PPrescription. PA:PVL
                                                                PkPvLAccepted.   PB:problems. PP:PVL Performed,
                                                                       Accepted, PB:prob!ems,           Performed. PR:PVL
                                                                                                                    PR:PvL Recommended,
scorrespondenco, T:lmages,
R:Correspondence,     T:Images, TC:Tentative
                                 Tc:Tenlative med!
                                              medl note,
                                                   note. V:Vital
                                                         V:vitai signs


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                         SVS                                          Page 4
                                                                      Page 4of6
                                                                             of 6                               Date: 4/30/2021
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                                                                                                                                              MVS00135
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                                                              Patient History Report
         Client: Candy,
         Client: Candy, Bob
                        Bob (Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                              Patient:      Bridgette (Personal Acct) (38216)
         Phone: (240) 727-8051                                                  Species:       Canine               Breed: Hound, Basset
       Address:  10105 Cottage
       Address: 10105  Cottage Inn
                               Inn Ln
                                   Ln NE
                                       NE                                           Age:
                                                                                    Age:       11 Yrs.
                                                                                               11 Yrs. 5
                                                                                                       5Mos.
                                                                                                         Mos.         Sex: Spayed
                                                                                                                      Sex:   Spayed Female
                                                                                                                                    Female
                 Cumberland, MD
                 Cumberland, MD 21502
                                  21502                                           Color:       Brown and white


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History




                                                  MOUTH/TEETH: The
                                                  MOUTH/TEETH:       The gums
                                                                          gums appear
                                                                                  appear healthy.
                                                                                           healthy. The
                                                                                                    The tongue,
                                                                                                        tongue, tonsils,
                                                                                                                 tonsils, palate,
                                                                                                                          palate, and
                                                                                                                                  and
                                                  pharynx have
                                                  pharynx  have aahealthy
                                                                   healthy color
                                                                           color and
                                                                                  and appearance.
                                                                                       appearance. The
                                                                                                     The teeth
                                                                                                          teeth appear
                                                                                                                appear clean,
                                                                                                                         clean, white,
                                                                                                                                white, and
                                                                                                                                       and
                                                  properly aligned.
                                                  properly aligned. There
                                                                     There is
                                                                            is no
                                                                               no significant
                                                                                   significant accumulation
                                                                                               accumulation of
                                                                                                            of tartar.
                                                                                                               tartar.

                                                  MUCOUS MEMBRANES:
                                                  MUCOUS       MEMBRANES: MucousMucous membranes
                                                                                        membranes are
                                                                                                  are pink
                                                                                                      pink and
                                                                                                           and moist
                                                                                                               moist with
                                                                                                                     with a
                                                                                                                          acapillary
                                                                                                                            capillary
                                                  refill time
                                                  refill time of
                                                              of less
                                                                 less than
                                                                      than two
                                                                           two seconds.
                                                                               seconds.

                                                  LYMPH NODES:
                                                  LYMPH NODES: Lymph
                                                               Lymph nodes
                                                                     nodes are
                                                                           are of
                                                                               of normal
                                                                                  normal size
                                                                                         size and
                                                                                              and character
                                                                                                  character

                                                  MUSCULOSKELETAL: LH
                                                  MUSCULOSKELETAL:         LH Medial
                                                                               Medial and
                                                                                      and lateral
                                                                                           lateral toenails
                                                                                                   toenails ingrown
                                                                                                            ingrown severely-
                                                                                                                     severely- unable
                                                                                                                               unable to
                                                                                                                                      to
                                                  remove portion
                                                  remove  portion ingrown
                                                                  ingrown into
                                                                          into pads-
                                                                               pads- to
                                                                                     to be
                                                                                        be removed
                                                                                            removed under
                                                                                                      under sedation
                                                                                                              sedation for
                                                                                                                       for mass
                                                                                                                           mass
                                                  removal.
                                                  removal.

                                                  NERVOUS SYSTEM:
                                                  NERVOUS    SYSTEM: The The pet
                                                                              pet presented
                                                                                   presented bright,
                                                                                             bright, alert,
                                                                                                     alert, and
                                                                                                            and responsive
                                                                                                                 responsive with
                                                                                                                            with no
                                                                                                                                 no
                                                  obvious abnormalities.
                                                  obvious abnormalities. A  full neurologic
                                                                          A full neurologic exam
                                                                                            exam was
                                                                                                  was not
                                                                                                        not performed.
                                                                                                             performed.

                                                  RESPIRATORY: Respiration
                                                  RESPIRATORY: Respiration is
                                                                           is normal
                                                                              normal with no crackles
                                                                                     with no crackles or
                                                                                                      or wheezes.
                                                                                                         wheezes.

                                                  SKIN/HAIR COAT:
                                                  SKIN/HAIR COAT: 2
                                                                  2dermal
                                                                    dermal masses
                                                                           masses LF.
                                                                                  LF.

                                                 UROGENITAL: Normal
                                                 UROGENITAL:      Normal urinary
                                                                          urinary tract.
                                                                                  tract. The
                                                                                         The bladder
                                                                                              bladder and
                                                                                                      and kidneys
                                                                                                           kidneys are
                                                                                                                   are of
                                                                                                                        of normal
                                                                                                                           normal
                                                 shape, size,
                                                 shape, size, and
                                                              and consistency.
                                                                  consistency. Normal
                                                                                 Normal genitalia
                                                                                         genitalia and
                                                                                                   and reproductive
                                                                                                        reproductive organs
                                                                                                                     organs for
                                                                                                                             for the
                                                                                                                                 the
                                                 age, sex,
                                                 age, sex, and
                                                           and reproductive
                                                               reproductive status
                                                                             status of
                                                                                    of the
                                                                                       the animal
                                                                                           animal are
                                                                                                   are present.
                                                                                                       present. No
                                                                                                                 No discharge
                                                                                                                    discharge was
                                                                                                                               was
                                                 noted.
                                                 noted.


                                                 ASSESSMENT: Ingrown toenails
                                                 ASSESSMENT: Ingrown toenails LH,
                                                                              LH, masses
                                                                                  masses LF.
                                                                                         LF.

                                                 PLAN: Mass
                                                 PLAN: Mass removal
                                                            removal at
                                                                    at owners
                                                                       owners convenience.
                                                                              convenience.

                                                 PROCEDURES PERFORMED
                                                 PROCEDURES PERFORMED ON
                                                                      ON YOUR PET TODAY:
                                                                         YOUR PET TODAY:



      6/1/2018 V
      6/1/2018      v            TC                  1, 2018
                                                 Jun 1, 2018 01:55
                                                             01:55 PM
                                                                   PM Staff:
                                                                      Staff: TC
                                                                             TC

                                                 Weight
                                                 Weight                              :: 42.80
                                                                                        42.80 pounds
                                                                                              pounds

      6/1/2018 CK
      6/1/2018 CK                BW
                                 BW              Abscess/tumoron
                                                 Abscess/tumor on leg  leg
                                                 Reason for
                                                 Reason   for Visit:
                                                              Visit: Sick
                                                                     Sick Examination
                                                                           Examination
                                                 Date  Patient  Checked
                                                 Date Patient Checked Out: Out: 06/01/18
                                                                                06101118 Practice
                                                                                         Practice 1I
      6/1/2018 B
      6/1/2018 B                 GD
                                 GD              1.00 Sick
                                                 1.00 Sick exam
                                                            exam (SICKEX)
                                                                    (SICKEX) byby CO
                                                                                  CO
               B
      6/1/2018 B                 GD
                                 GD              1.00 NAIL
                                                 1.00 NAIL TRIM
                                                             TRIM (NAILTRI)
                                                                     (NAILTRI)byCO
                                                                                by CO
      6/112018 B
      6/1/2018 B                 GD
                                 GD              1.00 [None]
                                                 1.00 (None) ofof CBC,Chem
                                                                  CBC,Chem 10,Eiectrolytes-ln
                                                                               10,Electrolytes-in House
                                                                                                  House (CBC6EH}
                                                                                                        (CBCGEH) by
                                                                                                                 by CO
                                                                                                                    CO

B:eilling, C:Med
B:Bilting, c:Med note, CB:Ca!l
                         cB:call back, CK:Check-in,
                                        ck:check-in, CM:Communications,
                                                     CM:communications, D:Diagnosis, OH:Declined
                                                                                       DH:Dectinedtohistoiy,
                                                                                                   to history, E:Examination, ES:Estimates,
                                                                                                                              ES:Estirnates,
I: Departing instr, l:lab
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                                  M:tmage cases, ?:Prescription,
                                                 P:Prescription, PA:PVL
                                                                 PAP VI Accepted. PS:problems, PP:PVl
                                                                        Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
R:correspondence, T:lmages,
R:Correspondence,      T:Images, TC:Tentative
                                   Tc:Tentauve medt       v:vital signs
                                               medi note, V:Vilal


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                                                                Patient History Report
          Client: Candy,
          Client: Candy, Bob
                          Bob (Tri-State
                              (Tri-State Zoo)
                                         Zoo) (15924)
                                              (15924)                              Patient:
                                                                                   Patient:       Bnidgette (Personal
                                                                                                  Bridgette  (Personal Acct)
                                                                                                                       Acct) (38216)
                                                                                                                             (38216)
         Phone: (240)
         Phone:   (240) 727-8051
                        727-8051                                                  Species:
                                                                                  Species:        Canine
                                                                                                  Canine                Breed: Hound,
                                                                                                                        Breed:   Hound, Basset
                                                                                                                                        Basset
       Address: 10105
       Address:   10105 Cottage
                         Cottage Inn
                                 Inn Ln
                                     Ln NE
                                         NE                                           Age:
                                                                                      Age:        11 Yrs.
                                                                                                  11 '(is. 5
                                                                                                           5Mos.
                                                                                                             Mos.          Sex: Spayed
                                                                                                                           Sex:  Spayed Female
                                                                                                                                        Female
                  Cumberland, MD
                  Cumberland,  MD 21502
                                    21502                                           Color:
                                                                                    Color:        Brown and
                                                                                                  Brown   and white
                                                                                                               white



           Date Type
           Date Type               Staff
                                   Staff            History
                                                    History


       6/1/2018
       6/1/2018       B
                      B            GD              1.00 CLEAN
                                                   1.00 CLEAN WOUND
                                                                  WOUND (CLEANWO)
                                                                            (CLEANWO) by by CO
                                                                                            CO
       6/1/2018
       6/1/2018       B
                      B            GD              1.00 Bandaging
                                                   1.00 Bandaging Wrap
                                                                     Wrap (BANDWRA)
                                                                           (BANDWRA) by  by CO
                                                                                            CO
       6/1/2018
       6/1/2018       B
                      B            GD              56.00 tablet
                                                   56.00 tablet of
                                                                 of Clindamycin
                                                                    Clindamycin 100mg
                                                                                 100mg Quad
                                                                                        Quad Tablet
                                                                                              Tablet (CLINDA1)
                                                                                                     (CLINDA1) by
                                                                                                                by CO
                                                                                                                   CO
       6/1/2018
       6/1/2018       B
                      B            GD              14.00 each
                                                   14.00 each ofof Carprofen
                                                                   Carprofen Caplets
                                                                              Caplets 100mg
                                                                                      100mg (CARPR10)
                                                                                             (CARPR1O) by by CO
                                                                                                             CO
       6/1/2018
       6/1/2018       B
                      B            IC
                                   TC              1.00 Charges
                                                   1.00 Charges Final
                                                                   Final (CHFINAL)
                                                                         (CHFINAL) by
                                                                                    by CO
                                                                                       CO




                                                                                         D1-:Declined to history, E:Examination, ES:Estimates,
B:Billing, C:Med note, CB:Call back, CK:Check-in, CM:Communications, D:Diagnosls, DH:Dectined                                    ES:Estirnates,
I:Departing inslr,
!:Departing  instr, l:Lab
                    L:Lab result, M:lmage
                                  M:lmagecases,
                                           cases, P:Prescription, PA:PVL
                                                                  PA:PVt. Accepted, PB:problems,
                                                                                    PB:problerns, PP:PVL Performed, PR:PVL Recommended,
                       T:!mages, TC:Tentative
R:Correspondence, T:lmages,        TC:Tentalive medl
                                                medi note, V:Vital
                                                           V:Vilal signs

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                                                                                                                image 1I
    Patient: 38216                   Bridgette (Personal                                                       Species: Canine                                                              Breed: Hound, Basset

     Client: 15924                              (Tr i
                                     Candy, Bob (Tri-State
                                                    -State                                                                 11/29/09
                                                                                                                      DOB: 11/29/09                                                        Gender: Spayed Female



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           Perfon·1 an ex;Jm exun · ·"P1  .,J,.I ;U rn''      c1 IJe' )eort     nrthr step:;
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      Is your ''' due
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         No
     _N_O                  ·-".. -- .
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     Would       v,,,.
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                                                                         "nl' lfif,·                 hwi;ncss hours.
                                                                                           ''l·.Uar lm.•;;lif''''' hours. If
                                                                                                                          If your
                                                                                                                             your pet's
                                                                                                                                  pet's condition
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                                                    image 1I
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                                                    image
     Patient:
     Patient: 38216
              38216      Bridgette (Personal       Species: Canine                Breed: Hound,
                                                                                  Breed: Hound, Basset
                                                                                                Basset

     Client: 15924
             15924       Candy,
                         Candy, Bob
                                Bob (Tri-State
                                    (Tri-State        DOB: 11/29/09              Gender: Spayed
                                                                                 Gender: Spayed Female
                                                                                                Female



                                               Sedation Consent Form

                                      Mountainview Veterinary
                                90 Southern Drive, Keyser, WV 26726
                                                   304788-66O2

           Owner:
           ov.:ner:
           Patient:
           Patient:     Bd
                         tc{cc*hg,
                                    \
                          ØD t(-aiAdq
                                 (L(\dl/
                                    f     J
                                                         Date: 1
                                                        Pet's Age:
           Current Medications:
           Procedure( s) performed today:
           Procedure(s)                     FrL_-o cS—'1
                                            1,---T--k_+<O
                                                     _ _-=C:-0-d_"_g------""---,-----,
                                                               fl_i-i


          Like
          Like you,
                you, our
                      our greatest
                           greatest concern is the well-being of your pet.  pet. Many
          conditions,
           conditions, including     disorders of
                        including disorders     of the
                                                   the liver
                                                       liver and
                                                             and kidneys,
                                                                  kidneys, are
                                                                            are not
                                                                                not detected
                                                                                    detected
          unless
          unless blood
                  blood testing
                          testing is
                                   is performed.
                                      performed. Such tests are especially important beforebefore
          any
          any kind
               kind of
                     of surgery
                        surgery andand are
                                        are similar
                                            similar to
                                                    to those
                                                       those your
                                                              your own
                                                                    own physician   would run
                                                                         physician would    run
          for
          for you
              you prior
                   prior to
                          to anesthesia.
                             anesthesia. In addition, the results of these tests will serve
          as
          as reference
             reference values
                         values for
                                  for the future should your petpet become
                                                                    become ill. For these
          reasons,
          reasons, we
                    we highly
                        highly recommend
                                 recommend bloodblood screening before
                                                                   before such procedures.
                                                                                procedures.
          With your pet's health being our greatest concern, we do require
          bloodwork
          bloodwork for for patients
                             patients 8 8years
                                          years of
                                                 of age
                                                     age or
                                                         or older.
                                                             older.
          *Plea se indicate if you
          *Please                     would like
                                  ou would    like your
                                                   your pet  to have
                                                         pet to have this
                                                                      this important
                                                                           important blood   test.
                                                                                      blood test.
          Cost
          Cost of
                of this
                   this testis
                        test is $9342.
                                $93 2.
          Yes
          Yes           No
                        No

          An
          An LV.
              I.V. Catheter with intravenous fluids may also be administered during
          your pet's anesthetic procedure in order to keep the patient hydrated,
          maintain
          maintain blood
                    blood pressure,
                            pressure, and to enable intravenous access.
          *plea se indicate
          *Please  indicate if
                             if you >vould
                                    would like your pet
                                                     pet to have this in place.
                                                                         place. Cost of
          placement
          placement isis $52.00. /
          Yes
          Yes         No
                      No-\/

          E-Collars
          E-Collars prevent
                    prevent patients/from
                            patients/from licking and chewing at their incision site
          which
          which can
                can cause
                    cause possib e4nfection or
                                             or issues
                                                issues with
                                                       with the
                                                             the sutures.
                                                                 sutures. We
                                                                          We strongly
                                                                              strongly
          recommend
          recommend getti g e-collar for your pet  pet for after their procedure.
                                                                       procedure.
          YES
          YES         NO
                      NO                                                          ·

                                                                                                              MVS00139
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                                                          image 1
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                      Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 20 of 52
                                                          image
    Patient: 38216         Bridgette (Personal          Species: Canine                                  Breed: Hound, Basset


     Client: 15924                    (Ill-State
                           Candy, Bob (Tri-State            DOB: 11/29/09
                                                            DOD: 11/29/09                               Gender: Spayed Female




                                            CANINE MASS REMOVAL

                                            Surgery and Anesthesia Consent
                                               Mountainviejy Veterinary
                                               Mountainview
                                         90 Southern Drive Keyser, WV 26726
                                                     304-788-6602
                      Owner:     'Ir i 3 }a
                                 'Tr     1m re-
                                            *e- loa                              i'zn IIt 'X'
                                                                              '7 l'zo
                                                                        Date: 7
                      Patient:   Bc i\('s.rf\e) 33 ZIL(
                                 Bnc\qrt:\e.lt     ZR.?                 Pet's Age:   'X'ii11((
                              Medications; ;V
                      Current Medications: .A/6J4
                                             oJJ/3.

                      Like you, our greatest concern is the well being of your pet. Many
                                                       of the liver and kidneys are not detected
                      conditions, including disorders ofthe
                     unless blood testing is performed.                              important before
                                              perfonned. Such tests are especially imp011ant
                     any  kind  of surgery and are similar to those  your own  physician
                     any kind of surgery and are similar to those your own physician wouldwould run
                                                                                                 run
                     for you prior to anesthesia. In addition, the results of these tests will serve
                                                  future should your pet become ill. For these
                     as reference values for the filture
                     reasons, we highly recommend blood screening before such procedures.
                     *ple ase indicate
                     *Please  indicate whether
                                         whether you
                                                  you would
                                                       would like
                                                               like your
                                                                    your pet to have
                                                                         pet to have this
                                                                                      this important
                                                                                           important
                     blood, Cost of this test is $93.02. With your pet's health being our
                     greatest coJt                        bloodwork
                                      rn, we do require blood
                               coiis*rn,                        work for patients 88years of age or
                     older*
                     older*       /
                     YES
                     YES         '         NO________
                                           NO

                     An I.V.
                         I.V, catheter with intravenous fluids may also be administered during
                     your pet's anesthetic procedure in order to keep the patient hydrated,
                     maintain blood pressure, and to enable intravenous access.
                     *please indi91te
                     *Please  indicpte if you would like your pet
                                                                pet to have this in place. Cost of
                     this placenjlnt is $52.00*
                     YES
                     YES                NO
                                        NO·--------

                     Heartworm testing is available for dogs over 66montjs
                                                                     mont,js of age.
                          of Heartworm ONLY is $15.93 YES_NO_
                     Cost ofHeartworm                      YES       NO                    /
                     Cost ofHeartworm,
                          of Heartworm, Lyme, Elrichia,
                                               Blrichia, Anaplasmosis
                                                         Anaplasniosis is $33.40 YES
                                                                                  YES__NO_               .\
                     Heartworm prevention is available.
                     Heatiwonn                                                                                  \:''.
                                            Topical? Please circle your preference.
                     Would you like Oral or Topic?!?                    preference.               X,IJ               :
                     How many months of prevention would you hke?like?_ _month(s)      . <\ ,
                                                                                            1\j"("               .   .
                                                                                                                                         MVS00140
MOUNTAIN VIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY   SVS                              Page 1
                                                          Page Iof
                                                                 of 1
                                                                    I                                          Print Date:
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                                                                                image 1
                                                                                      I
                           Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 21 of 52
                                                                                image
   Patient:
   Patient: 38216
            38216                Bridgette
                                 Bridgette (Personal
                                           (Personal                           Species: Canine
                                                                               Species: Canine                                                       Breed: Hound,
                                                                                                                                                     Breed: Hound, Basset
                                                                                                                                                                   Basset

    Client:
    Client: 15924
            15924                Candy.
                                 Candy, Bob (Tri-State
                                        Bob (Tri-State                               DOS: 11/29/09
                                                                                     DOB: 11/29/09                                                Gender: Spayed
                                                                                                                                                  Gender: Spayed Female
                                                                                                                                                                 Female




                                                                            MOUNTAINVIEW VETERINARY SVS                                                               61112048
                                                                                                                                                                      6/1/2018
                                                                                                                                                                    Page 1/l
                                                                                                                                                                    Page1/1
                                                                                          90 SOUTHERN
                                                                                          90 SOUTHERN DRIVE
                                                                                                      DRIVE
                                                                                           KEYSER, WV
                                                                                           KEYSER, WV 26726
                                                                                                      26126


                                                                                                ($04) 788·6602
                                                                                                (304) 788'6602


           Bob, Tri-State Zoo Candy
           10105
           10105 Cottabe
                 Col!aba Ian
                         Inn In
                             ln NE                                                                                                                    Client ID: 15924
                                                                                                                                                      C!ientlD:
                                                                                                                                                 Estimate ID:
                                                                                                                                                 Estimate to: 25ll1
                                                                                                                                                              2581
           Cumberland,
           Cumberland, MD
                       MD 21502
                          21502
                                                                                                                                              Expirallon Date:
                                                                                                                                              Expiration Date: 7/31/2018
                                                                                                                                                               7131/2018



            Patient tO:        38216
                               38216                             Species:     Canine                             Weight:
                                                                                                                 Weight:     4280
                                                                                                                             42.80   pounds
                                                                                                                                     pounds       Sec Spayed
                                                                                                                                                  Sex: Spayed Female
                                                                                                                                                              Female
            Patient
            Patient Name:
                    Name:      BnWgette
                               Btidgetle (Personal
                                         (Personal .Acct)
                                                   Acct)         Breed:
                                                                 Breed:       Hound, Basset
                                                                              Hound, Basset                      Birthday:
                                                                                                                 Birthday:       11/29/2009
                                                                                                                                 11/29/2009

           Item ID        Description
                          Descr!nt!oo                                  Staff Name                          Low Div.          LowAmotrnj
                                                                                                                             lQWAffiOl!n!      High Div.
                                                                                                                                               !:!l.<!!!..!lli   $lnlaAmount
                                                                                                                                                                 t!lgh Amount
           CBC6EU
           CBC6EH         CBO.Chem
                          CBC,Chem 10,Eiectroiyles-in
                                      10,Eiectro!ytes-ln House         Or. Cheryl Nguyen, DVM
                                                                       Dr.                                         1.00           $93.03               1.00               $93.03
           IV/FLIJA
           !V/FlUA        lV
                          IV Catheter/Fluids
                             Catheter/Fluids Anesthesia
                                             Anesthesia                                                            4.00
                                                                                                                   1.00           $52.00
                                                                                                                                  $52.00               1.00
                                                                                                                                                       1.00               $52.00
           MASSREM Mass
                   Mass Removal                                                                                   76.00
                                                                                                                  75.00          $100.00             75.00               $100.00
           MtSCFEE
           MISCFEE Miscellaneous
                   MlsceHaneous Fee
                                 Fee forms removed
                                     (nails removed from
                                                    from           J                                               1.00           $50.00
                                                                                                                                  $50.00            75.00
                                                                                                                                                    75.00                $100.00
                                                                                                                                                                         $100.00
           $621
           3621           ANESTHESIA
                          ANESTHESIA 26-50LOS.
                                        26·50 LBS.                                                                 1.00           $99.10
                                                                                                                                  $99.10             1.00                 $99.10
                                                                                                                                                                          $99.10
           CLINOAI
           CUNDAf         Ctindamydn
                          Clindamycln 100mg
                                      100mg Quad
                                             Quad Tablet
                                                   Tablet                                                         56.00           $50.40
                                                                                                                                  $50.40            56.00                 650.40
                                                                                                                                                                          $50.40
           CARPRIO
           CARPR10        Carprofencaptets
                          Carprofen Caplets 100mg                                                                  5.00           $11.00              5.00                $41.00
                                                                                                                                                                          $11.00
           CARPINJ
           CARPJNJ        carprofentnjectable
                          Carprofen InJectable                                                                     1.00
                                                                                                                   1.00           $11.00
                                                                                                                                  $11.00              1.00                $11.00
                                                                                                                                                                          $11.00
           CALMED
           CALMED         Calmer
                          Calmer Collar
                                 Collar·-Medluni
                                         Medium                                                                    1.00           $21.40              1.00                $21.40
                                                                                                                                                                          $21.40
           LZR4
           lZR4           Lasertirerapy.slngla
                          laser therapy-single session                                                             0.00            $0.00              1.00                $25.00
           HW140X
           HWT4DX HeartwonWLymo/Anaplasffihr]tda
                   Heartv.-orm/Lyme/Anaplas/Ehrlicla Test                                                          0.00            50.00
                                                                                                                                   $0.00              1.00                $34.30
                                                                                                                                                                          S34.30
           BANDWRA
           BANDWRA BandagingWrap
                   Bandaging Wrap                                                                                  4.00
                                                                                                                   1.00           $27.34
                                                                                                                                  $27.34              1.00                $27.34
                                                                                                                                                                          $27.34
           1174
           1171           RABIES
                          RABIES CANINE
                                 CANINE 1
                                        1 YEAR BOOSTER
                                          YEAR BOOSTER                                                             1.00           $11.27              1.00                $11.27
           OHLPPB
           DHLPPB         DRIPPI
                          DHLPP 1 YRBOOSTER
                                  YR BOOSTER                                                                       0.00            $0.00              1.00                $24.08
                                                                                                                                                                          $24.08
           LYMECRI
           LYMECR1        Lyme
                          Lyme CR
                               CR First
                                  Fir'$! Vaccine
                                         Vaccine                                                                   0.00            $0.00              1.00                $29.08
                                                                                                                                                                          $29.08




                                                                                                      Low Subtotal:
                                                                                                      low Subtotal:              $528.54
                                                                                                                                 $526.54    High Subtotal:               $689.00
                                                                                                                                                                         $689.00




                                                                                                        Low Total:
                                                                                                        low                      $526.64
                                                                                                                                 $526.54      High Total:
                                                                                                                                              High                       $689.00
                                                                                                                                                                 ===
                  esllmate Is valid for 30 days and Includes
             This estimate                          includes only those items listed. Prices may vary upon se<Vices
                                                                                                             services rendered. II
             agree to pay a
                          a deposit of ___ %   % of the estimate fees, assume financial responsibility for the remaining fees, and
             provide payment in full vla cash, cnit
                                fullj"         cçeit card, or check at the time my pet is discharged from the hospital.


             Authorization
             Authorization              lf'tJg                (I




                     This
                     Thls estimate
                          estlmate is good for 30 days and includes                  listed. Payment will
                                                           Includes only those items nsted.          wlll be required when your pet is released from the hospital.




                                                                                                                                                                                    MVS00141
MOUNTAINVIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY                                                              Page 1
                                                                                         1 of 1
                                                                                              I                                                                           4/30/21
                                                                                                                                                              Print Date: 4130121
                                                                                                                                                                          6112/18
                                                                                                                                                            Image Date: 6112118
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 22 of 52
                                                              Patient History Report
         Client:
         Client:      Candy,
                      Candy, Bob
                              Bob (Tri-State Zoo)
                                  (Tri-State Zoo) (15924)
                                                  (15924)                        Patient:
                                                                                 Patient:      Dodger (Capuchin)
                                                                                               Dodger  (Capuchin) (38155)
                                                                                                                  (38155)
        Phone:
        Phone:        (240)
                      (240) 727-8051
                            727-8051                                            Species:
                                                                                Species:       Primate
                                                                                               Primate              Breed: Unknown
                                                                                                                    Breed: Unknown
      Address:
      Address:        10105
                      10105 Cottage
                             Cottage Inn  Ln NE
                                     Inn Ln  NE                                     Age:
                                                                                     Age:      22 Yrs.
                                                                                                  Yrs. 11 Mos.        Sex: Male
                      Cumberland,
                      Cumberland, MD
                                   MD 21502
                                        21502                                      Color:
                                                                                   Color:      Black/White
                                                                                               Black/White


           Date
           Date Type
                Type             Stall
                                 Staff            History
                                                  History




       2/812019
       2/8/2019 C    c           GD
                                 GO               Default Comments
                                                 Default   Comments
                                                 Mr. Candy
                                                 Mr,  Candy called
                                                               called inin reference
                                                                           reference to to Dodger-
                                                                                            Dodger- per per last
                                                                                                            last discussion
                                                                                                                 discussion (Tuesday)
                                                                                                                              (Tuesday) he  he has
                                                                                                                                               has
                                                 been using
                                                 been   using coconut
                                                                coconut oil oil on
                                                                                on Dodger's
                                                                                    Dodger's apparently
                                                                                                apparently chapped
                                                                                                              chapped hands,
                                                                                                                         hands, has
                                                                                                                                  has not
                                                                                                                                       not been
                                                                                                                                            been able
                                                                                                                                                  able
                                                 to get
                                                 to get ahold
                                                         ahold of of a
                                                                     aprimate
                                                                       primate specialist
                                                                                  specialist asas advised
                                                                                                   advised onon Tuesday.
                                                                                                                 Tuesday. Mr.Mr. Candy
                                                                                                                                  Candy reports
                                                                                                                                          reports
                                                 today that
                                                 today   that he
                                                               he has
                                                                   has not
                                                                         not been
                                                                              been eating
                                                                                     eating well,   is not
                                                                                              well, is  not drinking,
                                                                                                            drinking, is
                                                                                                                      is not
                                                                                                                          not acting
                                                                                                                              acting self.
                                                                                                                                      self. Advised
                                                                                                                                            Advised
                                                 Mr. Candy
                                                 Mr.  Candy that
                                                               that Dodger
                                                                      Dodger needs
                                                                                needs to to be
                                                                                            be seen
                                                                                                seen ASAP
                                                                                                        ASAP byby aaveterinarian,
                                                                                                                    veterinarian, TODAY,
                                                                                                                                     TODAY,
                                                 potentially
                                                 potentially onon emergency
                                                                   emergency basis.basis. Advised
                                                                                           Advised him him that
                                                                                                            that we
                                                                                                                 we are
                                                                                                                     are not
                                                                                                                          not able
                                                                                                                              able to
                                                                                                                                    to hospitalize
                                                                                                                                       hospitalize aa
                                                 primate
                                                 primate as as discussed
                                                                discussed previously
                                                                              previously (last
                                                                                            (last fall).
                                                                                                  fall). Recommend
                                                                                                         Recommend calling
                                                                                                                         calling Cheat
                                                                                                                                 Cheat Lake-
                                                                                                                                         Lake- not
                                                                                                                                                not
                                                 sure  if they
                                                 sure if  they will  see primates
                                                                will see   primates butbut may
                                                                                            may know
                                                                                                  know of of someone
                                                                                                             someone who who can.
                                                                                                                              can. Stressed
                                                                                                                                    Stressed
                                                 Importance of
                                                 importance      of getting
                                                                    getting Dodger
                                                                              Dodger to to a
                                                                                           aprimate
                                                                                              primate veterinarian
                                                                                                         veterinarian today,
                                                                                                                       today, will
                                                                                                                               will need
                                                                                                                                    need bloodwork
                                                                                                                                           bloodwork
                                                 and likely
                                                 and  likely IV
                                                              IV fluids.
                                                                  fluids.



    1/18/2019
    1/18/2019       B
                    B            GD
                                 GO              1.00
                                                 1.00 [None) of Fecal,
                                                      [None] of Fecal, Primate,
                                                                        Primate, To
                                                                                 To ldexx
                                                                                    Idexx (FECPRIM)
                                                                                          (FECPRIM) by
                                                                                                    by CR
                                                                                                       CR
     7/9/2018
     7/9/2018       T
                    T            6W
                                 BW              Image: previous
                                                 Image:  previous vet
                                                                  vet records
                                                                       records
    6/1812018
    6/18/2018       T
                    T            BW
                                 BW              Image: Parasitology
                                                 Image:  Parasitology Report
                                                                       Report
    5/26/2018
    5/26/2018       L
                    L                            Microbiology results from IDEXX      IDE)O( Reference
                                                 Laboratory Requisition ID:             4601386264        Posted
                                                 Preliminary
                                                 Test                       Result                                   Reference Range
                                                 OVA&PARA
                                                 OVA& PARA


                                                   OVA & PARASITES
                                                   Fecal Op (Sedimentation)                                      No parasite found



    5/26/2015
    5/26/2018 L
              L                                  Miscellaneous results from IDEXX Reference
                                                 Laboratory Requisition ID:  4601386264       Posted
                                                 Preliminary
                                                 Ascn: 4601386264
                                                 RE: 50500 PARASITE STAIN if INDICATED PENDING
                                                 In cases of acute or chronic diarrhea in addition to aa fecal
                                                 flotation and
                                                 antigen
                                                 antigen testing for ova and parasites
                                                                             parasites consider testing for
                                                 viral, bacterial and
                                                 protozoal infectious agents using RealPCR (canine diarrhea
                                                 panel: test code
                                                 2625; feline diarrhea panel: test code 2627).
                                                                                        2627)                                          .




B:Bifing,
B:Bi!ling, c:Med
           C:Med note,CB:celi
                    note, CB:Ca\l back, ck:checl-in,   cM:communicauons, D:Oiagnosis, DH:Declined
                                         CK:Check-in, CM:Communications,                 DH:Dedined to history, E:Examinalion,
                                                                                                                E:ExamnaUon, ES:Eslimates,
                                                                                                                               ES:Estimates,
I:Departing
I: Departing ins,
             instr, 1:Lab
                    l:Lab result.
                           result, M:Imagecases,
                                   M:lmage cases, P:prescriplion,   PAPVL Accepted, PB:problems,
                                                   P:PrescripUon, PA:PVL            PB:prob!ems, PP:PVl
                                                                                                 PP:PvL Performed, PR:PVL Recommended,
Rcorrespondence,
R:Correspondence, Tirnages.
                       T:lmages, Tc:Tentative
                                    TC:Tentative medi
                                                 medl note, V:VitaI
                                                            V:Vital signs

MOUNTAIN VIEW VETERINARY
MOUNTAINVIEW             SVS
              VETERINARY SVS                                           Page 1
                                                                       Page 1of
                                                                              of 1
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                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 23 of 52
                                                                             image
    Patient: 38155
    Patient: 38155              Dodger (Capuchin)
                                Dodger (Capuchin)                          Species: Primate
                                                                           Species: Primate                                                Breed: Unknown
                                                                                                                                           Breed: Unknown

     Client: 15924
     Client: 15924              Candy, Bob
                                Candy, Bob (Tri-State
                                           (Tri-State                             DOB: 5/24/98
                                                                                  DOB: 5/24/98                                          Gender: Male
                                                                                                                                        Gender: Male



          0006-05-2018
             06·05·2018 10:25 N'1
                              AM                999955550093
                                                999955550093                               ->-) MOUNTAINVIEW VETERINARY SERVICES                                   01
                                                                                                                                                                   Dl

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                                                                                        FMlne 040≥2                                     Custurnar Support
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                                        Wt,W.idextcu '0                     United Staton
                                                                                   siaeas                                               8884339987
                                                                                                                                        $88433 Q987



            *WDODGER CANDY

            PFr05Vift
            PET        CANDY
                OWNER· CANDY                                        MO1JNTAINVIEW VETERINARY
                                                                    ldOUNTAJNVIEW VETERINARY SERVICES
                                                                                             SERVICES                      ACCESSKTN •4
                                                                                                                           ACC-ESS!Q."J               46=8984
                                                                    00 SOUTHERN DRIVE
                                                                    (IO                                                    HEUUISITDN *:
                                                                                                                           HEQUISITDN
            SPECIES;
            SPECES:     OThEP
                        OTHER                                       REYSER. WESr
                                                                    KEYSER. WEST VIRGINIA
                                                                                 VIRGINIA 26726                            DATE OF
                                                                                                                           DAlE OF cotlECTION
                                                                                                                                   COtLECTtOi       05126/2018
                                                                                                                                                    05/26/2018
            BREED:
            BI1EED:                                                                                                        DATE OF
                                                                                                                           DATE OF iIECEI'T:        05/2612018
                                                                                                                                                    05/2S/2018
            GENDER:
            GfNDEA:     MALE                      •                 ACCOtJI4I
                                                                    ACCOUNT¥: t    26144
                                                                                   26144                                   DATE OF
                                                                                                                           DAlE OF REPO!'tl:·
                                                                                                                                   REPOT:           06(05/2018
                                                                                                                                                    06{0,12018
            ASE:
            Am:·        SY100
                        5Y10D                                       ORDERED BY:
                                                                    ORDERED BY:       DUNCAN
                                                                                      DUNCAN


            IOEXX SERVICE&:
            IDEXX SERVICES:     )231 FECAL
                                3231 FECAL OVA
                                           OVA AND PARASITES WITH
                                               AND PARASITES       REFLEX PARASITE
                                                             \VITH REFLEX PARASITE STAJN
                                                                                   STAIN OF INDICATEO)-PRIMATE/AVIAN/EXOT1CS
                                                                                            INC4CATED)-PRIUATE(A\IANI8XOT1CS




               PARASITOLOGY
               PARASITOLOGY
              TEST                                                                              RESULT
                                                                                                RESUlT
              Ova &
              ova 6 Parasites -Zinc Sulfate CentrifUgation
                                            Centrifugation     f.                               Fatal Op
                                                                                                Fecal Op {Sedlmentatton)
                                                                                                         (Sedimentation)       No parasite
                                                                                                                               No parasite found
                                                                                                                                           found

                       Stain if Indicated
              Parasite stain                                                                    PENDING

               NOTES
               NOTES
               PAASITOL00Y
               PAAASITOLOGY                  aa In oases of
                                                         01 acute or cht·onic
                                                                      chronic diarrhea in addition to a
                                                                                                      a fecal flotation and
                                                                                                                         and antigen
                                                testing for ova and parasites consider testing for viral, bacterial and protozoal
                                                infectious agents using  Rea1PGR {canine
                                                                   using RealPCH (canine diarrhea panel:
                                                                                                  panel; test code 2625j
                                                                                                                   2625; feline diarrhea
                                                panel: test oo:le
                                                            code 2627),
                                                                  2627).




                     insights: For complete act:ess
          Get deeper hlstghls:              access to thts
                                                      this patienrs
                                                           patients diagnostic results, mduding
                                                                                        Winding historic values and images, login to \WNI.Vek:onnectplus.com
                                                                                                                                     \W(W.vetconflect1IuS,con,
          Partial reporl
                  report Qenerated
                         generated June 05,
                                        05. 2018                                                                                                      PAGE 11of 1I


MOUNTAIN VIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY                                                             lot
                                                                              Page 1    1
                                                                                     of 1                                                        Print Date:      4/30/21
                                                                                                                                                                            MVS00197
                                                                                                                                                Image Date:
                                                                                                                                                Image             8/18/18
                                                                                                                                                                  6/18/18
                                                               image 1
                     Case 1:20-cv-01225-PX Document 71-141Filed 12/20/21 Page 24 of 52
                                                               image
      Patient: 38155           Dodger
                               Dodger (Capuchin)
                                      (Capuchin)             Species:
                                                             Species: Primate
                                                                      Primate                               Breed: Unknown
                                                                                                                   Unknown
                                                                                                            Breed:

       Client: 15924
               15924           Candy,
                               Candy, Bob
                                      Bob (Tri-State
                                          (Tri-State             DOB: 5/24/98                          Gender: Male
                                                                                                               Male
                                                                                                       Gender:


                                                I




                       NEW
                       NEVv ANIMAL
                       ...     ..  INFORMATION
                                   INFORMATION           RECORD
                                       .... ------...----- .




                  ANIMAL
                  ANJ:MAL INFO
                          .ZNf'O
                  ANIMALS                                                     L3IRTHbAY>
                                                                              Brf<THDA  y;§_,_j_tf.._IL£5 ._q}d ____ .
                                                                    ___       SEX:(!? F
                                                                                      F     UNgNO'vN
                  COLOR/MARKINGS:    'WAs4
                                     1                                                                      _____ _
                  AVERAGE
                  AVERAGE TEMPERATURE/CLIMATE USED
                           TEMPERATURE/CLIMATE USED TO:
                                                    TO.
                  TYPE OF ENVIRONMENT/CAGE: __


                  TYPE
                  TYPE OF
                       OF FOOD,
                          FOOD, AMOUNT
                                AMOUNT GIVEN,
                                       GIVEN, FREQUENCY:
                                              FREQUENCY:                  VktflrY,      0vtc   &&L,
                                                                                    1


                 ANY  SPECIAL CARE
                 ANY SPECIAL  CARE NEEDED:          Se                        _ _ _ _ _ _ _ _ _ __

                 TEMPERMENT:
                 TEMPERMENT:            tnlj /J,
                                        t-:rX$S f1fi!. Mtsdr
                                                       il0£wr ira k.!J??bJ
                 ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: _ _ _ _ __



                 WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, If
                                                              IF SO
                                                                 .SO WHAT: _ _ _ __
                                                --- ------------------
                 ACQ 015 TION//-JQMAN INFO
                 METHOD:
                 METHOD: SALE
                         .SALE /
                               I ONATT                 /BIRTH /TRADE /LOAN /RESCUE DATE:               af3ah ,Z
                                           rLS 4iilalk
                                                                                                        I     )
                             NAME:
                             NAME: _    _,_-J.J..L.'='---lA-f-"""-'--------------------
                             ADDRESS: _ _ _,           __--,---;--;-.
                             CITY 1ST ATE/ZIP: tffli3(LSiw/,.
                             CITY/STATE/ZIP:        ts]1ac1.      )f'j)
                             PHONE
                             PHONE# # (OPTIONAL):
                                       (OPTIONAL):
                             USDA
                             USDA #
                                  # (IF
                                    (IF APPLICABLE):
                                        APPLICABLE):
                             DRIVERS LICENSE #:                                                    STATE: _ __
                             VEHICLE LICENSE #:
                                     LICENSE#:                                                     STATE: _ __
                 TRANSPORTATION INFORMATION:                                        _ _________,
                 METHOD:
                 METHOD: CARRIER
                         CARRIER /
                                 I INTERMEDIATE
                                              TE HANDLER
                                                 HANDLER / VATE VEHICLE
                                                                VEHICLE
                      NAME:______________
                      NAME:             C/w'5
                                      !'(!1c6       --------------------
                 DISPOSITION
                 DISPOSITION INfO/ewQ,
                                 INFO/(!.A{/./(.,            ....::::-:\
                 METHOD: SALE /DONAQT N/DEATH /TRADE / OA I/RELEASE
                         SALE
                      NAME:   I DONA rj:oN I DEATH I TRADE I              e
                                                                         RELEASE DATE:ll
                                                                                 bATE:bO Jia                bolt:l
                      NAME: /\l1i:GY•         CaM
                                    \O\OS' ('dRW1C LtL:J..
                             ADDRESS:
                                   \fl\O
                             ADDREss:                Utn '-w-<L
                     CITY/STATE/ZIP;
                      CITY I ST ATEIZIP: (I4At  CwJ,;;&;,:{t,fV't)
                                                       lift) CQtC4)
                                                              .2 16o ,;2
                     USDA#     (IF APPLICABLE):
                      USDA# (IF APPLICABLE): _ _----:c--:-;--;-c-x-------------
                     PHONE #     (OPTIONAL):
                               #(OPTIONAL):      3L 73    tj- yoè
                                                      IBV·JljOD
                TRANSPORTATION INFORMATION:
                METHOD: CARRIER /  I INTERMEDIATE HANDLER /       I PRIVATE VEHICLE
                     NAME:    ,j4M fruit
                      NAME:._MIAJJ         e'frU',Ot-'L'/__
                                       fCk CALL  O,'LY __________


W1OU NTAINVIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY    SVS                               Page
                                                            Page I
                                                                 1 of
                                                                   of 1                                                               MVS00198
                                                                      1                                       Print Date:
                                                                                                              Print Date:   4/30121
                                                                                                                            4/30/21
                                                                                                            Image Date:
                                                                                                            Image   Date:   7/9/18
                                                                                                                            7/9/18
                          Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 25 of 52
                                                               Patient History Report
         Client:
          Client: Candy,
                  Candy, Bob
                          Bob (Tri-State Zoo)
                              (Tri-State Zoo) (15924)
                                              (15924)                             Patient:
                                                                                  Patient:       Dream
                                                                                                 Dream (38043)
                                                                                                         (38043)
         Phone:
         Phone: (240)
                  (240) 727-8051
                        727-8051                                                 Species:
                                                                                 Species:        Equine
                                                                                                 Equine                         Breed: Miniature
                                                                                                                                Breed: Miniature Horse
                                                                                                                                                 Horse
       Address:
       Address: 10105
                  10105 Cottage
                         Cottage Inn
                                 Inn Ln
                                      Ln NE
                                         NE                                           Age:
                                                                                      Age:       loYrs.
                                                                                                 10 Yrs. 11
                                                                                                          11 Mos.
                                                                                                             Mos.                 Sex: Female
                                                                                                                                  Sex: Female
                  Cumberland,
                  Cumberland, MD
                               MD 21502
                                    21502                                           Color:
                                                                                    Color:       White/Brown
                                                                                                 White/Brown


           Date
           Date Type
                Type              Staff
                                  Staff            History
                                                   History


     10/3/2019
     10/3/2019        B
                      B           GD
                                  GO               1.00
                                                   1.00 dose
                                                        dose of
                                                             of LAM
                                                                LAM Potomac
                                                                      Potomac Horse
                                                                               Horse Fever  (LAMPHF) by
                                                                                      Fever (LAMPHF)  by AMM
                                                                                                         AMM
     10/3/2019
     10/3/2019        B
                      B           GD
                                  GO               1.00
                                                   1.00 dose
                                                        dose of
                                                             of LAM
                                                                LAM Fluvac
                                                                      Fluvac Innovator EHV 4/1
                                                                             Innovator EHV  4/1 (LAMFLUV)
                                                                                                (LAMFLUV) by
                                                                                                          by AMM
                                                                                                             AMM
     10/3/2019
     10/3/2019        B
                      B           GD
                                  GO               1.00
                                                   1.00 Charges
                                                        Charges Final
                                                                 Final (CFIFINAL)
                                                                       (CHFINAL) by
                                                                                  by AMM
                                                                                     AMM



     6/24/2019
     6/24/2019 C      c           GD
                                  GO               Equine
                                                   Equine Physical
                                                             Physical ExamExam
                                                   HISTORY:Presented
                                                   HISTORY: Presented for       for spring
                                                                                     spring boosters,
                                                                                              boosters, float
                                                                                                            float
                                                   TEMPERATURE:99.6
                                                   TEMPERATURE:99.6
                                                   GENERAL:BCS
                                                   GENERAL:BCS 5/9;       5/9; Patient
                                                                               Patient is    BAR, nervous,
                                                                                          is BAR,    nervous, not  not well    halter trainied
                                                                                                                        well halter     trainied
                                                   CARDIOVASCULAR:No
                                                   CARDIOVASCULAR:No murmurs         murmurs or   or arrythmias
                                                                                                      arrythmias are  are noted.
                                                                                                                            noted. HR:HR: 32 32
                                                   EYES:The
                                                   EYES:The eyes  eyes are
                                                                         are bright
                                                                              bright and     clear. The
                                                                                       and clear.            cornea, sclera,
                                                                                                       The cornea,       sclera, conjunctiva,
                                                                                                                                    conjunctiva, and and eyelids
                                                                                                                                                           eyelids
                                                   are
                                                   are intact
                                                         intact and
                                                                and healthy.      The lens
                                                                       healthy. The     lens is   transparent and
                                                                                               is transparent       and thethe iris
                                                                                                                                iris has
                                                                                                                                     has a anormal
                                                                                                                                              normal color
                                                                                                                                                        color and
                                                                                                                                                               and
                                                   texture.   The    pupils  are   normally    responsive       to  light.  Vision
                                                   texture. The pupils are normally responsive to light. Vision appears normal.        appears     normal.
                                                   RESPlRATORY:Bronchovesicular sounds
                                                   RESPIRATORY:Bronchovesicular                   sounds are       normal in
                                                                                                              are normal      in all
                                                                                                                                  all lung
                                                                                                                                      lung fields.
                                                                                                                                             fields. No
                                                                                                                                                     No crackles
                                                                                                                                                          crackles
                                                  or
                                                   or wheezes
                                                      wheezes are  are noted.
                                                                         noted. RR:
                                                                                  RR: 1414
                                                   GASTROINTESTINAL:No                 gastrointestinal abnormalites
                                                   GASTROINTESTINAL: No gastrointestinal                     abnormalites are    are noted.
                                                                                                                                       noted. GutGut sounds
                                                                                                                                                      sounds are are
                                                  within
                                                  within normal
                                                            normal limits
                                                                      limits at
                                                                             at 1-2
                                                                                 1-2 contractions
                                                                                      contractions per        minute. Bowel
                                                                                                        per minute.       Bowel movements
                                                                                                                                    movements are   are ofof
                                                  appropriate
                                                   appropriate consistency
                                                                   consistency and  and regularity.
                                                                                          regularity. A A rectal     exam was
                                                                                                           rectal exam       was not not indicated
                                                                                                                                          indicated at at this
                                                                                                                                                          this time.
                                                                                                                                                               time.
                                                   MOUTH/TEElftSedated
                                                   MOUTH/TEETH: Sedated with          with 75mg      xylazine- adequate
                                                                                            75mg xylazine-         adequate sedation.
                                                                                                                                  sedation. Reduced
                                                                                                                                                Reduced
                                                  buccal/lingual      points.
                                                  buccal/lingual points.
                                                  MUCOUS
                                                  MUCOUS MEMBRANES:Mucous
                                                                 MEMBRANES:Mucous membranes      membranes are      are pink
                                                                                                                         pink and
                                                                                                                                and moist
                                                                                                                                       moist with
                                                                                                                                               with aacapillary
                                                                                                                                                        capillary
                                                  refill
                                                  refill time
                                                          time of
                                                                of less         two seconds.
                                                                          than two
                                                                   less than          seconds.
                                                  LYMPH
                                                  LYMPH NODES:Lymph
                                                              NODES: Lymph nodes   nodes are are of
                                                                                                  of normal
                                                                                                      normal sizesize and
                                                                                                                        and character
                                                                                                                              character
                                                  MUSCULOSKELETAL:The muscles
                                                  MUSCULOSKELETAL:The                   muscles havehave normal
                                                                                                             normal tonetone and
                                                                                                                               and strength
                                                                                                                                      strength forfor the
                                                                                                                                                      the
                                                  patient's
                                                  patient's age
                                                              age and
                                                                    and breed.
                                                                           breed. The      patients gait
                                                                                     The patient's      gait is
                                                                                                              is normal
                                                                                                                 normal withwith no no signs
                                                                                                                                        signs ofof lameness
                                                                                                                                                   lameness or   or
                                                  joint
                                                  joint pain.
                                                          pain.
                                                  DIGITAL
                                                  DIGITAL PULSES:Digital
                                                                PULSES: Digital pulsespulses are
                                                                                               are within
                                                                                                    within normal
                                                                                                              normal limits
                                                                                                                         limits inin all
                                                                                                                                     all four
                                                                                                                                          four feet.
                                                                                                                                               feet.
                                                  NERVOUS
                                                  NERVOUS SYSTEM:The
                                                                  SYSTEM: The patient patient presented
                                                                                                presented bright,         alert, and
                                                                                                                bright, alert,    and responsive
                                                                                                                                         responsive withwith no
                                                                                                                                                              no
                                                  obvious
                                                  obvious abnormalities.
                                                              abnormalities. A    A full
                                                                                     full neurologic
                                                                                           neurologic examexam was was notnot performed.
                                                                                                                               performed.
                                                  SKIN/HAIR
                                                  SKIN/HAIR COAT: COAT:The  The patient's     skin is
                                                                                  patient's skin     is healthy
                                                                                                        healthy with
                                                                                                                   with no no redness
                                                                                                                               redness or   or evidence
                                                                                                                                               evidence of  of
                                                  infection
                                                  infection or    parasites.
                                                              or parasites.
                                                  UROGENITAL:Normal
                                                  UROGENITAL: Normal genitalia    genitalia and
                                                                                              and reproductive
                                                                                                    reproductive organsorgans for  for the
                                                                                                                                       the age,
                                                                                                                                             age, sex,
                                                                                                                                                   sex, and
                                                                                                                                                          and
                                                  reproductive
                                                  reproductive status
                                                                    status ofof the
                                                                                the patient
                                                                                      patient are    present No
                                                                                                are present.      No discharge
                                                                                                                       discharge was  was noted.
                                                                                                                                             noted.

                                                 ASSESSMENT:Apparently
                                                 ASSESSMENT:Apparently healthy        on physical
                                                                             healthy on             exam. Flu/Rhino
                                                                                           physical exam. Flu/Rhino left
                                                                                                                     left neck,
                                                                                                                          neck, PHF/Rv
                                                                                                                                PHF/Rv
                                                 right
                                                 right caudal
                                                       caudal neck, 4-way right
                                                              neck, 4-way right cranial
                                                                                cranial neck.
                                                                                         neck.
                                                 PLAN:Coggins
                                                 PLAN:Coggins pending,
                                                                 pending, booster
                                                                          booster in  fall, recommend
                                                                                   in fall, recommend further
                                                                                                        further halter
                                                                                                                halter training
                                                                                                                       training
                                                 PROCEDURES
                                                 PROCEDURES PERFORMED:
                                                                  PERFORMED:
                                                 ADDITIONAL
                                                 ADDITIONAL COMMENTS:
                                                                COMMENTS:



    6/24/2019
    6/24/2019 B
              B                  GD
                                 GO               1.00
                                                  1.00 LA
                                                       LASS Oral
                                                            Oral Exam
                                                                 Exam and
                                                                      and Float
                                                                          Float (EQU4)  by AMM
                                                                                 (EQU4) by AMM
    6/24/2019
    6/24/2019 B
              B                  GD
                                 GO               1.00
                                                  1.00 LAS
                                                       LAS Coggins
                                                            Coggins (LACOGG)
                                                                    (LACOGG) by by AMM
                                                                                   AMM

B:Bilting,
B:Bil!ing, c:Med
           C:Med note, ce:call
                          CB:Call back, cK:check•In.
                                         CK:Check-ln, cM:communicauons.
                                                       CM:CommunicaUons, D:Diagnosis.
                                                                           D:Diagnosis, DI-I:Declined
                                                                                        DH:Declined tohistoiy,
                                                                                                      to history, E:Examination, ES:Estimates,
tDeparting
!:Departing insti,
             instr, L:Lab
                    l:Lab result,
                           result, M:Image
                                   M:fmage cases,
                                           cases, P;Prescription.
                                                   P:Prescription, PkpvLAccepted.
                                                                   PAPVL Accepted, PB:prnblems.
                                                                                   PB:problems, PP:PVL
                                                                                                 PP:PVL Performed,
                                                                                                           Performed, PR:PvL
                                                                                                                       PR:PVL Recommended,
                                                                                                                               Recommended,
R:correspondence,
R:Correspondence, T:tmages,
                       T:lmages, Tc:Tentallve    medl note, V:Vdal
                                    TC:Tentative medi       V:Vltal signs


 MOUNTAINVIEW
 MOUNTAINVIEW VETERINARY
              VETERINARY SVS
                         SVS                                            Page
                                                                        Page 1
                                                                             1 of
                                                                               of 7
                                                                                  7                               Date: 4/30/202112:24
                                                                                                                  Date: 4/30/2021 12:24 PM
                                                                                                                                        PM


                                                                                                                                                                  MVS00199
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 26 of 52

                                                              Patient
                                                              Patient History Report
                                                                      History Report
         Client:
          Client: Candy,
                  Candy, Bob
                          Bob (Tri-State Zoo)
                              (Tri-State Zoo) (15924)
                                              (15924)                            Patient:
                                                                                 Patient:      Dream   (38043)
                                                                                               Dream (38043)
         Phone:
         Phone: (240)
                  (240) 727-8051
                        727-8051                                                Species:
                                                                                Species:       Equine
                                                                                               Equine                         Breed: Miniature
                                                                                                                              Breed: Miniature Horse
                                                                                                                                               Horse
       Address:
       Address: 10105
                  10105 Cottage
                         Cottage Inn
                                 Inn Ln
                                      Ln NE
                                         NE                                         Age:
                                                                                     Age:      lOYrs.
                                                                                               10 Yrs. 11 Mos.
                                                                                                       11 Mos.                  Sex: Female
                                                                                                                                Sex: Female
                  Cumberland,
                  Cumberland, MD
                               MD 21502
                                    21502                                          Color:
                                                                                   Color:      WhitelBrown
                                                                                               White/Brown


           Date
           Date Type
                Type              Staff
                                  Staff           History
                                                  History


     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD              1.00
                                                  1.00 dose
                                                       dose of
                                                            of LAM
                                                               LAM 4 4 Way  (Encevac) (LAM4WAY)
                                                                       Way (Encevac)   (LAM4WAY) by by AMM
                                                                                                       AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD              1.00
                                                  1.00 dose
                                                       dose of
                                                            of LAM
                                                               LAM Potomac
                                                                     Potomac Horse
                                                                               Horse Fever  wl Rabies
                                                                                      Fever w/ Rabies (LAPHFR)
                                                                                                      (LAPHFR) by
                                                                                                                by AMM
                                                                                                                   AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD              1.00
                                                  1.00 dose
                                                       dose of
                                                            of LAM
                                                               LAM Fluvac
                                                                     Fluvac Innovator
                                                                             Innovator EHV
                                                                                       EHV 411  (LAMFLUV) by
                                                                                            4/1 (LAMFLUV)  by AMM
                                                                                                              AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD              1.00
                                                  1.00 Charges
                                                       Charges Final
                                                                Final (CI-IFINAL)
                                                                      (CHFINAL) byby AMM
                                                                                     AMM


     12/6/2018
     12/6/2018 C     c           GD
                                 GD               Equine      Physical Exam
                                                   Equine Physical        Exam
                                                  H ISTORY: Presented
                                                   HISTORY:       Presented for  for boosters.
                                                                                      boosters.
                                                  TEMPERATURE:99.8
                                                  TEMPERATURE:99.8
                                                  GENERAL:OCS
                                                  GENERAL:BCS 5/9;        5/9; Patient
                                                                                 Patient is is BAR.
                                                                                               BAR.
                                                  CARDIOVASCULAR:No
                                                  CARDIOVASCULAR: No murmurs          murmurs or    or arrythmias
                                                                                                        arrythmias are       noted. HR:
                                                                                                                       are noted.       HR: 32 32
                                                  EYES:The
                                                  EYES: The eyes  eyes are
                                                                         are bright
                                                                                bright and
                                                                                         and clear.     The cornea,
                                                                                               clear. The                 sclera, conjunctiva,
                                                                                                             cornea, sclera,         conjunctiva, and   and eyelids
                                                                                                                                                              eyelids
                                                  are
                                                  are intact
                                                         intact and
                                                                 and healthy.
                                                                       healthy. The The lens
                                                                                          lens isis transparent
                                                                                                    transparent and  and thethe iris   has a
                                                                                                                                 iris has    anormal
                                                                                                                                                normal color
                                                                                                                                                          color and
                                                                                                                                                                  and
                                                  texture.
                                                  texture. The  The pupils     are normally
                                                                      pupils are     normally responsive
                                                                                                 responsive to       light. Vision
                                                                                                                 to light.               appears normal.
                                                                                                                              Vision appears         normal.
                                                  RESPIRATORY:Brcnchovesicular
                                                  RESPIRATORY:Bronchovesicular sounds               sounds areare normal
                                                                                                                    normal in  in all
                                                                                                                                   all lung    fields. No
                                                                                                                                        lung fields.    No crackles
                                                                                                                                                             crackles
                                                  or
                                                  or wheezes
                                                     wheezes are    are noted.
                                                                         noted. RR: RR: 2020
                                                  GASTROlNTESTlNAL:No
                                                  GASTROINTESTINAL:                 No gastrointestinal
                                                                                         gastrointestinal abnormalites
                                                                                                              abnormalites are     are noted.
                                                                                                                                         noted. GutGut sounds
                                                                                                                                                         sounds areare
                                                 within
                                                 within normal limits limits at
                                                                              at 1-2
                                                                                  1-2 contractions per   per minute. Bowel movements are of
                                                  appropriate consistency
                                                  appropriate       consistency and  and regularity.
                                                                                            regularity. A A rectal    exam was
                                                                                                            rectal exam        was notnot indicated
                                                                                                                                            indicated at at this
                                                                                                                                                            this time.
                                                                                                                                                                  time.
                                                  MOUTH/TEETH:Teeth
                                                 MOUTH/TEETH:             Teeth appear
                                                                                    appear appropriately         aligned with
                                                                                               appropriately aligned         with little
                                                                                                                                    little to
                                                                                                                                           to no
                                                                                                                                               no overgrowth
                                                                                                                                                   overgrowth of   of
                                                 the
                                                  the incisors.
                                                        incisors. Premolars
                                                                     Premolars and  and molars
                                                                                          molars are are wearing      evenly and
                                                                                                          wearing evenly        and excessive
                                                                                                                                       excessive hooks/ramps
                                                                                                                                                      hooks/ramps
                                                 were
                                                 were not   not noted
                                                                noted at    this time.
                                                                        at this   time. The
                                                                                          The patient
                                                                                                patient is   not dropping
                                                                                                          is not   dropping feed.feed. A     full sedated
                                                                                                                                          A full  sedated oraloral
                                                 exam
                                                 exam was   was not    performed.
                                                                  not performed.
                                                 MUCOUS
                                                 MUCOUS MEMBRANES:MEMBRANES:Mucous     Mucous membranes
                                                                                                   membranes are    are pink
                                                                                                                          pink andand moist
                                                                                                                                         moist with
                                                                                                                                                  with aacapillary
                                                                                                                                                          capillary
                                                 refill
                                                 refill time    of less
                                                          time of         than two
                                                                    less than          seconds.
                                                                                 two seconds.
                                                 LYMPH
                                                 LYMPH NODES:Lymph
                                                               NODES: Lymph nodes    nodes are are of
                                                                                                    of normal
                                                                                                       normal sizesize and
                                                                                                                        and character
                                                                                                                               character
                                                 MUSCULOSKELETAL:The
                                                 MUSCULOSKELETAL:The muscles              muscles havehave normal
                                                                                                             normal tone tone and
                                                                                                                                and strength
                                                                                                                                       strength for for the
                                                                                                                                                         the
                                                 patient's
                                                 patient's age age and
                                                                     and breed.
                                                                           breed. The The patient's      gait is
                                                                                              patient's gait  is normal
                                                                                                                  normal withwith no no signs
                                                                                                                                          signs ofof lameness
                                                                                                                                                     lameness or   or
                                                 joint
                                                 joint pain.
                                                          pain.
                                                 DIGITAL
                                                 DIGITAL PULSES:oigital
                                                                PULSES: Digital pulses pulses areare within   normal limits
                                                                                                      within normal       limits inin all
                                                                                                                                      all four
                                                                                                                                           four feet.
                                                                                                                                                  feet.
                                                 NERVOUS
                                                 NERVOUS SYSTEM:TheSYSTEM: The patient  patient presented       bright, alert,
                                                                                                  presented bright,        alert, and
                                                                                                                                   and responsive
                                                                                                                                          responsive with with nono
                                                 obvious
                                                 obvious abnormalities.
                                                              abnormalities. A      A full
                                                                                       full neurologic     exam was
                                                                                             neurologic exam        was notnot performed.
                                                                                                                                performed.
                                                 SKIN/HAIR
                                                 SKIN/HAIR COAT:   COAT:The  The patient's
                                                                                    patient's skin
                                                                                                skin is
                                                                                                      is healthy
                                                                                                         healthy with
                                                                                                                    with no no redness
                                                                                                                                redness or    or evidence
                                                                                                                                                 evidence of   of
                                                 infection
                                                 infection or  or parasites.
                                                                   parasites.
                                                 UROGENITAL:Normal
                                                 UROGENITAL:Normal genitalia        genitalia and
                                                                                                and reproductive        organs for
                                                                                                      reproductive organs           for the
                                                                                                                                         the age,
                                                                                                                                               age, sex,
                                                                                                                                                     sex, and
                                                                                                                                                            and
                                                 reproductive
                                                 reproductive status status ofof the   patient are
                                                                                 the patient     are present.
                                                                                                       present. No No discharge
                                                                                                                        discharge was   was noted.
                                                                                                                                               noted.

                                                ASSESSMENT:Apparently
                                                ASSESSMENT: Apparently healthy
                                                                          healthy on physical
                                                                                       physical exam- body condition much
                                                improved
                                                improved from
                                                         from summer.
                                                              summer. Flu/rhino
                                                                       Flu/rhino left neck, WNV
                                                                                 left neck, WNV right   neck.
                                                                                                  right neck.
                                                PLAN:Booster
                                                PLAN:Booster May/June
                                                              May/June
                                                PROCEDURES
                                                PROCEDURES PERFORMED:
                                                               PERFORMED:
                                                ADDITIONAL
                                                ADDITIONAL COMMENTS:
                                                             COMMENTS:


B:eitling,
B:Bi!ling, c:Med
           C:Med note, CB:call
                          CB:Call back, CK:Check-In,
                                        CK:Check-fn, CM:communtcations,
                                                      CM:Communications, D:Diagnosis,
                                                                           O:Diagnosis, DH:Dedinedtohistory,
                                                                                        DH:Dec!ined to history, E:Examination, ES:Estimates,
[:Departing
!:Departing jnstr,
             instr, 1:tabresult,
                    l:Lab result, M:Iniagecases,
                                  M:lmage cases, P:Prescrfptfon,
                                                  P:Prescription, PAYVlAccepted,
                                                                  PA:PVL Accepted, PB:problems,
                                                                                   PB:problems, PP:PvLperfouned,
                                                                                                PP:PVL Performed, PR:PVL Recommended,
R:Correapondence,
R:Correspondence, T:Images,
                       T:lmages, TC:Tentative   medl note, v:vtal
                                   TC:Tenlative medi       V:Vita! signs

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                                                                                 7                              Date: 4/30/2021 12:24
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                                                                                                                                      PM


                                                                                                                                                                      MVS00200
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                                                             Patient History Report
         Client:
         Client: Candy,
                 Candy, Bob
                         Bob (Tri-State Zoo)
                             (Tri-State Zoo) (15924)
                                             (15924)                            Patient:
                                                                                Patient:      Dream (38043)
                                                                                              Dream   (38043)
        Phone:
        Phone: (240)
                 (240) 727-8051
                       727-8051                                                Species:
                                                                               Species:       Equine
                                                                                              Equine                        Breed: Miniature
                                                                                                                            Breed: Miniature Horse
                                                                                                                                             Horse
      Address:
      Address: 10105
                 10105 Cottage
                        Cottage Inn  Ln NE
                                Inn Ln  NE                                          Age:
                                                                                    Age:      10 Yrs.
                                                                                              10 Yrs. 11
                                                                                                      11 Mos.
                                                                                                         Mos.                 Sex: Female
                                                                                                                              Sex: Female
                 Cumberland,
                 Cumberland, MD
                              MD 21502
                                   21502                                          Color:
                                                                                  Color:      White/Brown
                                                                                              White/Brown


           Date
           Date Type
                Type             Staff
                                 Staff           History
                                                 History




    12/6/2018
    12/6/2018        B
                     B           GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM Fluvac
                                                                    Fluvac Innovator
                                                                           Innovator EHV
                                                                                      EHV4/1   (LAMFLUV) by
                                                                                           4/1 (LAMFLUV)    by BJH
                                                                                                               BJH
    12/6/2018
    12/6/2018        B
                     B           GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM West
                                                                    West Nile
                                                                          Nile Innovator
                                                                               Innovator (LAWN
                                                                                         (LAWNI)    by BJH
                                                                                                 I) by BJH
    12/6/2018
    12/6/2018        B
                     B           GD
                                 GD              1.00 Charges Final
                                                 1.00 Charges  Final (CHFINAL}
                                                                     (CHFINAL) byby BJH
                                                                                    BJH
     7/9/2018
     7/9/2018        1
                     T           ss
                                 85              Image:  previous vet
                                                 Image: previous  vet records
                                                                      records
    6/14/2018
    6/14/2018        B
                     B           GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM 4 4Way
                                                                      Way (Encevac)
                                                                           (Encevac) (LAM4WAY)
                                                                                      (LAM4WAY) by   by CO
                                                                                                        CO
    6/14/2018
    6/14/2018        B
                     B           GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM Fluvac
                                                                    Fluvac Innovator
                                                                           Innovator EHV
                                                                                      EHV 4/1
                                                                                           4/1 (LAMFLUV)
                                                                                               (LAMFLUV) by by CO
                                                                                                               CO
    6/14/2018
    6/14/2018        B
                     B           GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM Potomac
                                                                    Potomac Horse
                                                                              Horse Fever
                                                                                     Fever (LAMPHF)
                                                                                           (LAMPHF) by  by CO
                                                                                                           CO
    6/14/2018
    6/14/2018        B
                     B           GD
                                 GD              1.00 Charges Final
                                                 1.00 Charges  Final (CHFINAL)
                                                                     (CHFINAL) byby CO
                                                                                    CO



    5/24/2018
    5/24/2018 C     c            GD
                                 GD              Equine   Physical Exam
                                                 Equine Physical       Exam
                                                 HISTORY:     Presented for
                                                 HISTORY: Presented          for oral
                                                                                 oral exam,
                                                                                        exam, float,
                                                                                                 float, vaccines.
                                                                                                        vaccines.
                                                 TEMPERATURE:
                                                 TEMPERATURE:100.1      100.1
                                                 GENERAL:BCS 3/9;
                                                 GENERAL:BCS           3/9; Patient
                                                                            Patient is is QAR.
                                                                                          QAR.
                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR:             No murmurs
                                                                                  murmurs or   or arrythmias
                                                                                                   arrythmias are are noted.
                                                                                                                       noted. HR:FIR: 32
                                                                                                                                       32
                                                 EYES:The
                                                 EYES: The eyeseyes are
                                                                      are bright
                                                                           bright and
                                                                                    and clear.
                                                                                          clear. The
                                                                                                   The cornea,
                                                                                                         cornea, sclera,
                                                                                                                    sclera, conjunctiva,
                                                                                                                              conjunctiva, and and eyelids
                                                                                                                                                     eyelids
                                                 are intact and healthy. The lens is transparent and the iris has a                   anormal color and
                                                 texture. The
                                                 texture.   The pupils
                                                                  pupils are
                                                                           are normally
                                                                                normally responsive
                                                                                             responsive to  to light.
                                                                                                               light. Vision
                                                                                                                        Vision appears
                                                                                                                                  appears normal.
                                                                                                                                             normal.
                                                 RESPIRATORY:Bronchovesicular
                                                 RESPIRATORY:Bronchovesicular sounds           sounds are are normal
                                                                                                               normal in in all
                                                                                                                            all lung
                                                                                                                                 lung fields.
                                                                                                                                       fields. No
                                                                                                                                                No crackles
                                                                                                                                                    crackles
                                                or
                                                 or wheezes
                                                    wheezes are are noted.
                                                                      noted. RR:
                                                                               RR: 4444
                                                GASTROINTESTINAL:No                 gastrointestinal abnormalites
                                                GASTROINTESTINAL: No gastrointestinal                    abnormalites are   are noted.
                                                                                                                                  noted. Gut
                                                                                                                                           Gut sounds
                                                                                                                                                sounds are are
                                                within
                                                within normal      limits at
                                                         normal limits    at 1-2
                                                                              1-2 contractions
                                                                                   contractions per  per minute.
                                                                                                          minute. Bowel
                                                                                                                     Bowel movements
                                                                                                                              movements are    are of
                                                                                                                                                    of
                                                appropriate     consistency and
                                                 appropriate consistency         and regularity.
                                                                                       regularity. A    rectal exam
                                                                                                      A rectal  exam was       not indicated
                                                                                                                         was not     indicated atat this
                                                                                                                                                    this time.
                                                                                                                                                         time.
                                                MOlJTH/TEETH:Sedated
                                                MOUTH/TEETH:Sedated wilh           with 150
                                                                                          150 mg
                                                                                               mg xylazine,
                                                                                                     xylazine, 2 2mgmg detomidine
                                                                                                                         detomidine for  for oral
                                                                                                                                             oral exam
                                                                                                                                                   exam andand
                                                float, Large
                                                float.  Large buccal/lingual
                                                                buccal/lingual points
                                                                                   points reduced
                                                                                             reduced bilaterally.
                                                                                                        bilaterally. Otherwise
                                                                                                                       Otherwise good good dentition.
                                                                                                                                             dentition.
                                                MUCOUS        MEMBRANES:Mucous membranes
                                                MUCOUS MEMBRANES:Mucous                        membranes are   are pink
                                                                                                                     pink and
                                                                                                                           and moist
                                                                                                                                  moist with
                                                                                                                                          with aacapillary
                                                                                                                                                  capillary
                                                refill time of
                                                refill time  of less
                                                                less than
                                                                       than two
                                                                             two seconds.
                                                                                   seconds.
                                                LYMPH      NODES:Lymph
                                                LYMPH NODES:                    nodes are
                                                                       Lymph nodes        are of
                                                                                               of normal
                                                                                                   normal size
                                                                                                             size and
                                                                                                                   and character
                                                                                                                         character
                                                MUSCULOSKELETAL:The
                                                MUSCULOSKELETAL:The muscles          muscles have have normal
                                                                                                         normal tone
                                                                                                                   tone and
                                                                                                                          and strength
                                                                                                                                 strength for
                                                                                                                                            for the
                                                                                                                                                the
                                                patient's age
                                                patient's   age and
                                                                 and breed.
                                                                        breed. TheThe patient's
                                                                                         patient's gait
                                                                                                     gait is
                                                                                                          is normal
                                                                                                             normal with
                                                                                                                       with nono signs
                                                                                                                                   signs of
                                                                                                                                          of lameness
                                                                                                                                             lameness or   or
                                                joint
                                                joint pain.
                                                       pain.
                                                DIGITAL PULSES:
                                                DIGITAL      PULSES:Digital       pulses are
                                                                         Digital pulses      are within   normal limits
                                                                                                 within normal      limits in
                                                                                                                            in all
                                                                                                                                all four
                                                                                                                                    four feet.
                                                                                                                                          feet
                                                NERVOUS        SYSTEM:The patient
                                                NERVOUS SYSTEM:The                 patient presented
                                                                                              presented bright,
                                                                                                            bright, alert,
                                                                                                                     alert, and
                                                                                                                            and responsive
                                                                                                                                   responsive with      no
                                                                                                                                                  with no
                                                obvious    abnormalities. A
                                                obvious abnormalities.            full neurologic
                                                                               A full   neurologic examexam was      not performed.
                                                                                                               was not    performed.
                                                SKIN/HAIR
                                                SKIN/HAIR COAT: COAT:The       patient's skin
                                                                         The patient's      skin is
                                                                                                  is healthy
                                                                                                     healthy with
                                                                                                               with nono redness
                                                                                                                          redness or  or evidence
                                                                                                                                          evidence of of
                                                infection
                                                infection oror parasites.
                                                               parasites.
                                                UROGENITAL:Normal
                                                UROGENITAL:Normal genitalia    genitalia and
                                                                                           and reproductive
                                                                                                 reproductive organs
                                                                                                                   organs forfor the
                                                                                                                                  the age,
                                                                                                                                       age, sex,
                                                                                                                                             sex, and
                                                                                                                                                   and
                                                reproductive     status of
                                                reproductive status       of the
                                                                             the patient
                                                                                  patient areare present.
                                                                                                  present. No No discharge
                                                                                                                   discharge was was noted.
                                                                                                                                       noted.

                                                ASSESSMENT:Thin-       discussed moving
                                                ASSESSMENT:Thin- discussed        moving toto pasture.
                                                                                              pasture. Bloodwork
                                                                                                       Bloodwork reveals
                                                                                                                   reveals no
                                                                                                                            no obvious
                                                                                                                               obvious
                                                evidence of
                                                evidence  of abnormalities-
                                                             abnormalities- suspect
                                                                            suspect poor
                                                                                      poor body
                                                                                           body condition
                                                                                                 condition related
                                                                                                           related to
                                                                                                                    to herd
                                                                                                                       herd
                                                dynamics/malnutrition.  4-way, flu/rhino
                                                dynamics/malnutrition. 4-way,  flu/rhino left
                                                                                         left neck,
                                                                                              neck, PHF/RV
                                                                                                    PHF/RV right
                                                                                                             right neck.
                                                                                                                   neck.

B:Billing, c;Med
           C:Med note, ce:cailback,
                        CB:Call back, CKCheck-in,
                                       CK:Check-in, cM:communlcations,                                       E:Exarnlnation. ES:Estimates,
                                                     CM:Communfcations, D:Diagnosis, DH:Declined to history, E:Examlnation,  ES:Estimates.
I:Deparvng
!:Departing instr, L:Lab result, M:Imagecases,
                                 M:lmage cases, P:Prescflption,  PA:PvLAccepted,
                                                 P:Prescription, PA:PVL                        PP:PvL Performed, PR:PVL
                                                                        Accepted, PB:prob!ems, PP:PVL              PR:PvL Recommended,
                                                                                                                            Recommended.
R:correspondence,
R:Correspondence, T:lmnages,
                      T:lmages, TC:Teritalive
                                  TC:Tentative medi       V:vitat signs
                                               medl note, V:Vilal

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                                                                                7                             Date: 4/30/2021
                                                                                                              Date: 4/30/2021 12:24
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                                                                                                                                                            MVS00201
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                                                             Patient History Report
                            (Tri-State Zoo) (15924)
        Client: Candy, Bob (Tri-State                                           Patient:
                                                                                Patient:      Dream (38043)
                                                                                              Dream   (38043)
        Phone: (240)
        Phone:  (240) 727-8051
                      727-8051                                                 Species:       Equine                               Breed: Miniature
                                                                                                                                   Breed: Miniature Horse
                                                                                                                                                    Horse
      Address: 10105
      Address:  10105 Cottage
                       Cottage Inn
                               Inn Ln
                                    Ln NE
                                       NE                                           Age:
                                                                                    Age:      lOYrs.
                                                                                              10      11 Mos.
                                                                                                 Yrs. 11 Mos.                        Sex: Female
                                                                                                                                     Sex: Female
                Cumberland,  MD   21502
                Cumberland, MD 21502                                              Color:
                                                                                  Color:      White/Brown
                                                                                              White/Brown


           Date Type
           Date Type             Staff
                                 Staff           History
                                                 History


                                                 PLAN:Coggins, fecal
                                                 PLAN:Coggins, fecal pending.
                                                                     pending. Move
                                                                              Move to
                                                                                   to grass.
                                                                                      grass. Booster
                                                                                             Booster 3-4
                                                                                                     3-4 weeks.
                                                                                                         weeks.
                                                 PROCEDURES PERFORMED:
                                                 PROCEDURES     PERFORMED:
                                                 ADDITIONAL  COMMENTS:
                                                 ADDITIONAL COMMENTS:


    512412018
    5/24/2018       B
                    B            GD              1.00 LAS
                                                 1.00 LAS Farm
                                                           Farm Call
                                                                  Call (LAFARMC)
                                                                       (LAFARMC) by  by CO
                                                                                        CO
    5/24/2018
    5/24/2018       B
                    B            GD              1.00 LAS
                                                 1.00 LAS Oral
                                                           Oral Exam
                                                                Exam andand Float
                                                                            Float (EQU4)
                                                                                  (EQU4) byby CO
                                                                                              CO
    5/24/2018
    5/24/2018       B
                    B            GD                           LAM
                                                 1.00 dose of LA M4  4Way (Encevac) (LAM4WAY) by CO
    5/24/2018
    5/24/2018       B
                    B            GD                           LAM
                                                 1.00 dose of LA M Potomac Horse Fever w/   W/ Rabies (LAPHFR) by CO
    5/24/2018
    5/24/2018       B
                    B            GD              1.00 dose of LAM Fluvac Innovator EHV DIV 4/1
                                                                                            411 (LAMFLUV) by CO
    5/24/2018
    5/24/2018       B
                    B            GD              1.00 Charges
                                                 1.00 Charges Final
                                                               Final (CHFINAL)
                                                                     (CI-IFINAL) by
                                                                                  by CO
                                                                                     CO
    5/19/2018
    5/19/2018       L
                    L                            Hematology results from IDEXX Reference
                                                 Laboratory Requisition ID:              119430         Posted       Final
                                                 Test          Result                                               Reference Range
                                                 FBNGEM
                                                 FBNGEN        100 mg/dL                                            100 - 400      -




                                                  Ascn: 4601285218

                                                  For small animals the Quantitative Fibrinogen procedure is
                                                 recommended
                                                              308)
                                                   (unit code 308). The Quantitative Procedure is more accurate
                                                                                .




                                                 for low
                                                  levels of Fibrinogen.
                                                  RESULTS MAY BE AFFECTED BY THE PRESENCE OF HEMOLYSIS.


    5/19/2018 L
    5/19/2018 L                                            re suits from IDEXX Reference Laboratory Requisition
                                                Chemistry results
                                                ID:   119430       Posted        Final
                                                Test            Result                  Reference Range
                                                ALE
                                                ALB             2.4 g/dL L  L           3.0 - 3.9                                  -




                                                ALKP            90 U/L                 76 - 262                            -




                                                ANION GAP          nunol/L
                                                                11 mmol/L              88 - 18                         -




                                                AST             215 U/L                 194 - 431                                  -




                                                BICARE
                                                BICARB             rninol/L
                                                                27 mmol/L               21 - 31                            -




                                                BUN/UREA        25 mg/dL                11 - 25                            -




                                                Ca              11.0 mg/dL              10.2 - 12.8                                    -




                                                Chloride            mniol/L
                                                                101 mmol/L             96 - 106                            -




                                                CHOL            90 mg/dL                49 - 150                           -




                                                CREA            0.6 mg/dL L  L         0.8 - 1.8                               -




                                                DBIL            0.2 mg/dL              0.2 - 0.6
                                                                10 U/L
                                                                   U/L
                                                                                                                               -




                                                GOT
                                                GGT             10                     99-37
                                                                                          - 37
                                                CLU
                                                GLU             107 mg/dL H  1-!       49 - 102
                                                                                       o.i - 2.8
                                                                                                                           -




                                                IBIL            0.7 mg/dL              0.1                                     -




                                                PHOS            2.2 mg/dL              2.0 - 4.8                               -




                                                Potassium       5.1 mmol/L             2.5 - 5.2                               -




                                                TElL
                                                TBIL            0.9 mg/dL              0.4 - 2.8                               -




                                                TP              5.9 g/dL               5.7
                                                                                       5.7-    7.5                             -




                                                Sodium              nuaol/L
                                                                134 mmol/L             132 - 141                               -




B:Bitllng, C:Med note, CB:Call
B:Bi!IJng,              CB:CaII back, CK:Check-in,
                                      clCCheck•in, CM:Communicatlons,
                                                    CM:Communicatioas. D:Diagnosis,
                                                                         D:Dtagnosis, DH:Declined to history, E:Examination, ES:Estimates,
                                                                                                                             ES:Eslimates,
I:Oeparting instr, L:Lab result, M:fmage
!:Departing                      M:Image cases, P:Prescription, PA:PVL
                                                                pkrVtAccepted,
                                                                       Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
                      T:Imagea, TC:Tentative medl
R:Correspondence, T:lmages,                  medi note, V:Vital
                                                         V:vitalsigris
                                                                 signs

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                                                                                                                                                            MVS00202
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                                                              Patient History Report
                            (Tri-State Zoo) (15924)
         Client: Candy, Bob (Tri-State                                           Patient:      Dream (38043)
         Phone: (240) 727-8051                                                  Species:       Equine                                Breed: Miniature Horse
       Address: 10105 Cottage Inn Ln NE                                             Age:       lOYrs.
                                                                                               10 Yrs. 11 Mos.                         Sex: Female
                 Cumberland, MD 21502                                             Color:       White/Brown


           Date Type              Staff           History


                                                 A/C Ratio
                                                 A/G   Ratio      0.7
                                                                  0.7    L
                                                                         L              0.8
                                                                                        0.8-   1.6                                       -




                                                 B/C Ratio
                                                 B/C   Ratio      41.7
                                                                  41.7
                                                 Na/K   Ratio
                                                 Na/K Ratio       26
                                                                  26
                                                 GLOB
                                                 GLOB             3.5
                                                                  3.   g/dL
                                                                     5 g/dL             2.3 - 4.1
                                                                                       2.3     4.1                                       -




                                                 OK
                                                 CK               133 U/L
                                                                  133  U/L              130 - 497
                                                                                       130     497                                       -



                                                 5DM/k
                                                 SDMA             11 ug/dL
                                                                  11  ug /elL          00 - 14
                                                                                            14                               -




                                                  Ascn: 4601285218
                                                 RE: 281
                                                 RE:   281 HEMOLYSIS
                                                           HEMOLYSIS INDEX
                                                                       INDEX 1+ 1+
                                                 Index of N, N, 1+ exhibits no significant effect on chemistry
                                                 values.
                                                 RE: 282
                                                 RE:  282 LIPEMIA
                                                           LIPEMIA INDEX
                                                                     INDEX N  N
                                                 Index of N, 1+, 2+, 3+ exhibits no significant effect on
                                                 chemistry values.

                                                  5DM/k is a
                                                  SDMA     a new kidney test that has been validated for this
                                                 species
                                                 species.  Reference
                                                                .



                                                  intervals were established using clinically healthy animals.
                                                 5DM/k has been
                                                 SDMA      been
                                                  shown in several other species (e.g. dogs, cats and humans)
                                                 to correlate with
                                                  decreased kidney function.


              L
    5/19/2018 L                                 Hematology results from IDEXXIDE)Q( Reference
                                                Laboratory Requisition ID:        119430           Posted                                            Final
                                                Test          Result                       Reference Range
                                                BASO          0.8 % %
                                                EQS
                                                EOS           0,3
                                                              0. 3 %
                                                HOT
                                                HCT           31.9
                                                              31. 9 % L L                  32,5
                                                                                           32  . 5 - 446.5
                                                                                                       6.5                                       -




                                                HGB           11.1 g/dL L   L              11.4 - 17.317,3                                       -



                                                LYMPHS        33.8
                                                              33. 8 %
                                                MCH           16.3 pgpg                    14.6 - 19.1                                           -



                                                MCHC          34.8
                                                              34.    g/dL
                                                                  8 g/  elL                33.6
                                                                                           33.        38.6
                                                                                                 6 - 38.  6                                      -




                                                MCV               EL
                                                              47 fL                        39-55
                                                                                          39     - 55
                                                MONO S
                                                MONOS         5.3 %
                                                NEUT
                                                NEUT SEG      59.8 %
                                                PLATELETS     187 K/uL                    70 - 250                               -




                                                nBC
                                                RBC           6.83
                                                              6. 83 M/uL                   6.30
                                                                                           6. 30 - 10.10.90
                                                                                                          90                                 -



                                                NBC
                                                WBC           3.8
                                                              3. 8 K/uL L  L               4.3
                                                                                          4.        11.4
                                                                                              3 - 11.   4                            -



                                                ABS BASO      30 /uL
                                                                  /uL                     00-100
                                                                                              - 100
                                                    EQS
                                                ABS EOS       11 /uL
                                                                  /uL                    00-700
                                                                                              - 700
                                                ABS LYMPHS
                                                ABS LYNPHS    1284 /uL L   L             1450 - 5000                                         -




                                                ABS MONOS     201 /UL
                                                                   /uL                   00 - 600                        -




                                                ABS NEUTS
                                                ABS  NEUTS    2272 /uL
                                                              2272   /uL L L             2460 - 7230
                                                                                         2460         7230                                   -




                                                 Ascn: 4601285218
                                                RE: 3034 REMARKS
                                                REMARKS
                                                SLIDE REVIEWED MICROSCOPICALLY.
                                                NO
                                                NO PARASITES SEEN

                                       CKCheck-in, CM:Communications,
B:Billing, C:Med note, CB:Call back, CK:Check-!n,    CM:Communicat?ons, O:Diagnosis,
                                                                          D:Diagnosis, DH:Declined
                                                                                       DI-tfleelinedtohistory.                 ES:EsUmates,
                                                                                                    to history, E:Examination, ES:Estimates,
I:Oeparting instr, l:Lab
!:Departing        L: Lab result, M:lmage
                                  M:Image cases, P:Prescription,
                                                 P:Prescdption, PA:PVL
                                                                 PA:PVLAccepted,
                                                                        Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
R:Correspondence, T:lmages, TC:Tentative medl note, V:Vital signs

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                                                                                                                Date: 4/30/2021


                                                                                                                                                              MVS00203
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                                                               Patient
                                                               Patient History Report
                                                                       History Report
         Client:
          Client: Candy,
                  Candy, Bob
                          Bob (Tri-State Zoo)
                              {Tri-State Zoo) (15924)
                                              (15924)                             Patient:
                                                                                  Patient:      Dream   (38043)
                                                                                                Dream (38043)
         Phone:
         Phone: (240)
                  (240) 727-8051
                        727-8051                                                 Species:
                                                                                 Species:       Equine
                                                                                                Equine                         Breed: Miniature
                                                                                                                               Breed: Miniature Horse
                                                                                                                                                Noise
       Address:
       Address: 10105
                  10105 Cottage
                         Cottage Inn
                                 Inn Ln
                                      Ln NE
                                         NE                                          Age:
                                                                                     Age:       lOYrs.
                                                                                                10 Yrs. 11 Mos.
                                                                                                        11 Mos.                  Sex: Female
                                                                                                                                 Sex: Female
                  Cumberland,
                  Cumberland, MD
                               MD 21502
                                    21502                                          Color:
                                                                                    Color:      White/Brown
                                                                                                White/Brown


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History




     5/17/2018
     5/17/2018 C     c            GD
                                  GD              Equine
                                                  Equine Physical
                                                             Physical Exam
                                                                        Exam
                                                  HISTORY:
                                                  HISTORY: Presented
                                                                Presented for     exam.
                                                                              for exam.
                                                  TEMPERATURE:98.8
                                                  TEMPERATURE:98.6
                                                  GENERAL:BCS
                                                  GENERAL:BCS 3/9;      3/9; Patient
                                                                             Patient isis OAR.
                                                                                          OAR.
                                                  CARDIOVASCULAR:No
                                                  CARDIOVASCULAR: No murmurs or   murmurs            arrythmias are
                                                                                                 or arrythmias     are noted.
                                                                                                                        noted. HR:HR 32  32
                                                  EYES:The
                                                  EYES:The eyes  eyes are
                                                                        are bright
                                                                            bright and
                                                                                    and clear.
                                                                                          clear. The The cornea,     sclera, conjunctiva,
                                                                                                          cornea, sclera,       conjunctiva, and and eyelids
                                                                                                                                                       eyelids
                                                  are
                                                  are Intact
                                                        intact and
                                                               and healthy.
                                                                     healthy. The
                                                                                The lens
                                                                                      lens is    transparent and
                                                                                             is transparent     and thethe iris  has a
                                                                                                                            iris has    anormal
                                                                                                                                          normal color
                                                                                                                                                   color and
                                                                                                                                                           and
                                                 texture. The
                                                 texture.     The pupils
                                                                    pupils are
                                                                           are normally      responsive to
                                                                                 normally responsive         to light,   Vision appears
                                                                                                                light. Vision      appears normal.
                                                                                                                                              normal.
                                                  RES    PI RATORY: Bronchovesicular sounds
                                                  RESPIRATORY:Bronchovesicular                  sounds are are normal
                                                                                                                normal in     all lung
                                                                                                                          in all         fields. No
                                                                                                                                  lung fields.   No crackles
                                                                                                                                                      crackles
                                                 or
                                                  or wheezes
                                                     wheezes are  are noted.
                                                                       noted. RR:    30
                                                                                RR: 30
                                                 GASTROINTESTlNAL:No
                                                 GASTROINTESTINAL: No gastrointestinal                     abnormalites are
                                                                                    gastrointestinal abnormalites             are noted.
                                                                                                                                   noted. Gut
                                                                                                                                            Gut sounds
                                                                                                                                                  sounds areare
                                                 within
                                                 within normal
                                                           normal limits
                                                                    limits at
                                                                           at 1-2
                                                                               1-2 contractions
                                                                                   contractions per   per minute.     Bowel movements
                                                                                                           minute. Bowel        movements are   are of
                                                                                                                                                     of
                                                 appropriate
                                                 appropriate consistency
                                                                  consistency andand regularity.
                                                                                       regularity. A     rectal exam
                                                                                                       A rectal  exam was was notnot indicated
                                                                                                                                       indicated at
                                                                                                                                                  at this
                                                                                                                                                      this time.
                                                                                                                                                           time.
                                                 MOUTHITEETH:Large
                                                 MOUTH/TEETH: Large buccal      buccal hooks-
                                                                                         hooks- floatfloat at earliest convenience.
                                                                                                           at earliest   convenience.
                                                 MUCOUS MEMBRANES:
                                                 MUCOUS         MEMBRANES:Mucous   Mucous membranes
                                                                                                membranes are   are pink
                                                                                                                      pink and
                                                                                                                             and moist
                                                                                                                                   moist with
                                                                                                                                           with aacapillary
                                                                                                                                                    capillary
                                                 refill
                                                 refill time
                                                         time of
                                                               of less  than two
                                                                  less than        seconds.
                                                                              two seconds.
                                                 LYMPH
                                                 LYMPH NODES:Lymph
                                                             NODES: Lymph nodes  nodes areare of of normal
                                                                                                     normal size    and character
                                                                                                              size and    character
                                                 MUSCULOSKELETAL:Patient
                                                 MUSCULOSKELETAL:Patient is               is underweight
                                                                                              underweight and  and weak,
                                                                                                                     weak, borderline
                                                                                                                               borderline cachectic.
                                                                                                                                             cachectic.
                                                 Owner
                                                 Owner reports
                                                            reports she   loses weight
                                                                      she loses             every winter-
                                                                                  weight every                possibly being
                                                                                                     winter- possibly     being shoved
                                                                                                                                    shoved outout of
                                                                                                                                                   of way
                                                                                                                                                      way byby
                                                 larger
                                                 larger goats
                                                           goats and
                                                                  and other    horse.
                                                                        other horse.
                                                 DIGITAL
                                                 DIGITAL PULSES:Digital
                                                              PULSES: Digital pulses
                                                                                   pulses areare within
                                                                                                   within normal     limits in
                                                                                                           normal limits      in all
                                                                                                                                 all four
                                                                                                                                      four feet.
                                                                                                                                           feet,
                                                 NERVOUS
                                                 NERVOUS SYSTEM:The
                                                                 SYSTEM:The patientpatient presented
                                                                                              presented bright,       alert, and
                                                                                                            bright, alert,    and responsive
                                                                                                                                     responsive with
                                                                                                                                                   with nono
                                                 obvious abnormalities.
                                                 obvious     abnormalities. A   A full
                                                                                  full neurologic
                                                                                        neurologic exam        was not
                                                                                                        exam was      not performed.
                                                                                                                           performed.
                                                 SKIN/HAIR
                                                 SKIN/HAIR COAT:The
                                                                 COAT: The patient's
                                                                                patient's skin
                                                                                            skin isis healthy
                                                                                                      healthy with
                                                                                                                with nono redness
                                                                                                                           redness or   or evidence
                                                                                                                                           evidence of  of
                                                 infection
                                                 infection or or parasites.
                                                                 parasites. Hair    coat is
                                                                              Hair coat    is long.
                                                                                               long.
                                                 UROGENITAL:Normal
                                                 UROGENITAL:Normal genitalia    genitalia and
                                                                                            and reproductive        organs for
                                                                                                   reproductive organs         for the
                                                                                                                                   the age,
                                                                                                                                         age, sex,
                                                                                                                                               sex, and
                                                                                                                                                     and
                                                 reproductive
                                                 reproductive status
                                                                   status of
                                                                           of the
                                                                              the patient
                                                                                   patient areare present.
                                                                                                    present. NoNo discharge
                                                                                                                    discharge was was noted.
                                                                                                                                         noted.

                                                 ASSESSMENT:Severely
                                                 ASSESSMENT:Severely underweight            Teeth in
                                                                             underweight. Teeth    in need
                                                                                                      need of
                                                                                                            of floating.
                                                                                                                floating.
                                                 PLAN:LA
                                                 PLAN:LA panel
                                                           panel pending,
                                                                  pending, coggins    pending. Recommend
                                                                             coggins pending.   Recommend senior senior feed,
                                                                                                                         feed, free
                                                                                                                               free choice
                                                                                                                                    choice
                                                 good
                                                 good quality
                                                      quality hay,
                                                              hay, grass
                                                                    grass if
                                                                          if available.
                                                                             available. Float
                                                                                        Float at earliest ability.
                                                                                              at earliest ability, separate
                                                                                                                   separate from
                                                                                                                              from other
                                                                                                                                    other
                                                 animals
                                                 animals to
                                                         to afford
                                                            afford adequate
                                                                    adequate feeding
                                                                               feeding time.
                                                                                        time.
                                                 PROCEDURES
                                                 PROCEDURES PERFORMED:
                                                                   PERFORMED:
                                                 ADDITIONAL     COMMENTS:
                                                 ADDITIONAL COMMENTS:



    5/1712018
    5/17/2018       B
                    B            GD
                                 GD              1.00
                                                 1.00   LA
                                                        LASS Exam
                                                             Exam Level
                                                                   Level 2
                                                                         2 (LAEX2)
                                                                           (LAEX2) by
                                                                                    by CO
                                                                                       CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00
                                                 1.00   LA
                                                        LASSCoggins
                                                             Coggins (LACOGG)
                                                                     (LACOGG) by by CO
                                                                                    CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00
                                                 1.00   LAS
                                                        LAS ChemICBC-
                                                             Chem/CBC- Equine,
                                                                         Equine, ldexx
                                                                                 ldexx (LACCBCE)  by CO
                                                                                        (LACCBCE) by CO

B:silling,
B:Bilting, c:Med
           C:Med note, cB:cail
                         CB:Call back, cK:check-in,
                                        CK:Check·in, cM:communrcauons,
                                                      CM:CommunJcatlons, D:Diagnosis, DH:Declinedtohistory,
                                                                                        DH:Declined to history, E:Examinati on, ES:Estimates,
                                                                                                                E:Examination,
IDeparting
I: Departing Insti,
             Jnstr, L:Lab result, M:lmage cases, P;Prescriptior,.
                                                  P:Prescrip\ion, PA:PvL
                                                                  PA:PVL Accepted, PB:probtems,
                                                                                   PB:prob!ems, PP:PVL Performed, PR:PVL
                                                                                                                      PR:PvL Recommended,
R:correspondence,
R:Correspondence, T:lmages, Tc:Tentative
                                   TC:Tentative medi
                                                medl note, V:Vital signs
                                                                   slgns

 MOUNTAINVIEW
 MOUNTAINVIEW VETERINARY
              VETERINARY SVS
                         SVS                                            Page
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                                                                             6 of
                                                                               of 7
                                                                                  7                              Date: 4/30/2021 12:24
                                                                                                                 Date: 4/30/2021 12:24 PM
                                                                                                                                       PM



                                                                                                                                                              MVS00204
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 31 of 52
                                                             Patient History Report
        Client: Candy,
        Client: Candy, Bob
                        Bob (Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                             Patient:
                                                                                Patient:      Dream (38043)
                                                                                              Dream   (38043)
        Phone: (240)
        Phone:  (240) 727-8051
                      727-8051                                                 Species:
                                                                               Species:       Equine
                                                                                              Equine                        Breed: Miniature
                                                                                                                            Breed: Miniature Horse
                                                                                                                                             Horse
      Address: 10105
      Address:  10105 Cottage
                       Cottage Inn
                                Inn Ln
                                    Ln NE
                                       NE                                           Age:
                                                                                    Age:      lOYrs.
                                                                                              10      11 Mos.
                                                                                                 Yrs. 11 Mos.                 Sex: Female
                                                                                                                              Sex: Female
                Cumberland, MD
                Cumberland,  MD 21502
                                  21502                                           Color:
                                                                                  Color:      White/Brown
                                                                                              White/Brown


          Date Type
          Date Type              Staff
                                 Staff           History
                                                 History


     5/17/2018 B
     5/17/2018 B                 GD
                                 GO              1.00 Charges
                                                 1.00 Charges Final
                                                              Final (CHFINAL)
                                                                    (CHFINAL) by
                                                                              by CO
                                                                                 CO




ftailtng, C:Med note, CB:Ca!l
B:Bilting,              CB:Call back, CK:Check-Jn,
                                      CK:Check-in, CM:Communlcations,
                                                    CM:Communlcat!ons, D:Dlagnosis,
                                                                         D:Diagnosis, DH:Declined
                                                                                      DH:oeclFned to history,
                                                                                                     history, E:Examination, ES:Estimates,
l:Deparling instr,
!:Departing insti, l:Lab
                   L:Lab result, M:lmage cases, P:Prescription, PA:PVL
                                                                PA:PVLAccepted,
                                                                       Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
R:Correspondence, T:lmages, TC:Tentative medl note, V:Vitat
                                                         V:Vital signs

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                        SVS                                           Page 7
                                                                      Page 7of
                                                                             of 7
                                                                                7                             Date: 4/30/2021
                                                                                                              Date: 4/30/2021 12:24
                                                                                                                              12:24 PM
                                                                                                                                    PM



                                                                                                                                                     MVS00205
                                                         image 1
                      Case 1:20-cv-01225-PX Document 71-14IFiled 12/20/21 Page 32 of 52
                                                         image
     Patient: 38043       Dream
                          Dream                         Species: Equine                             Breed: Miniature
                                                                                                           Miniature Horse
                                                                                                                     Horse
                                                                                                    Breed:
      Client: 15924
      Client: 15924                  (Tri-State
                          Candy, Bob (Tri-State              DOB: 5/17/10
                                                                  5/17/10
                                                             DOB:                                  Gender: Female
                                                                                                   Gender: Female


                                            I




                      NEW ANIMAL INFORMATION RECORD

                                                                      \
                 d!YZ"ht•J/._:!NlX2                ,            '-'0::)                        .
                 ANIMALS   NAME: __
                 Af'-UMALS i'IAME:      btEM±1L
                                            __________ .."_______ BrRTHDi\
                                                                  BiRTHDAY/AGE:           3____________ _
                                                                           YI AGE:_::::..:?_                        -




                 sPECIEs/BREED: fin,JZ /1OflC
                 SPECJ:ES/BREED:_.J!t[_d:r_ff_ijj,Jff:.._________  SEX: lvl11      (!2
                                                                              UNKNOWN
                                                                              UNKNOWI'i
                 COLO I</ MARKINGS:
                 COLOR/MAR          _Bgoc.J.J /!J)}J:.r:&_
                             KING 5 :3J,/jA3.g       -c/S _____________________________ _
                           TEMPERA lURE/CLIMATE USED TO:_..AJLQ:,_
                 AVERAGE TEMPERATURE/CLIMATE                 TO:     _________________ _
                 TYPE OF ENVIRONMENT/CAGEJ' - ijQjj

                                                        /.ful.-5£ Hfb
                 TYPE OF FOOD, AMOUNT GIVEN, FREQUENCY: WOLSE            NAY
                                                                  16Th1) NAY

                ANY SPECIAL CARE NEEDED:      41/
                                 NEEDED:--L,J::.<)CEL
                                                   a _ _ _ _ _ _ _ _ _ _ _ _ _ __


                TEMPERMENT: 9vc,Thbf,       vsav S/l1tlLL
                              {t1!i;,SN_-1 VR'f  5rn,qcL
                                          1
                ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: _ _ _ _ __

                --------------
                                                    ANIMAL5, IF SO
                WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS,    50 WHAT: N:;:[f{
                                                                         &J27'fi tr1HtX..
                                                                                 nullex
                 m,uziiM. {OV'Ae:rM)
                .f!ML//cf.S<e. (wAcajo)                ___

                ACQLJIS  170N/HL/AIAN INFO
                ACQUISTTON/HUMAN
               METHOD:   SALE jcZT1S.uii BIRTH
               METHOD: SALE                    BIRTH I/TRADE         TRADE I/LOAN LOAN I/RESCUE
                                                                                         RESCUE DATE:        _
                     NAME: W'i
                     NAME:     4ai'f
                     ADDRESS:_ _ _ __
                     ADDREss:
                          /STATE/ZIP:___fufll8@MU ) PID.
                     CI1y/STATE/ZIP:uMEecA,ffi
                     CITY                                              ,nb.
                     PHONE # (OPTIONAL): ________ _ , . - - - - - - - - - - -
                     PHONE#
                     USDA
                     USDA ## (IF
                              (IF APPLICA
                                  APPLICABLE):       Rtq)W6 nWiJt
                                           BLE):...il@W_/}u7!-'<£.JJ:OcJ..,tJ'-""'tl.""-.-----------
                               LICENSE #:
                     DRIVERS LICENSE#:                                                            STATE: _ __
                               LICENSE #:
                     VEHICLE LICENSE#:                                                            STATE: _ _ _ _
               TRANSPORTATION INFORMATION:
               METHOD: CARRIER I/INTERMEDIATE HANDLER !@ATE                      /tVATE VEHICL[>
                                                                                          VEHICLE)
                     NAME:   &i&-
                     NAME: Q(IJ,J£1•.-                                 ·----------------
               DISPOSITION
               DISPOSITION INFO  INFO /,-A, I
                                          CAg;c.                                   /...,
               METHOD: SALE!
               METHoD:'.sALE    DONATION!
                              1 DoNATioN      DEATH!
                                            1 DEATH                  TRADE 1
                                                               1 TRADE           /(OAN / RELEASE DATE:
                    NAME:
                    NAME:       r\iIç*nJ
                                       Q  h4k
                                  1\n""" Po.&,                   fi&cLLL                ---------
                                 \0\Q\C r, *v1t. ütn 'Jo. .,__
                     ADDRESS: t\oC
                    CITY/STATE/ZIP:      fJW2/;J;/.af/1j£
                    CITY!STATE!ZIP: ('iJr41wrJiid,fljh Q.I>Od.                 wcoa
                    USDA# (IF APPLICABLE):
                    PHONE #
                    PHONE    # (OPTIONAL)                                -
                               (OPTIONAL)::_;.Ve<6\:J::-..17.<a<l.J..'-i:__,·
                                                                            dtto 0
                                                                            <:l"'-'t-"'O.L'O>'------------
               TRANSPORTATION
               TRANSPORTA   TION INFORMATION:
               METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                    NAME:
                    NAME:

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                                                       Page   of 1I                                   Print Date:
                                                                                                      Print Date:       4/30/21
                                                                                                                        4130121
                                                                                                                                  MVS00206
                                                                                                    Image Date:
                                                                                                    Image   Date:       7/9/18
                                                                                                                        719/18
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 33 of 52
                                                              Patient History
                                                              Patient History Report
                                                                              Report
         Client: Candy,
         Client: Candy, Bob
                         Bob (Tri-State
                             (Tri-State Zoo)
                                        Zoo) (15924)
                                             (15924)                             Patient:
                                                                                 Patient:      Emmy (38054)
                                                                                               Emmy    (38054)
         Phone: (240)
         Phone:  (240) 727-8051
                       727-8051                                                 Species:
                                                                                Species:       Porcine
                                                                                               Porcine                       Breed: Vietnamese
                                                                                                                             Breed: Vietnamese Potbelly
                                                                                                                                               Potbelly
       Address:  10105 Cottage
       Address: 10105   Cottage Inn
                                 Inn Ln
                                     Ln NE
                                        NE                                          Age:
                                                                                    Age:       6Yrs.
                                                                                               6      ii Mos.
                                                                                                 Yrs. 11 Mos.                  Sex: Female
                                                                                                                               Sex: Female
                 Cumberland, MD
                 Cumberland,  MD 21502
                                   21502                                          Color:
                                                                                  Color:       Grey/Pink
                                                                                               Grey/Pink


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History




     6/24/2019 C
     6/24/2019       c            GD
                                  GD              Default Comments
                                                  Default  Comments
                                                  Rv right
                                                  Rv right neck,
                                                           neck, CDT
                                                                 CDT left
                                                                     left neck
                                                                          neck



     6/24/2019
     6/24/2019       B
                     B           GD
                                 GD               1.00 dose
                                                  1.00 dose of
                                                            of LAM
                                                               LA M Rabies
                                                                     Rabies (LAMRAB)
                                                                            (LAMRAB) byby AMM
                                                                                          AMM
     6/2412019
     6/24/2019       B
                     B           GD
                                 GD               1.00 dose
                                                  1.00 dose of
                                                            of LAM
                                                               LAM Bar-Vac
                                                                     Bar-Vac CDT
                                                                             CDT (1
                                                                                 (1 d)
                                                                                    d) (LACDT1)
                                                                                       (LACDT1) by
                                                                                                by AMM
                                                                                                   AMM
     6/24/2019
     6/24/2019       B
                     B           GD
                                 GD               1.00 Charges
                                                  1.00 Charges Final
                                                                Final (CHFINAL)
                                                                      (CHFINAL) by
                                                                                by AMM
                                                                                   AMM
      7/9/2018
      7/9/2018       T
                     T           BW
                                 BW               Image: previous
                                                  Image:  previous vet
                                                                   vet records
                                                                       records



     5/17/2018 C     c           GD
                                 GD              Routine exam
                                                 Routine exam
                                                 HISTORY: Presented
                                                 HISTORY:   Presented for
                                                                      for routine
                                                                          routine exam,
                                                                                  exam, vaccinations.:
                                                                                        vaccinations.:

                                                 99.8
                                                 99.8

                                                 Physical Exam:
                                                 Physical Exam:
                                                 GENERAL: BCS
                                                 GENERAL:    OCS 5/9,
                                                                 5/9, BAR
                                                                      BAR

                                                 ABDOMEN:
                                                 ABDOMEN: The  The abdomen
                                                                    abdomen isis soft
                                                                                 soft and
                                                                                      and non-painful.
                                                                                           non-painful. The
                                                                                                         The internal
                                                                                                             internal organs
                                                                                                                      organs palpated,
                                                                                                                              palpated,
                                                 including the
                                                 including the kidneys
                                                               kidneys and
                                                                       and loops
                                                                            loops of
                                                                                   of intestines
                                                                                      intestines had
                                                                                                 had normal
                                                                                                      normal sizes,
                                                                                                             sizes, location,
                                                                                                                    location, and
                                                                                                                              and
                                                 consistency. No
                                                 consistency.  No abnormalities
                                                                   abnormalities were    detected.
                                                                                  were detected.

                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arrythmias are
                                                                                          are heard.
                                                                                              heard.

                                                 EARS: The
                                                 EARS: The ears
                                                           ears are
                                                                are clear
                                                                    clear with no evidence
                                                                          with no evidence of
                                                                                           of redness
                                                                                              redness or
                                                                                                      or discharge
                                                                                                         discharge

                                                 EYES: The
                                                 EYES:    The eyes
                                                              eyes are
                                                                    are bright
                                                                        bright and
                                                                               and clear.
                                                                                   clear. The
                                                                                          The cornea,
                                                                                              cornea, sclera,
                                                                                                         sclera, conjunctiva,
                                                                                                                 conjunctiva, and
                                                                                                                              and eyelids
                                                                                                                                   eyelids
                                                 are intact and healthy. The lens is transparent and the iris has a  anormal color and
                                                 texture. The
                                                 texture.  The pupils
                                                               pupils are
                                                                      are normally
                                                                          normally responsive
                                                                                    responsive to
                                                                                               to light.
                                                                                                  light. Vision
                                                                                                          Vision appears
                                                                                                                  appears normal.
                                                                                                                           normal.

                                                 GASTROINTESTINAL: There
                                                 GASTROINTESTINAL: There is
                                                                         is no
                                                                            no evidence
                                                                               evidence of
                                                                                        of gastrointestinal
                                                                                           gastrointestinal abnormalities.
                                                                                                            abnormalities.

                                                 MOUTH/TEETH: The
                                                 MOUTH/TEETH:       The gums
                                                                         gums appear
                                                                                 appear healthy.
                                                                                          healthy. The
                                                                                                   The tongue,
                                                                                                       tongue, tonsils,
                                                                                                                tonsils, palate,
                                                                                                                         palate, and
                                                                                                                                 and
                                                 pharynx have
                                                 pharynx  have aahealthy
                                                                  healthy color
                                                                          color and
                                                                                 and appearance.
                                                                                      appearance. The
                                                                                                    The teeth
                                                                                                         teeth appear
                                                                                                               appear clean,
                                                                                                                        clean, white,
                                                                                                                               white, and
                                                                                                                                      and
                                                 properly aligned.
                                                 properly aligned. There
                                                                    There is
                                                                           is no
                                                                              no significant
                                                                                  significant accumulation
                                                                                              accumulation of
                                                                                                           of tartar.
                                                                                                              tartar.

                                                 MUCOUS MEMBRANES:
                                                 MUCOUS       MEMBRANES: MucousMucous membranes
                                                                                       membranes are
                                                                                                 are pink
                                                                                                     pink and
                                                                                                          and moist
                                                                                                              moist with
                                                                                                                    with a
                                                                                                                         acapillary
                                                                                                                           capillary
                                                 refill time
                                                 refill time of
                                                             of less
                                                                less than
                                                                     than two
                                                                          two seconds.
                                                                              seconds.

                                                 LYMPH NODES:
                                                 LYMPH NODES: Lymph
                                                              Lymph nodes
                                                                    nodes are
                                                                          are of
                                                                              of normal
                                                                                 normal size
                                                                                        size and
                                                                                             and character
                                                                                                 character


B:Bjlljng, C:Med
B:Billing,  C:Med note,
                     note, CB:Call
                           cecall back,
                                   back. CK:Check·in,
                                         ck:check-in, CM:Communications,
                                                      CM:conimunications, D:D!agnosis,
                                                                           D:Dlagnosis, DH:Declined
                                                                                        DH:Declined to
                                                                                                    to history,
                                                                                                       history, E:Examination,
                                                                                                                E:Examination, ES:Estimates,
                                                                                                                               ES:Estimates,
I:I:Departing insti-,L:Lab result, M:lmage
   Departing instr,                M:Image cases, P:Prescription, PA:PVL
                                                                  PAPVL Accepted.
                                                                         Accepted, PB:problems, PP:PVL Performed, PR:PVL Recommended,
                                    rc:Tentauve medl
R:Correspondence, T:lmages, TC:Tentatlve        medi note, V:Vital signs


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                                                                              of 2
                                                                                 2                              Date: 4/30/2021
                                                                                                                Date: 4/30/2021 12:25
                                                                                                                                12:25 PM
                                                                                                                                      PM


                                                                                                                                                      MVS00207
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                                                             Patient History Report
         Client:
         Client: Candy,
                 Candy, Bob
                         Bob (Tri -State Zoo)
                             (Tri-State  Zoo) (15924)                            Patient:
                                                                                 Patient:     Emmy
                                                                                              Em       (38054)
                                                                                                  my (38054)
        Phone:
        Phone: (240)
                 (240) 727-8051
                       727-8051                                                 Species:
                                                                                Species:      Porcine
                                                                                              Porcine                        Breed: Vietnamese Potbelly
      Address:
      Address: 10105
                 10105 Cottage
                        Cottage Inn
                                 Inn In
                                      Ln NE
                                         NE                                          Age:
                                                                                     Age:     5Yrs.
                                                                                              6 '(is. 11 Mos.                  Sex: Female
                 Cumberland,
                 Cumberland, MD
                              MD 21502
                                    21502                                          Color:
                                                                                  Color:      Grey/Pink
                                                                                              Grey/Pink


           Date
           Date Type
                Type             Staff
                                 Staff            History
                                                  History


                                                 MUSCULOSKELETAL: The
                                                 MUSCULOSKELETAL:       The muscles
                                                                             muscles have
                                                                                       have normal
                                                                                             normal tone
                                                                                                    tone and
                                                                                                          and strength
                                                                                                              strength for
                                                                                                                       for the
                                                                                                                           the pet's
                                                                                                                               pet's
                                                 age and
                                                 age and breed.
                                                         breed. The
                                                                The pet's
                                                                    pet's gait
                                                                          gait is
                                                                               is normal
                                                                                  normal with no signs
                                                                                         with no signs of
                                                                                                       of lameness
                                                                                                          lameness or
                                                                                                                    or joint pain.
                                                                                                                       joint pain.

                                                 NERVOUS     SYSTEM: The
                                                 NERVOUS SYSTEM:        The pet
                                                                             pet presented
                                                                                  presented bright,
                                                                                            bright, alert,
                                                                                                    alert, and
                                                                                                           and responsive
                                                                                                                responsive with no
                                                                                                                           with no
                                                 obvious abnormalities.
                                                 obvious abnormalities. A  full neurologic
                                                                         A full neurologic exam
                                                                                           exam was    not performed.
                                                                                                 was not    performed.

                                                 RESPIRATORY: Respiration is
                                                 RESPIRATORY: Respiration is normal
                                                                             normal with
                                                                                    with no
                                                                                         no crackles
                                                                                            crackles or
                                                                                                     or wheezes.
                                                                                                        wheezes.

                                                 SKIN/HAIR    COAT: Your
                                                 SKIN/HAIR COAT:            pet's skin
                                                                       Your pet's skin is
                                                                                       is healthy
                                                                                          healthy with no redness
                                                                                                  with no redness or
                                                                                                                  or evidence
                                                                                                                     evidence of
                                                                                                                              of
                                                 infection or parasites.
                                                 infection or parasites.

                                                 UROGENITAL: Normal urinary tract. The bladder and kidneys are of normal
                                                 shape, size,
                                                 shape, size, and
                                                              and consistency.
                                                                  consistency. Normal
                                                                                Normal genitalia
                                                                                        genitalia and
                                                                                                  and reproductive
                                                                                                      reproductive organs
                                                                                                                   organs for
                                                                                                                          for the
                                                                                                                              the
                                                 age,
                                                 age, sex, and reproductive status of the animal are present. No discharge was
                                                                                                                            was
                                                 noted.
                                                 noted.


                                                 ASSESSMENT:
                                                 ASSESSMENT: APparently
                                                                  APparently healthy on physical exam. Very good feet. RV right
                                                 neck, CDT left
                                                 neck, CDT left neck.
                                                                neck.

                                                 PLAN: Booster 3-4
                                                 PLAN: Booster 3-4 weeks.
                                                                   weeks.

                                                 PROCEDURES PERFORMED
                                                 PROCEDURES PERFORMED ON
                                                                      ON YOUR PET TODAY:
                                                                         YOUR PET TODAY:



    5117/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 LAS Exam
                                                 1.00 LAS  Exam Level1
                                                                  Level 1(LAEX1)
                                                                         (LAEX1) by
                                                                                  by CO
                                                                                     CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00
                                                 1.00 dose of LAM Rabies (LAMRAB) by CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 dose of
                                                 1.00 dose of LAM
                                                              LAM Bar-Vac
                                                                    Bar-Vac CDT
                                                                            CDT (1
                                                                                (1 d)
                                                                                   d) (LACDT1)
                                                                                      (LACDT1) by
                                                                                               by CO
                                                                                                  CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 Charges
                                                 1.00 Charges Final
                                                               Final (CHFINAL)
                                                                     (CHFINAL) by
                                                                               by CO
                                                                                  CO




6:Billing,
B:BiiiJng, c:Med
           C:Med note, cB:cau
                        CB:Call back, CK:Check-in,   cM:communications, D:Diagnosis, DH:Declined
                                       CK:Check·in, CM:Communications,                 DH:Dectined to history, E:Examination, ES:Estimates,
                                                                                                                              ES:Esumates,
I:Oeparling
!:Departing instr, L:Lab
                   l:lab result, M:Imagecases,
                                 M:lmage cases, P:Ptescription,  PA:PVLAccepted,
                                                 P:Prescription, PA:PVL           PB:probtems, PP:PVL
                                                                        Accepted, PB:problems, PP:PvL Performed, PR:PVL
                                                                                                                    PFtPvL Recommended,
                                                                                                                             Recommended.
R:correspondence,
R:Correspondence, T:lmages.
                      T:lmages, TC:rentative   medl note, v:vjtat
                                  TC:Tentalive medt       V:Vltal signs


 MOUNTAINVIEW
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                                                                                                               Date: 4/30/202 112:25
                                                                                                                               12:25 PM
                                                                                                                                     PM



                                                                                                                                                          MVS00208
                                                            image 1I
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                                                            image
    Patient: 38054
    Patient: 38054       Emmy
                         Em my                          Species: Porcine
                                                        Species: Porcine               Breed: Vietnamese
                                                                                       Breed: Vietnamese Potbelly
                                                                                                         Potbelly

     Client: 15924
     Client: 15924      Candy ,Bob
                        Candy, Bob (Tri-State
                                   (Tri-State                 DOB: 5/17/14
                                                              DOB: 5/17/14           Gender: Female
                                                                                     Gender: Female



                     NEW ANIMAL INFORMATION RECORD

                ANIMAL
                ANIMAL. INFO                    ,
                                                    1
               ANIMALS  NAME:
               ANIMAl-S NAME:.__,':-"'£/rl""'                                         DAY/AGE:
                                           -'-"r.:.:::L..L.'/_'' - - - - - BIRTHDAY/AGE:_<'-_,_(----
               SPECIES/BREED: PraE(cY
               SPECJ:ES/BREED:--'-&-'-'r'-'6""f"'£L.J.Y______              SEX: M(!)
                                                                           SEX:          F UNKNOWN
                                                                                            UNKNOWN
               COLOR/MARKINGS:
               COLOR/MARKINGS:_ _ _ _ _ _ _ _- : - ; - - - , - - - - - - - - - - -
               AVERAGE TEMPERATURE/CLIMATE USED TO: /lou-4St _ _ _ _ _ _ _ __
               TYPE    ENVIRONMENT/CAGE: /-
                    OF ENVIRONMENT/CAGE:___.L""o"'o""'E""--------------
               TYPE Of                                                     60S2-BIRTH

               TYPE OF
               TYPE OF FOOD,
                       FOOD, AMOUNT GIVEN, FREQUENCY:dtlt- 61LeCR
                             AMOUNT GIVEN,

               ANY SPECIAL
               ANY SPECIAL CARE
                           CARE NEEDED:
                                NEEDED: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               TEMPERMENT:               vrMc(_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               TEMPERMENT:-1-ft.;£;;z;Y.=c1J"":tl""'(..J.'f
               ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: _ _ _ __



               WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO
                                                               50 WHAT: _ _ _ __
                lJW   ftc ec0
                LJDr# &o  Pit ft[ A {'if'
                              AC It


               ,4CQLJIS7TON/HL/MAN
               ACQVISTIONIHVMAN INFO
               METHOD: SALE
               METHOD: SALE I/DONATION
                               DONATION /ct#j]MADE I/LOAN LOAN I/RESCUE  DATE: 3/ic/ri
                                                                 RESCUE DATE:      /tf
                    NAME: 8ootJ lt:r tN
                    NAME:    Boe44'  - 2cc)
                                1?4y,wflr8<¥?Jt- a',
                    ADDRESS: WflñrRkt1t              c Mn — ?Cf
                                                 4T- 9t!TWE-
                                                        -          Z42/, (
                                                             Per '7/ta/t(
                    CITY/STATE/ZIP:.
                    CITY/STATE/ZIP:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    PHONE#
                    PHONE # (OPTIONAL):
                              (OPTIONAL): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    USDA # (IF APPLICABLE):
                    USDA#      APPLICABLE):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    DRIVERS LICENSE#:
                    DRIVERS LICENSE #:                                    STATE:
                                                                          STATE: ---
                            LICENSE #:
                    VEHICLE LICENSE#:                                     STATE: _ __
              TRANSPORTATION INFORMATION:
              TRANSPORTATION   INFORMATION:
              METHOD: CARRIER
              METHOD: CARRIER I/INTERMEDIATE
                                INTERMEDIATE HANDLER
                                                HANDLER I/PRIVATE
                                                          PRIVATE VEHICLE
                                                                  VEHICLE
                       NAME:
                       N   AME'---------------------
              DISPOSITrON
              DISPOSITION INFO
              METHOD: SALE I/DONATION
                              bONAtION I/DEATH I/TRADE I/LOAN                   DATE: _ __
                   NAME: f-frriiY
                            K4IflV ibtkti
                                    /lt')M,J
                   ADDRESS;
                   ADDRESS: loto   ( C<>T-rAr,"t '£7/rJ
                               IO/OCcOr'rAC-t    qO LA. LJ).
                                         (?fiv4I3ICC-44h, Mh
                   CITY/STATE/ZIP: ('.ev>l!\lf,ZUt;<IJ).
                       USDA# (IF
                       USDA# (IF APPLICABLE):
                                 APPLICABl-E): _ _ _'-------------
                       PHONE#
                       PHONE # (OPTIONAl.):
                               (OPTIONAL); _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              TRANSPORTATION INFORMATION:
              METHOD: CARRIER
              METHOD: CARRIER I/INTERMEDIATE
                                INTERMEDIATE HANDLER
                                             HANDLER I/PRIVATE
                                                       PRIVATE VEHICLE
                                                               VEHICLE
                   NAME:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       NAME:


                U1&ut4Fb         '7114ic-
MOUNTAINVIEW VETERINARY SVS
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                                                                      I                    Print Date:
                                                                                           Print Date:   4130/21
                                                                                                         4/30/21
                                                                                                                   MVS00209
                                                                                         Image Date:
                                                                                         Image   Date:   7/9/18
                                                                                                         7/9/18
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                                                              Patient History Report
         Client: Candy,
         Client: Candy, Bob
                         Bob (Tri-State
                             (Tri-State Zoo)
                                        Zoo) (15924)
                                             (15924)                             Patient:
                                                                                 Patient:      Isabel (38052)
                                                                                               Isabel (38052)
         Phone: (240)
         Phone:  (240) 727-8051
                       727-8051                                                 Species:
                                                                                Species:       Porcine
                                                                                               Porcine                       Breed: Vietnamese
                                                                                                                             Breed: Vietnamese Potbelly
                                                                                                                                               Potbelly
       Address: 10105
       Address:  10105 Cottage
                        Cottage Inn
                                Inn Ln
                                    Ln NE
                                        NE                                          Age:
                                                                                    Age:       7Yrs.
                                                                                               7 Yrs. 11
                                                                                                      11 Mos.
                                                                                                         Mos.                  Sex: Female
                                                                                                                               Sex: Female
                 Cumberland, MD
                 Cumberland,  MD 21502
                                   21502                                          Color:
                                                                                  Color:       Pink
                                                                                               Pink


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History


     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD             1.00 dose
                                                 1.00 dose of
                                                           of LAM
                                                              LAM Rabies
                                                                    Rabies (LAMRAB)
                                                                            (LAMRAB) by by AMM
                                                                                           AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD             1.00 dose
                                                 1.00 dose of
                                                           of LAM
                                                              LAM Bar-Vac
                                                                    Bar-Vac COT
                                                                             CDT (1
                                                                                  (1 d)
                                                                                     d) (LACDT1)
                                                                                        (LACDTI) by
                                                                                                 by AMM
                                                                                                    AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD             1.00 Charges
                                                 1.00 Charges Final
                                                               Final (CHFINAL)
                                                                     (CI-IFINAL) by
                                                                                 by AMM
                                                                                    AMM
      7/9/2018
      7/9/2018       T
                     T            BW
                                  BW             Image: previous
                                                 Image:  previous vet
                                                                  vet records
                                                                       records
     5/29/2018
     5/29/2018       T
                     T            AB
                                  AB             Image: ldexx
                                                 Image:  ldexx Test
                                                               Test Results
                                                                     Results
     5/26/2018
     5/26/2018       L
                     L                                             results from
                                                 Microbiology results          from IDEXX Reference
                                                 Laboratory Requisition ID: 4601370580                                        Posted
                                                                                                                              Posted             Final
                                                                                                                                                 Final
                                                 Test           Result                                               Reference Range
                                                 GIARDIA
                                                 GIARDIA        NEGATIVE
                                                                NEGATIVE
                                                 OVA&PARA
                                                 OVA& PARA
                                                  Ascn: 4601370580
                                                  Ascn:  4601370580

                                                  OVA && PARASITES
                                                  NO OVA OR PARASITES SEEN
                                                  In cases
                                                  In cases of
                                                            of acute
                                                                acute or
                                                                      or chronic
                                                                          chronic diarrhea
                                                                                  diarrhea in
                                                                                            in addition
                                                                                               addition to
                                                                                                         to aa fecal
                                                                                                               fecal
                                                 flotation and
                                                 flotation  and
                                                  antigen testing
                                                  antigen  testing for
                                                                    for ova
                                                                         ova and
                                                                             and parasites
                                                                                 parasites consider
                                                                                            consider testing
                                                                                                      testing for
                                                                                                               for
                                                 viral, bacterial
                                                 viral,             and
                                                         bacterial and
                                                  protozoal  infectious agents
                                                  protozoal infectious    agents using
                                                                                 using RealPCR
                                                                                       RealPCR (canine
                                                                                                 (canine diarrhea
                                                                                                         diarrhea
                                                 panel:  test code
                                                 panel: test  code
                                                  2625; feline
                                                  2625;  feline diarrhea
                                                                 diarrhea panel:
                                                                           panel: test
                                                                                  test code
                                                                                       code 2627).
                                                                                             2627)




    5/17/2018 c
              C                  GD
                                 GD              Routine exam
                                                 Routine exam
                                                 HISTORY: Presented
                                                 HISTORY:   Presented for
                                                                      for routine
                                                                          routine exam,
                                                                                  exam, vaccinations.
                                                                                        vaccinations. History
                                                                                                      History of
                                                                                                              of drainage
                                                                                                                 drainage both
                                                                                                                          both
                                                 eyes.:
                                                 eyes.:

                                                 99.8
                                                 99.8

                                                 Physical Exam:
                                                 Physical Exam:
                                                 GENERAL: BCS
                                                 GENERAL:    BCS 5/9,
                                                                 519, BAR
                                                                      BAR

                                                 ABDOMEN:
                                                 ABDOMEN: The  The abdomen
                                                                    abdomen isis soft
                                                                                 soft and
                                                                                      and non-painful.
                                                                                           non-painful. The
                                                                                                        The internal
                                                                                                             internal organs
                                                                                                                      organs palpated,
                                                                                                                              palpated,
                                                 including the
                                                 including the kidneys
                                                               kidneys and
                                                                       and loops
                                                                            loops of
                                                                                   of intestines
                                                                                      intestines had
                                                                                                 had normal
                                                                                                      normal sizes,
                                                                                                             sizes, location,
                                                                                                                    location, and
                                                                                                                              and
                                                 consistency. No
                                                 consistency.  No abnormalities
                                                                   abnormalities were    detected.
                                                                                  were detected.

                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arnythmias are
                                                                                          are heard.
                                                                                              heard.

                                                 EARS: The
                                                 EARS: The ears
                                                           ears are
                                                                are clear
                                                                    clear with
                                                                          with no
                                                                               no evidence
                                                                                  evidence of
                                                                                           of redness
                                                                                              redness or
                                                                                                      or discharge
                                                                                                         discharge

                                                EYES: Bilateral
                                                EYES:    Bilateral ventral
                                                                   ventral entropion
                                                                            entropion with
                                                                                       with ocular
                                                                                            ocular discharge.
                                                                                                   discharge. Owner
                                                                                                               Owner reports
                                                                                                                        reports cleaned
                                                                                                                                 cleaned
                                                daily with
                                                daily with wet
                                                           wet towel.
                                                                towel. No
                                                                        No obvious
                                                                            obvious evidence
                                                                                     evidence of
                                                                                               of ulceration.
                                                                                                  ulceration. Discussed
                                                                                                              Discussed entropion
                                                                                                                            entropion
                                                correctiong and
                                                correctiong  and risks
                                                                   risks of
                                                                         of surgery-
                                                                            surgery- owner
                                                                                      owner declned
                                                                                             decined surgery
                                                                                                      surgery d/t
                                                                                                               d/t high
                                                                                                                   high risk
                                                                                                                         risk of
                                                                                                                              of adverse
                                                                                                                                 adverse

B:Bitllng, C:Med
B:Bi!IJng,  c:Med note, CB:Call
                         cB:call back, CK:Check-ln,
                                       cK:check-ln, CM:Communicalions,
                                                    CM:Comniunicaticns, D:Diagnosis,
                                                                         D:Diagnosis. OH:Declined
                                                                                      DH:Declinedtohistory.   E:Exarnination, ES:Estimates,
                                                                                                  to history, E:Examination,
I:I:Departing
   Departing instr, l:lab
                    Use result, M:lmage cases, P:Prescription,
                                                P:Prescription. PA:PVL
                                                                PA:pvLAccepted,  PB:problems, PP:PVL
                                                                       Accepted, PB:prob!ems, PP:PvL Performed,
                                                                                                       Peiformed, PR:PVL Recommended,
R:Correspondence T:!mages,
R:Correspondence,      T:lmages, TC:Tentalive
                                 Tc:Tentative med!
                                              medt note, V:vital
                                                         V:Vital signs

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                                                                                                                                                      MVS00229
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                                                              Patient History
                                                              Patient History Report
                                                                              Report
         Client:
         Client:       Candy, Bob
                       Candy,  Bob (Tri-State
                                   (Tri-State Zoo)
                                              Zoo) (15924)
                                                   (15924)                        Patient:
                                                                                  Patient:      Isabel (38052)
                                                                                                Isabel (38052)
         Phone:
         Phone:        (240) 727-8051
                       (240) 727-8051                                            Species:
                                                                                 Species:       Porcine
                                                                                                Porcine                       Breed: Vietnamese
                                                                                                                              Breed: Vietnamese Potbelly
                                                                                                                                                Potbelly
       Address:
       Address:        10105 Cottage
                       10105  Cottage Inn
                                      Inn Ln
                                          Ln NE
                                              NE                                     Age:
                                                                                     Age:       7Yrs.
                                                                                                7 Yrs. 11
                                                                                                       11 Mos.
                                                                                                          Mos.                  Sex: Female
                                                                                                                                Sex: Female
                       Cumberland,  MD   21502
                       Cumberland, MD 21502                                         Color:
                                                                                    Color:      Pink
                                                                                                Pink


           Date Type
           Date Type              Staff
                                  Staff           History
                                                  History


                                                  anesthetic event.
                                                  anesthetic event.

                                                  GASTROINTESTINAL: There
                                                  GASTROINTESTINAL: There is
                                                                          is no
                                                                             no evidence
                                                                                evidence of
                                                                                         of gastrointestinal
                                                                                            gastrointestinal abnormalities.
                                                                                                             abnormalities.

                                                  MOUTH/TEETH: The
                                                  MOUTH/TEETH:       The gums
                                                                          gums appear
                                                                                  appear healthy.
                                                                                           healthy. The
                                                                                                    The tongue,
                                                                                                        tongue, tonsils,
                                                                                                                 tonsils, palate,
                                                                                                                          palate, and
                                                                                                                                  and
                                                  pharynx have
                                                  pharynx  have aahealthy
                                                                   healthy color
                                                                           color and
                                                                                  and appearance.
                                                                                       appearance. The
                                                                                                     The teeth
                                                                                                          teeth appear
                                                                                                                appear clean,
                                                                                                                         clean, white,
                                                                                                                                white, and
                                                                                                                                       and
                                                  properly aligned.
                                                  properly aligned. There
                                                                     There is
                                                                            is no
                                                                               no significant
                                                                                   significant accumulation
                                                                                               accumulation of
                                                                                                            of tartar.
                                                                                                               tartar.

                                                  MUCOUS MEMBRANES:
                                                  MUCOUS       MEMBRANES: MucousMucous membranes
                                                                                        membranes are
                                                                                                  are pink
                                                                                                      pink and
                                                                                                           and moist
                                                                                                               moist with
                                                                                                                     with a
                                                                                                                          acapillary
                                                                                                                            capillary
                                                  refill time
                                                  refill time of
                                                              of less
                                                                 less than
                                                                      than two
                                                                           two seconds.
                                                                               seconds.

                                                  LYMPH NODES:
                                                  LYMPH NODES: Lymph
                                                               Lymph nodes
                                                                     nodes are
                                                                           are of
                                                                               of normal
                                                                                  normal size
                                                                                         size and
                                                                                              and character
                                                                                                  character

                                                  MUSCULOSKELETAL.: The
                                                  MUSCULOSKELETAL:       The muscles
                                                                              muscles have
                                                                                        have normal
                                                                                              normal tone
                                                                                                     tone and
                                                                                                           and strength
                                                                                                               strength for
                                                                                                                        for the
                                                                                                                            the pet's
                                                                                                                                pet's
                                                  age and
                                                  age and breed.
                                                          breed. The
                                                                 The pet's
                                                                     pet's gait
                                                                           gait is
                                                                                is normal
                                                                                   normal with
                                                                                          with no
                                                                                               no signs
                                                                                                  signs of
                                                                                                        of lameness
                                                                                                           lameness or
                                                                                                                     or joint
                                                                                                                        joint pain.
                                                                                                                              pain.

                                                  NERVOUS SYSTEM:
                                                  NERVOUS     SYSTEM: TheThe pet
                                                                               pet presented
                                                                                   presented bright,
                                                                                              bright, alert,
                                                                                                      alert, and
                                                                                                             and responsive
                                                                                                                 responsive with
                                                                                                                            with no
                                                                                                                                 no
                                                  obvious abnormalities.
                                                  obvious abnormalities. A  full neurologic
                                                                          A full neurologic exam
                                                                                            exam was
                                                                                                   was not
                                                                                                         not performed.
                                                                                                             performed.

                                                  RESPIRATORY: Respiration is normal with no crackles or wheezes.

                                                  SKIN/HAIR COAT: Your pet's skin is healthy with no redness or evidence of
                                                  infection or
                                                  infection or parasites.
                                                               parasites.

                                                 UROGENITAL: Normal
                                                 UROGENITAL:      Normal urinary
                                                                          urinary tract.
                                                                                  tract. The
                                                                                         The bladder
                                                                                              bladder and
                                                                                                      and kidneys
                                                                                                          kidneys are
                                                                                                                   are of
                                                                                                                       of normal
                                                                                                                          normal
                                                 shape, size,
                                                 shape, size, and
                                                              and consistency.
                                                                  consistency. Normal
                                                                                Normal genitalia
                                                                                         genitalia and
                                                                                                   and reproductive
                                                                                                       reproductive organs
                                                                                                                    organs for
                                                                                                                            for the
                                                                                                                                the
                                                 age, sex, and reproductive status of the animal are present. No discharge was
                                                 noted.
                                                 noted.


                                                 ASSESSMENT:8ilateral     ventral entropion-
                                                 ASSESSMENT:Bilateral ventral     entropion- otherwise
                                                                                             otherwise apparently
                                                                                                       apparently healthy
                                                                                                                  healthy on
                                                                                                                          on exam.
                                                                                                                             exam.
                                                 RV right
                                                 RV right neck,
                                                          neck. CDT
                                                                CDT left
                                                                    left neck.
                                                                         neck.

                                                 PLAN: Monitor
                                                 PLAN:  Monitor eyes-
                                                                 eyes- clean
                                                                       clean discharge
                                                                             discharge daily.
                                                                                       daily. Monitor
                                                                                              Monitor for
                                                                                                      for evidence
                                                                                                          evidence of
                                                                                                                   of discomfort/
                                                                                                                      discomfort/
                                                 increased drainage.
                                                 increased drainage.

                                                 PROCEDURES PERFORMED
                                                 PROCEDURES PERFORMED ON
                                                                      ON YOUR
                                                                         YOUR PET
                                                                              PET TODAY:
                                                                                  TODAY:



    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 LAS
                                                 1.00 LA S Exam
                                                           Exam Level1
                                                                  Level I(LAEX1)
                                                                         (LAEX1) by
                                                                                  by CO
                                                                                     CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 dose of LAM Rabies (LAMRAB) by CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 dose
                                                 1.00 dose of
                                                           of LAM
                                                              LAM Bar-Vac
                                                                    Bar-Vac CDT
                                                                            CDT (1
                                                                                (1 d)
                                                                                   d) (LACDT1)
                                                                                      (LACDT1) by
                                                                                               by CO
                                                                                                  CO
    5/17/2018
    5/17/2018       B
                    B            GD
                                 GD              1.00 Charges
                                                 1.00 Charges Final
                                                               Final (CHFINAL)
                                                                     (CHFINAL) by
                                                                               by CO
                                                                                  CO


            c:Med note, CB:Ca\1
B: Billing, C:Med       ce:call back, CK:Check·in,
                                        CK:check-in, CM:Communications,
                                                     cM:ccmmunicauons. D:Diagnosis,
                                                                           D:Diagnosis. DH:Declined
                                                                                        DltDeclined to history, E:Examlnation, ES:Estimates,
I:Deparbng instr, L:lab
!:Departing        L:Lab result, M:lmage
                                 M:Image cases, ?:Prescription,
                                                 P:Prescription, PA:PVL
                                                                 PAI'VI. Accepted. PR:prob!ems. PP:PVL
                                                                         Accepted, PB:prob!ems, PP:PvL Performed, PR:PVL Recommended,
                      T:lmages, TC:Tentative
R:Correspondence, T:fmages,       Tc:Tentative medlnote,
                                               medi note. v:vitat
                                                          V:Vltal signs

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                                                                              of 3
                                                                                 3                              Date: 4/30/2021
                                                                                                                Date: 4130/2021 12:32
                                                                                                                                12:32 PM
                                                                                                                                      PM


                                                                                                                                                           MVS00230
                       Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 38 of 52
                                                            Patient History
                                                            Patient History Report
                                                                            Report
        Client: Candy,
        Client: Candy, Bob
                        Bob (Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                            Patient:
                                                                               Patient:      Isabel (38052)
                                                                                             Isabel (38052)
        Phone: (240)
        Phone:  (240) 727-8051
                      727-8051                                                Species:
                                                                              Species:       Porcine
                                                                                             Porcine                       Breed: Vietnamese
                                                                                                                           Breed: Vietnamese Potbelly
                                                                                                                                             Potbelly
      Address:  10105 Cottage
      Address: 10105   Cottage Inn
                                Inn Ln
                                    Ln NE
                                       NE                                          Age:
                                                                                   Age:      7Yrs.
                                                                                             7      10
                                                                                               Yrs. 1  Mos.
                                                                                                     0 Mos.                  Sex: Female
                                                                                                                             Sex: Female
                Cumberland, MD
                Cumberland,  MD 21502
                                  21502                                          Color:
                                                                                 Color:      Pink
                                                                                             Pink


          Date Type
          Date Type             Staff
                                Staff           History
                                                History




                         CB:Catt back, CK:Check-in,
B:Billing, C:Med note, CB:Call         C}C:Check-in, CM:Communications, D:Oiagnosis,
                                                                          D:Diagnosis, DH:Oeclined
                                                                                       DH:Dedined to history, E:Examination, ES:Estimates,
tDeparting instr,
!:Departing  tnstr, L:lab
                    L:Lab result,
                          result, M:lmage
                                  M:tmage cases,
                                          cases, P:Prescription,
                                                 P:Prescription. PA:PVL
                                                                 PA:PVLAccepted.  PB:probtems. PP:PVL
                                                                        Accepted, PB:problems, PP:PVL Performed,
                                                                                                       Performed, PR:PVL
                                                                                                                   PR:PVL Recommended,
                                                                                                                           Recommended,
                       T:Images, TC:Tentative medl
R:Correspondence, T:lmages,                    medt note, V:Vital signs


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                         SVS                                          Page 3
                                                                      Page   of 3
                                                                           30f3                                 Date: 3/24/2021
                                                                                                                Date: 3/24/2021 7:17PM
                                                                                                                                7:17 PM




                                                                                                                                                   MVS00067
                                               image71-14
                        Case 1:20-cv-01225-PX Document I Filed 12/20/21 Page 39 of 52
                                                                                  image 1
   Patient: 38052              Isabel                                            Species: Porcine                                                 Breed: Vietnamese Potbelly

    Client: 15924                         (Id-State
                               Candy, Bob {Tri-State                                008: 5/17/13
                                                                                    DOB: 5117/13                                               Gender: Female


           e os-z6-2o1s 5:27
           XXX-XX-XXXX       AM
                        s:21 MI                     999955559093
                                                    999955550093                           ->9NOUNTAINVILW
                                                                                              MOUNTAINV1EW VETERINARY SERVICES                                 Ill
                                                                                                                                                               [)1


                                        I0EXX flsterecca latora%qbs        One IDEXX
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              In'                                                          ON.t
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                                                                                                                                    888


                        CANDY
             :)I-ISABEL CANDY
              Per OWIER·
              PET owiari CANDY
                         CANDY                                     MOUNTAINVIEV/VETERICIARY
                                                                   MOUNTAINVIEW   VETERINARY SERVICES                   ACCESSON
                                                                                                                        ACCESSION 'I             4601270520
                                                                                                                                                 <lS0137o5ao
                                                                      SOUTHERN DRIVE
                                                                   00 SOUTHERI'II                                       REQUBI1tON:
                                                                                                                        REQUISITPN•:
             SPECEIt,
             Sf>ECES:   OTHER
                        OTHEA                                      KEYSER. WEST VIRGINIA 26726
                                                                   KEYSER,                                              DAlE OF
                                                                                                                        DATE OF COttEOTIOIJ
                                                                                                                                COttEOTIOU      05/26/2018
                                                                                                                                                03/26/2018
             BREED:
             MEED:                                                                                                      DATE Of
                                                                                                                        DATE OFIEECEPT
                                                                                                                                l\ECEPT:        03/26/2018
                                                                                                                                                05/26/1018
             OtMOER,
             OHIDER:    FEMAII
                        FEMALE                                     A000UNI 4:
                                                                   ACCOUNT !1:     26144                                DAlE OF
                                                                                                                        DAlE OF AEPOCU:·
                                                                                                                                REPoRT:         03126/2018
                                                                                                                                                0512011:018
             AGE,
             AGE:       SY
                        SY                                         OROEREDSY,
                                                                   ORDERED 8Y:       D4JNCAN
                                                                                     DUNCAN


             lOSES SERVICES:
             IDEXX SENVICEE:     2463 FECAL
                                 2463 P6CM. OVA
                                            OVA AND PARA61TE2W11H01AR131A1
                                                AND PARASITES WITH




                PARASITOLOGY
               TEST
               TE.ST                                                                           RESULT
               Ova &
               OVa & Parasites·
                     Parasites Zinc Sulfate Ce!ltnfutJalion
                                  -         Centrifugation                                     NO OVA
                                                                                               NO OVA OR
                                                                                                      OR PARASITES
                                                                                                         PARASITES SEEN
                                                                                                                   SEEN

               Olardla Antigen
               Giardia                                                                         NEGATIVE


                NOTES
                NOTES
                PARASIToSOOY
                fWV..SITOlOOY                  aa    In casas
                                                     rn oases of acute or chrorlio
                                                                          chronic diarrhea in addition to a
                                                                                                          a fecal
                                                                                                            focal flotation and antigen
                                                                     and parasites consider testing for viral, bacterial and protozoal
                                                     testing for ova artd
                                                                             Rea1PcR (canine diarrhea panel: test code 2525;
                                                     infectious agents using AealPCR                                   2625; feline dhrrhea
                                                                                                                                    diarrhea
                                                                 code 2527),
                                                     panel: test oocle 2621),




            Gel deeper insights: For complete
            Get                      compete access to this
                                                       tins patient's
                                                            patients diagnostk:.
                                                                      diagnostic results,
                                                                                 rosult% indudlng
                                                                                          including historic
                                                                                                    IcrstoncvaIues      Images, login
                                                                                                             values and images, iogVa tow...w.vetconnedplus.com
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                   report generated May 26, 2018
             Final report                                                                                                                          PAGE 1of
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                                                                                                                                                                      5/29/18
                                                       image 1
                                                       I Filed 12/20/21 Page 40 of 52
                                                       image
                     Case 1:20-cv-01225-PX Document 71-14

    Patient: 38052        Isabel
                          Isabel                      Species: Porcine
                                                      Species: Porcine                  Breed: Vietnamese
                                                                                        Breed: Vietnamese Potbelly
                                                                                                          Potbelly

     Client: 15924
     Client: 15924        Candy, Bob
                          Candy, Bob (Tri-State
                                     (Tri-State          DOB: 5/17113
                                                         DOB: 5/17/13                  Gender: Female
                                                                                       Gender: Female



                     'T        6t,1T'    ?ioC)


                     NEW ANIMAL INFORMATION RECORD

                ANIMAL
                ANIMA!. INFO
                ANIMALS NAME:           '''ISA6f{lf                      BIRTHDAY/AGE: <-Ce _____
                                                                         BIRTHDAY/AGE:_<-_'..__
                SPECIES/BREED:
                SPECIES/ BREED      13&L .Y                     M( V UNKNOWN
                                         _,_Y- - - - - - - SEX: M@
                                        2W

                COLOR/MARKINGS: f,J /I3T€
                AVERAGE TEMPERATURE/CLIMATE USED TO: _ _ _ _ _ _ _ _ _ _ __
                TYPE OF ENVIRONMENT/CAGE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                TYPE OF
                TYPE OF FOOD,
                        FOOD, AMOUNT
                              AMOUNT GIVEN,
                                     GIVEN, FREQUENCY: —

                ANY SPECIAL
                ANY SPECIAL CARE
                            CARE NEEDED:     ,CcuJi- - - - - - - - - - - - - -
                                 NEEDED:-tJ.,..,Ji""-'-1

                TEMPERMENT: Rtr&4Lt1
               ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF 50, WHAT:



                                                               50 WHAT: _ _ _ __
               WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO


               ACQUIS irON/HUMAN INFO
               ACQVISTION/HUMAN  INFO_                                                   mu D,;N
                                                                                         NJV )iq
               METHOD: SALE I/bONATIONZlXjH/ RADE I/LOAN          LOAN! I RESCUE DATE: #*S'#Y
                    NAME:     Rap   r  /Zr   it4i€    3oo.   I)tOf4
                    NAME: fJcJfd lfr rfl,T-j'lttTt!'()o . {1/0.J)'l
                                           -                         fflb}'t. ·,:
                                                                           f¥ I • 'l">i
                                /3(Zojw,jjI3a/t-ro
                    ADDRESS: {JP:¢JYitJr_/3,(!f!f.C      tvi .1/1/_j_ I
                                                    ·:@ hr:l
                    CITY/STATE/ZIP:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    PHONE#
                    PHONE # (OPTIONAL):,
                              (OPTIONAL): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    USDA # (IF APPLICABLE): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    USDA#
                             LICENSE #:
                    DRIVERS LICENSE#:                                                   STATE:- - -
                             LICENSE #:
                    VEHICLE LICENSE#:                                                  STATE:_ __
               TRANSPORTATION INFORMATION:
               METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                    NAME:, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    NAME:
               OISPOSI iroN INFO
               DISPOSITION
              METHOD: SALE I/DONATION I/DEATH I/TRADE I/LOAN ,cLEA5bAtE: }.X/9)1'1
                                                                         AQ/9//'f
                   NAME: k-'ArINiifowJ
                           K.AON
                               BMtcC!fT f¥!1c
                   ADDRESS: 13gottcay   t42i(
                   CITY/STATE/ZIP:
                   CITY/S TATE/ZIP: _  _  _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   USDA# (IF APPLICABLE):_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   PHONE#
                   PHONE # (OPTIONAL):,
                             (OPTIONAL): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              TRANSPORTATION INFORMATION:
              METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                   NAME:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   NAME:


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                                                                                                  Date:   4/30/21
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                                                                                          Image Date:     7/9/18
                      Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 41 of 52

                                                              Patient History Report
         Client:
          Client: Candy,
                  Candy, Bob (Tri-State Zoo) (15924)
                         Bob (Tri-State                                          Patient:       Snorkel (38049)
         Phone:
         Phone: (240) 727-8051                                                  Species:
                                                                                Species:        Porcine
                                                                                                Porcine                       Breed: Vietnamese
                                                                                                                              Breed: Vietnamese Potbelly
                                                                                                                                                Potbelly
       Address:
       Address: 10105
                  10105 Cottage
                        Cottage Inn
                                Inn Ln
                                    Ln NE
                                        NE                                          Age:
                                                                                    Age:        13Yrs.
                                                                                                13 Yrs. 11 Mos.                 Sex: Male
                  Cumberland,
                  Cumberland, MD
                              MD 21502
                                   21502                                          Color:
                                                                                  Color:        Black
                                                                                                Black


           Date
           Date Type
                Type              Staff
                                  Staff           History
                                                  History




     6/24/2019 C      c           GD
                                  GD              Default Comments
                                                  Default Comments
                                                  CDT left neck



     6/24/2019       B
                     B            GD
                                  GD              1.00 dose of
                                                  1.00 dose of LAM
                                                               LAM Bar-Vac
                                                                     Bar-Vac CDT
                                                                              CDT (1 d)
                                                                                     d) (LACDT1)
                                                                                        (LACDTI) by
                                                                                                 by AMM
                                                                                                    AMM
     6/24/2019
     6/24/2019       B
                     B            GD
                                  GD              1.00 Charges Final
                                                  1.00 Charges  Final (CHFINAL)
                                                                      (CHFINAL) by
                                                                                 by AMM
                                                                                    AMM
      7/9/2018
      7/9/2018       1
                     T            BW
                                  BW              Image: previous
                                                  Image:  previous vet
                                                                   vet records
                                                                        records
     5/29/2018
     5/29/2018       1
                     T            AB
                                  AB              Image: ldexx
                                                  Image:  ldexx Test
                                                                Test Results
                                                                      Results
     5/26/2018
     5/26/2018       L
                     L                            Microbiology results
                                                                    results from IDEXX Reference
                                                  Laboratory     Requisition ID:
                                                  Laboratory Requisition                4601370581      Posted                                    Final
                                                  Test
                                                  Test               Result
                                                                     Result                    Reference Range
                                                  GIARDIA
                                                  GIARDIA            NEGATIVE
                                                                     NEGATIVE
                                                  OVA&PARA
                                                  OVA& PARA
                                                           4601370581
                                                   Ascn: 4601370581

                                                  OVA &
                                                  OVA  & PARASITES
                                                         PARASITES
                                                  NO OVA OR
                                                  NO OVA  OR PARASITES
                                                             PARASITES SEEN
                                                                         SEEN
                                                  In cases
                                                  In cases of
                                                            of acute
                                                                acute or
                                                                      or chronic
                                                                          chronic diarrhea in addition to aa fecal
                                                 flotation  and
                                                 flotation and
                                                  antigen testing
                                                  antigen  testing for
                                                                    for ova
                                                                         ova and
                                                                              and parasites
                                                                                  parasites consider
                                                                                             consider testing
                                                                                                       testing for
                                                                                                               for
                                                 viral,  bacterial and
                                                 viral, bacterial   and
                                                  protozoal infectious
                                                  protozoal  infectious agents
                                                                          agents using RealPCR (canine
                                                                                                  (canine diarrhea
                                                                                                          diarrhea
                                                 panel: test
                                                 panel:  test code
                                                              code
                                                  2625;  feline diarrhea
                                                  2625; feline   diarrhea panel:   test code
                                                                           panel: test  code 2627).
                                                                                              2627).




    5/17/2018 C      c           GD
                                 GD              Routine exam
                                                 Routine exam
                                                 HISTORY:   Presented for
                                                 HISTORY: Presented   for routine
                                                                          routine exam,
                                                                                  exam! vaccinations.:
                                                                                        vaccinations.:




                                                 Physical Exam:
                                                 Physical Exam:
                                                 GENERAL: BCS 5/9, BAR

                                                 ABDOMEN:
                                                 ABDOMEN: The  The abdomen
                                                                    abdomen isis soft
                                                                                 soft and
                                                                                      and non-painful.
                                                                                           non-painful. The
                                                                                                        The internal
                                                                                                             internal organs
                                                                                                                      organs palpated,
                                                                                                                              palpated,
                                                 including the kidneys
                                                 including the kidneys and
                                                                       and loops
                                                                            loops of
                                                                                   of intestines
                                                                                      intestines had
                                                                                                 had normal
                                                                                                      normal sizes,
                                                                                                             sizes, location,
                                                                                                                    location, and
                                                                                                                              and
                                                 consistency. No
                                                 consistency.  No abnormalities
                                                                   abnormalities were    detected.
                                                                                  were detected.

                                                 CARDIOVASCULAR: No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arrythmias are
                                                                                          are heard.
                                                                                              heard.



B:811Un9,
B:Billlng, C:Med note, cB:catl
                         CB:Cal! back, CK:check-in,
                                        CK:Check-in, CM:communications,    O:Diagnosis, OH:Declined to history, E:Examination, ES:Estimates,
                                                      CM:Communications, O:Oiagnosis,
I:Departing
I: Departing instc,
             instr, L:Lab result.
                          result, M:Imagecases.
                                  M:lmage cases, P:Prescription, PA:PVL
                                                                  pkpvLAccepted,                PP:PvL Performed, PR:PVL Recommended,
                                                                         Accepted, PB:problems, PP:PVL
R:correspondence,
R:Correspondence, T:Images,
                       T:lmages, TC:Tental]vo
                                   TC:Tentative medi
                                                medl note, V:Vital signs

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                                                                                 3                                Date: 4/30/2021
                                                                                                                  Date: 413012021 1:10 PM
                                                                                                                                       PM


                                                                                                                                                     MVS00302
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                                                             Patient History Report
          Client:
          Client: Candy,
                  Candy, Bob  (Tri-State Zoo) (15924)
                          Bob (Tri-State                                       Patient:      Snorkel (38049)
         Phone:
         Phone: (240)
                  (240) 127-8051
                        727-8051                                              Species:       Porcine                      Breed: Vietnamese Potbelly
       Address:
       Address: 10105
                  10105 Cottage  Inn In
                         Cottage Inn     NE
                                     Ln NE                                        Age:
                                                                                  Age:       13 Yrs. 11 Mos.                     Mate
                                                                                                                            Sex: Male
                  Cumberland,
                  Cumberland, MD    21502
                               MD 21502                                         Color:
                                                                                Color:       Black
                                                                                             Black


           Date Type
           Date Type             Staff
                                 Staff           History


                                                 EARS: The ears
                                                 EARS: The ears are
                                                                are clear
                                                                    clear with
                                                                          with no
                                                                               no evidence
                                                                                  evidence of
                                                                                           of redness
                                                                                              redness or
                                                                                                      or discharge
                                                                                                         discharge

                                                 EYES: The
                                                 EYES:    The eyes
                                                              eyes are
                                                                    are bright
                                                                        bright and
                                                                               and clear.
                                                                                   clear. The
                                                                                           The cornea,
                                                                                               cornea, sclera,
                                                                                                          sclera, conjunctiva,
                                                                                                                   conjunctiva, and
                                                                                                                                and eyelids
                                                                                                                                     eyelids
                                                 are intact
                                                 are intact and
                                                            and healthy.
                                                                healthy. The
                                                                          The lens
                                                                               lens is
                                                                                    is transparent
                                                                                       transparent and
                                                                                                   and the
                                                                                                         the iris
                                                                                                              iris has
                                                                                                                   has a
                                                                                                                       anormal
                                                                                                                         normal color
                                                                                                                                 color and
                                                                                                                                       and
                                                 texture. The
                                                 texture.  The pupils
                                                               pupils are
                                                                      are normally
                                                                          normally responsive
                                                                                     responsive to
                                                                                                to light.
                                                                                                   light. Vision
                                                                                                           Vision appears
                                                                                                                    appears normal.
                                                                                                                             normal.

                                                GASTROINTESTINAL: There
                                                GASTROINTESTINAL: There is
                                                                        is no
                                                                           no evidence
                                                                              evidence of
                                                                                       of gastrointestinal
                                                                                          gastrointestinal abnormalities.
                                                                                                           abnormalities.

                                                MOUTH/TEETH: The
                                                MOUTH/TEETH:       The gums
                                                                        gums appear
                                                                                appear healthy.
                                                                                         healthy. The
                                                                                                  The tongue,
                                                                                                      tongue, tonsils,
                                                                                                               tonsils, palate,
                                                                                                                        palate, and
                                                                                                                                and
                                                pharynx  have a
                                                pharynx have   ahealthy
                                                                 healthy color
                                                                         color and
                                                                                and appearance.
                                                                                     appearance. The
                                                                                                   The teeth
                                                                                                        teeth appear
                                                                                                              appear clean,
                                                                                                                       clean, white,
                                                                                                                              white, and
                                                                                                                                     and
                                                properly aligned.
                                                properly aligned. There
                                                                   There is
                                                                          is no
                                                                             no significant
                                                                                 significant accumulation
                                                                                             accumulation of
                                                                                                          of tartar.
                                                                                                             tartar.

                                                MUCOUS       MEMBRANES: Mucous
                                                MUCOUS MEMBRANES:             Mucous membranes
                                                                                      membranes are
                                                                                                are pink
                                                                                                    pink and
                                                                                                         and moist
                                                                                                             moistwith  acapillary
                                                                                                                   with a capillary
                                                refill time
                                                refill time of
                                                            of less
                                                               less than
                                                                    than two
                                                                         two seconds.
                                                                             seconds.

                                                LYMPH NODES:
                                                LYMPH NODES: Lymph
                                                             Lymph nodes
                                                                   nodes are
                                                                         are of
                                                                             of normal
                                                                                normal size
                                                                                       size and
                                                                                            and character
                                                                                                character

                                                MUSCULOSKELETAL: The
                                                MUSCULOSKELETAL:       The muscles
                                                                            muscles have
                                                                                      have normal
                                                                                            normal tone
                                                                                                   tone and
                                                                                                         and strength
                                                                                                             strength for
                                                                                                                      for the
                                                                                                                          the pet's
                                                                                                                              pet's
                                                age and
                                                age and breed.
                                                        breed. The
                                                               The pet's
                                                                   pet's gait
                                                                         gait is
                                                                              is normal
                                                                                 normal with no signs
                                                                                        with no signs of
                                                                                                      of lameness
                                                                                                         tameness or
                                                                                                                   or joint
                                                                                                                      joint pain.
                                                                                                                            pain.

                                                NERVOUS SYSTEM:
                                                NERVOUS     SYSTEM: TheThe pet
                                                                             pet presented
                                                                                 presented bright,
                                                                                           bright, alert,
                                                                                                   alert, and
                                                                                                          and responsive
                                                                                                               responsive with
                                                                                                                          with no
                                                                                                                               no
                                                obvious abnormalities.
                                                obvious abnormalities. A  full neurologic
                                                                        A full neurologic exam
                                                                                          exam was
                                                                                                was not
                                                                                                      not performed.
                                                                                                           performed.

                                                RESPIRATORY: Respiration is
                                                RESPIRATORY: Respiration is normal
                                                                            normal with
                                                                                   with no
                                                                                        no crackles
                                                                                           crackles or
                                                                                                    or wheezes.
                                                                                                       wheezes.

                                                SKIN/HAIR COAT:
                                                SKIN/HAIR    COAT: Your    pet's skin
                                                                      Your pet's skin is
                                                                                      is healthy
                                                                                         healthy with no redness
                                                                                                 with no redness or
                                                                                                                 or evidence
                                                                                                                    evidence of
                                                                                                                             of
                                                infection or parasites.
                                                infection or parasites.

                                                UROGENITAL: Normal
                                                UROGENITAL:      Normal urinary
                                                                         urinary tract.
                                                                                 tract. The
                                                                                        The bladder
                                                                                             bladder and
                                                                                                      and kidneys
                                                                                                          kidneys are
                                                                                                                  are of
                                                                                                                      of normal
                                                                                                                         normal
                                                shape, size, and consistency.   Normal  genitalia and  reproductive organs
                                                shape, size, and consistency. Normal genitalia and reproductive organs for for the
                                                                                                                               the
                                                age, sex, and
                                                age, sex, and reproductive
                                                              reproductive status
                                                                            status of
                                                                                   of the
                                                                                      the animal
                                                                                          animal are
                                                                                                  are present.
                                                                                                      present. No
                                                                                                                No discharge
                                                                                                                   discharge was
                                                                                                                             was
                                                noted.
                                                noted.


                                                ASSESSMENT:
                                                ASSESSMENT: Apparently healthy on
                                                            Apparently healthy on physical
                                                                                  physical exam.
                                                                                           exam. RV
                                                                                                 RV right
                                                                                                    right neck,
                                                                                                          neck. CDT
                                                                                                                CDT left
                                                                                                                    left
                                                neck.
                                                neck.

                                                PLAN: Booster CDT
                                                PLAN: Booster CDT 3-4
                                                                  3-4 weeks.
                                                                      weeks.

                                                PROCEDURES PERFORMED
                                                PROCEDURES PERFORMED ON
                                                                     ON YOUR
                                                                        YOUR PET
                                                                             PET TODAY:
                                                                                 TODAY:



    5/17/2018
    5/17/2018 B
              B                 GD
                                GD              1.00 LAS
                                                1.00 LA S Exam
                                                          Exam Level1
                                                               Level I(LAEX1)
                                                                      (LAEX1) by
                                                                              by CO
                                                                                 CO


B:Billing,
B:Billiog, c:Med
           C:Med note.
                  note, cu:callback,
                        CB:Cal! back, ck:check-in,  cM:communicauons, O:Diagnosis, DH:Oeclined
                                      CK:Check.-in, CM:Communications,               DEtOecUned to history, E:Examination, ES:Estimates,
                                                                                                                           ES:Estimates.
I:Departing
!:Departing instr, L:Lab resutt,
                         result, M:Cmagecases,
                                 M:lmage cases, P:Presciiption, P&PVL Accepted, PB:problems, PP:PVL
                                                ?:Prescription, PA:PVL                       PP:PvL Performed, PR:PVL
                                                                                                                 PR:Pv1 Recommended,
                                                                                                                         Recommended.
R:correspondence,
R:Correspondence, T:lmages, TC:Tentative niedi
                                             medl note, V:vital
                                                         V:Vital signs

 MOUNTAINVIEW
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                                                                                                                                                  MVS00303
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                                                               Patient History Report
          Client:
          Client:      Candy.
                       Candy, Bob
                               Bob (Tri-State Zoo)
                                   (Tri-State Zoo) (15924)
                                                   (15924)                        Patient:       Snorkel (38049)
         Phone:
         Phone:        (240) 727-8051
                       (240) 727-8051                                            Species:
                                                                                 Species:        Porcine
                                                                                                 Porcine                       Breed: Vietnamese
                                                                                                                               Breed: Vietnamese Potbelly
                                                                                                                                                 Potbelly
       Address:
       Address:        10105
                       10105 Cottage
                              Cottage Inn
                                      Inn Ln
                                          Ln NE                                      Age:
                                                                                     Age:        13 Yrs.
                                                                                                 13 Yrs. 11
                                                                                                         11 Mos.
                                                                                                            Mos.                 Sex: Male
                                                                                                                                 Sex: Male
                       Cumberland,
                       Cumberland, MD
                                    MD 21502
                                         21502                                     Color:        Black


           Date
           Date Type
                Type              Staff
                                  Staff            History
                                                   History


     5/1712018 B
     5/17/2018 B                  GD               1.00         LAM
                                                   1.00 dose of LA M Rabies (LAMRAB) by CO
     5/17/2018 B
     5/17/2018 B                  GD               1.00         LAM
                                                   1.00 dose of LA M Bar-Vac CDT (1 d) (LACDT1) by CO
     5/17/2018 B
     5/17/2018 B                  GD               1.00               (CHFINAL) by CO
                                                   1.00 Charges Final {CHFINAL)




B:Billing, c:Med
           C:Med note, cB:call
                         CB:Call back, cK:Check-in,
                                        CK:Check·in, CMComrnunicatlons,    D:Oiagnosis, DH:Oectined
                                                      CM:CommunicaUons, D:Diagnosis,    DI-tOeclined to history, E:Examination,
                                                                                                                 E:Exarnination, ES:Estimates,
l:DeparUng
!:Departing instr.
             instr, L:Lab result
                          result, M:lmage cases, P:Prescription,
                                                  ?:Prescription, PA:PVL Accepted, PB:problems,
                                                                                   PB:prob!ems, PP:PVL Performed, PR:PVL Recommended,
R:correapondence,
R:Correspondence, T:[rnages,
                       T:fmages, Tc:tentative
                                   TC:Tentative med!
                                                medl note, VVitaI
                                                           V:Vital signs

 MOUNTAINVIEW
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              VETERINARY SVS
                         SVS                                            Page 3
                                                                        Page 3of
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                                                                                  3                                Date: 4/30/20211:10
                                                                                                                   Date: 4/30/2021 1:10 PM
                                                                                                                                        PM

                                                                                                                                                        MVS00304
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                                                                                 image 1
                                                                                 image I
     Patient: 38049                        Snorkel
                                           Snorkel                             Species: Porcine                                       Breed: Vietnamese Potbelly

          Client: 15924
                  15924                    Candy,
                                           Candy, Bob (Tr i
                                                          -State
                                                  Bob (Tri-State                   DOB: 5/17/07                                     Gender: Male
                                                                                                                                            Mate
                                                                                                                                    Gender:


                                                                      I




                                         NEW ANIMAL INFORMATION RECORD

                                     ANIMAL
                                     ANIMA!. INFO
                                     ANIMALS NAME;
                                     1-NrMALsNAME=-           3rKJ                                           IRTHbAYJA&Et '7 hoio
                                                                                                            BIRTHDAY/AGE:       )JOto
                                                      fo!
                                     sPECrEs/BREEb:MjL.UuAj_                                       --       SEX; (jj,
                                                                                                            SEX: CAA FF UNKNOWN
                                     COLOR/MARKINGS: y,\ jek
                                     COLOR/MARKINGS:             \J\o.t.k                               -------
                                     AVERAGE TEMPERATURE/CLIMATE USED
                                                                 U5EbTO:
                                                                      TO:. _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     TYPE OF ENVIRONMENT/CAGE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                    TYPE OF FOOD, AMOUNT GIVEN, FREQUENCY: _ _ _ _ _ _ _ _ _ _ _ __

                                    ANY SPECIAL CARE NEEDED: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                    TEMPERMENT:.
                                    TEMPERMENT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
                                    ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: _ _ _ _ __



                                                                                       WHAT: _ _ _ __
                                    WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO WHAT:.




                                    ACQLJISTION/HVMAN
                                    METHOD: SALE /    INFO                                                                              :          [,)il.o l,c<'{U'l
                              \     METHOD: SALE I t(ONATIQJ                             TRADE I/LOAN              LOAN/I RESCUE DATE:
                                                                                                                                   DATE
                                                                                                                                              1       7oO,1 '04
                                                                                                                                                      2tJD
                              '"         NAME:                    10T4 ,170I                 -q
                                                                                             ,    - C   -                -CjCI
                                                                                                                          oo              r
          ._;,;1'                        ADDRESS:
                                          ADDRESS:      iacoc ftj:irts
                                                                     r                                    'd Sc  S5                                  vJa.o.
                                                                                                                                                     Ut4fl  +J<t>n
             'JIJ''      ""              CITY/STATE/ZIP:          Qo4MIO,U ItT))
                                                                  Comh,/a,<d                      (flY) <{1)6:1.                                    \\[!IYLL-  i-v
                      w
                      tUI'A              PHONE #(OPUONAL):             Q16-ia,-gor/
                                                 # (OPTIONAL):. _ _::_<I,_,'/:e.O-_,7'-"<!--'-7-'--'-8._,0"'-:>-"-)_ _ _ _ _ _ _ _ _ __                ,,Jw..'-'--
                                         USDA#
                                         USDA     (IF APPLICABLE): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                # (IF
                                         DRIVERS LICENSE#:
                                                   LICENSE #:                                                                        STATE: _ __
                                                                                                                                     STATE:.
                                         VEHICLE LICENSE#:
                                                   LICENSE #:                                                                       STATE:_ _ __
                                                                                                                                    STATE.:
                                   TRANSPORTATION INFORMATION:
                                   METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                                         NAME:
                                         NAME:. __ ' _____
                                   DISPOSITION INFO /eAt             I  E.
                                                                 (!AI-- t_
                                   METHOD: SALE I/DONATION I/DEATH I/TRADE I/
                                                                                                                       )                  I
                                                                                                                          I/RELEASE DATE: ,J,I2.
                                                                                                                                           1)111 Z
                                                 Arüv'- @jdz O,q
                                         NAME: An\J!wl!            PaJz
                                                                   & ,,'__ lk.it"L                                   /                      '
                                                     /DID.( Ot:lJ:aJ4L
                                         ADDRESS: iO)D≤     ( -1)-aAe Uti )ai_          111dtf=
                                         CITY/STATE/ZIP:     & tce ;;;.:-}
                                         CITY /STATE/ZIP: }f.L,;fVJ    ,lnil. m7)         fbfi ;)OJ-       ,K62
                                         IJ5DA#
                                         USDA# (IF   APPLICABLE):
                                                 (IF APPLICABLE):·-,--,--,,-----,-,---------------
                                        PHONE #    (OPTIONAL): 361- 'lay -avOô _ _ _ _ _ _ _ _ __
                                                #(OPTIONAL).:·_
                                   TRANSPORTATION INFORMATION:
     0'                            METHOD:
                                   METHOD: CARRIER
                                            CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                                        NAME:             Ps- f!A/.-f-
                                                  1044 f<J&
                                                  Lof1,J         c#46 llPL    O,JL'/      'I

                       SEt Bx'Ic AkC 80W! !I_/°/Q
                                                                                                                                                                     MVS00305
MOUNTAIN VIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY   SVS                                                   Panel1 of
                                                                               Paoe   of 1
                                                                                         I                                               Print Date-    4130/71
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                                                                                   image 1I
                                                                                   image
   Patient: 38049               Snorkel                                        Species: Porcine                                                       Breed: Vietnamese Potbelly

    Client: 15924                          (Id-State
                                Candy, Bob (Tri-State                                 DOS: 5/17/07
                                                                                      DOB: 5117107                                                 Gender: Male


            G 05-26·2018 9:49AM
            005-26-20189,49  AM                     999955550093
                                                    999955550093                               -  MOUKTAIPMCW VETERINARY
                                                                                                5MOUNTAINVIEW VETERINARY SERVICES
                                                                                                                         SERVICES                                  0 1
                                                                                               -?                                                                  I)!

                                          IDEXX ftslswncs Lab&qato1r55       One IDE
                                                                             Or,b' IDEXX 0%.,,
                                                                                      XX Q,;.,."'                                        IDEXX fte:s
                                                                                                                                         IOEXX            1ao,ats:ies
              I-mp                        Dhskjn il IDEXX Lsbuiator:ss
                                          Sm
                                                                             VMIOne& l!ai'll;
                                                                                     Nalie 01092
                                                                             tie red soa!st
                                                                                                                                         GJS'U:BB Suppo(l
                                                                                                                                         CJS'u,   Suppo,I
                                                                                                                                         686433
                                                                                                                                         686 .j:)3 9957



                )SNORKEL CANOY
                         CANDY
              P0TDVraR- CANDY
              PET0\'<1-.'ER· CANDY
                                                                    MOUNTAINVIEW VETERINARY SERVICES
                                                                    MOUNTAINVIEWVsTcftnlJty                                ADC1ZSS]oN4
                                                                                                                           AcceSSION.                 4601R70s81
                                                                                                                                                      4$01370581
                                                                    W
                                                                    00 SOUTHERN CRIVE                                      HEQUEITK8Ir
                                                                                                                           HEQUISlTJOU
              SPECIES:
              SPECES:     OTHER
                          OTHER                                     KEV2JER, WESJ
                                                                    KEYSER,  WEST VIRGINIA
                                                                                  VH1CINIA 26726                           AATEOF
                                                                                                                           DATE    COttFC1ION -
                                                                                                                                OF COllfCTk)N         05/26/2016
                                                                                                                                                      05/26/2018
              BREED:
              BREED:
                                                                                                                                DFRECEtPj:
                                                                                                                           DATE OF RECEI<''T:         05129/2018
                                                                                                                                                      OSI:M/2018
              OTNUTA:
              OEN!JEA:    lIME
                          MALE
                                                                    ACCOUNT
                                                                    ACCOlJIIT •B     26144
                                                                                     26144                                 OATEOYBEPOYII
                                                                                                                           DATE Of AEPO'U:            05/26/2016
                                                                                                                                                      05/26/2018
              AGE:        tOY
                          lOY                                       CRABBED BY:          "CAN
                                                                    OMEAEOSY:            DUNCAN

              IDEXXStHVICES
              IOEXX SERVICES:           FECAI. OVA AND PARASITES WITH
                                   2463 FECAl                    wjTho1JcfA.
                                                                      GIARaA'



                PARASITOLOGY
                TEST                                                                                RESULT
                                                                                                    RESUlT
                OVa             Zinc Sulfate
                    & Parasites Zinc
                OVA 8.               Sulfate Centnfugation
                                     -       centnlugatton                                          NO OVA
                                                                                                    NO OVA OR
                                                                                                           OR PARASITES
                                                                                                              PARASITES SEEJ.J
                                                                                                                        SEEN
                Giarde Antigen
                Giardi.a Antfgen                                                                    NEGATIVE
                                                                                                    NEGATIVE

                 NOTES
                 NOTES
                 PARASITOLOGY
                 PMASITOLOGY                   aa   En oases
                                                    In oases of
                                                             of aoute
                                                                 acute or
                                                                        or chronio
                                                                           chronic diarrhea  in addition
                                                                                    diarrhea in  addition toto a
                                                                                                               n feoal
                                                                                                                 feaal flotatioll and antigen
                                                                                                                       flotation and  antigen
                                                    testing for ova at1d
                                                    testing           and parasites  consider tasting
                                                                          paradtes conroider   testing fot'         bacterial and protozoal
                                                                                                       for viral, baotal'ial
                                                    infectious
                                                    infeotious  agents  using ReelpoR
                                                                              RealPCR  (canine  diarrhea panel;
                                                                                                         panel:   test code 2625; feline diarrhea
                                                                                                                            26251  feline
                                                    panel,       code 2627).
                                                    panel: test oo;le




            Get deeper Insights: For complete access to this patients diagnostic
            Gel                                                       diagnosticrecuis,  Includ ing historic
                                                                                 resuhs, inc!udil1!1 Nstaacvalues       images. login to
                                                                                                             values and images,       tow.w.'.vetconneclpluscoen
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                                                                                                                                                                                      MVS00306
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                                                                                             1                                                                Print Date:   4/30/21
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                                                              Patient History
                                                              Patient History Report
                                                                              Report
         Client:
         Client:        Candy, Bob
                        Candy,  Bob (Tri-State
                                    (Tr i
                                        -State Zoo)
                                               Zoo) (15924)
                                                    (15924)                       Patient:
                                                                                  Patient:      Sophie (38053)
                                                                                                Sophie  (38053)
         Phone:
         Phone:         (240) 727-8051
                        (240) 727-8051                                           Species:
                                                                                 Species:       Porcine
                                                                                                Porcine                       Breed: Vietnamese
                                                                                                                              Breed: Vietnamese Potbelly
                                                                                                                                                Potbelly
       Address:
       Address:         10105 Cottage
                        10105  Cottage Inn
                                        Inn Ln
                                            Ln NE
                                               NE                                    Age:
                                                                                     Age:       6Yrs.
                                                                                                6      11 Mos.
                                                                                                  Yrs. 11 Mos.                  Sex: Female
                                                                                                                                Sex: Female
                        Cumberland, MD
                        Cumberland,  MD 21502
                                          21502                                    Color:
                                                                                   Color:       Black
                                                                                                Black


           Date Type
           Date Type              Staff
                                  Staff            History
                                                   History




     6124/2019 c
     6/24/2019 C                  GD              Default Comments
                                                  Default  Comments
                                                  Rv right
                                                  Rv right neck,
                                                           neck, CDT
                                                                 CDT left
                                                                     left neck
                                                                          neck



     6/24/2019
     6/24/2019       B
                     B            GD              1.00 dose
                                                  1.00 dose of
                                                            of LAM
                                                               LAM Rabies
                                                                     Rabies (LAMRAB)
                                                                            (LAMRAB) byby AMM
                                                                                          AMM
     6/24/2019
     6/24/2019       B
                     B            GD              1.00 dose
                                                  1.00 dose of
                                                            of LAM
                                                               LAM Bar-Vac
                                                                     Bar-Vac CDT
                                                                             CDT (1
                                                                                 (1 d)
                                                                                    d) (LACDT1)
                                                                                       (LACDTI) by
                                                                                                by AMM
                                                                                                   AMM
     6/24/2019
     6/24/2019       B
                     B            GD              1.00 Charges
                                                  1.00 Charges Final
                                                                Final (CHFINAL)
                                                                      (CHFINAL) by
                                                                                by AMM
                                                                                   AMM
      7/9/2018
      7/9/2018       T
                     T            BW
                                  BW              Image: Prev
                                                  Image:  Prey vet
                                                               vet records
                                                                   records
     5/2912018
     5/29/2018       T
                     T            AB
                                  AB              Image: ldexx
                                                  Image:  ldexx Test
                                                                Test Results
                                                                     Results
     5/26/2018
     5/26/2018       1.
                     L                            Microbiology results from IDEXX Reference
                                                  Laboratory Requisition ID:           4601370587      Posted                                     Final
                                                  Test               Result                   Reference Range
                                                  GIARDIA            NEGATIVE
                                                  OVA&PARA
                                                  OVA& PARA
                                                   Ascn: 4601370587

                                                    OVA & PARASITES
                                                                                     container, Please submit in
                                                    Sample submitted in an improper container.
                                                 aa solid plastic
                                                                              IDE]C( reference laboratories
                                                    container or refer to the IDEXX
                                                  directory of tests and
                                                    services for approved submittal information. CYNICLOMYCES
                                                 GUTTtJLATUS ALSO KNOWN
                                                 GUTTULATUS
                                                       SACCH1ROMYCOPSIS GUTTULATA
                                                    AS SACCHAROMYCOPSIS
                                                                                    EIt4ERIA OOCYSTS PRESENT FEW
                                                    (NON-PATHOGENIC YEAST) PRESENT EIMERIA
                                                  (3-10) This is not aa
                                                    parasite of this species. This parasite could be
                                                   aa result of food contamination, coprophagy and/or predation.
                                                    In cases of acute or chronic diarrhea in addition to aa fecal
                                                 flotation and
                                                   antigen testing for ova and parasites consider testing for
                                                 viral, bacterial
                                                          bacterial and
                                                   protozoal infectious agents using RealPCR (canine diarrhea
                                                 panel: test code
                                                                                             2627)
                                                   2625; feline diarrhea panel: test code 2627).




    5/17/2018 C
    5/17/2018       c            GD              Routine exam
                                                 Routine exam
                                                 HISTORY: Presented
                                                 HISTORY:  Presented for
                                                                     for exam
                                                                         exam and
                                                                              and vaccinations.:
                                                                                  vaccinations.:




B:Billing, C:Med
B:Billing,  c:Med note,
                    note. CB:Ca!l
                          CB:call back,
                                   back, CK:Check·in,
                                         ckcheck4n, CM:Communications,
                                                       cMCommunrcatrons, O:D!agnosis,
                                                                            O:Dlagnosis. OH:Dec!ined
                                                                                         OH:DeclinedtQhistoq.    E:Examination, ES:Estimates,
                                                                                                     to history, E:Examination, E5:Estimates,
I:I:Departing instr, l:Lab
   Departing instr,  L:Lab result,
                           result, M:lmage
                                   M:Image cases,
                                           cases, P:Prescription,
                                                  P;Prescdption, PA:PVL
                                                                   PA:PVLAccepted,  PB:problems, PP:PVL
                                                                          Accepted, PB:prob!ems, PP:PVI. Performed,
                                                                                                          Performed, PR:PVL
                                                                                                                      PR:PVL Recommended,
                                                                                                                               Recommended,
R:correspondence, T:lmages,
R:Correspondence,       T:Images, TC:Tentative
                                   Tc:Tentative medl
                                                medi note,
                                                      note. V:Vital sins
                                                            v;vital signs



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                                                                                                                                                      MVS00307
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                                                             Patient History
                                                             Patient History Report
                                                                             Report
        Client: Candy,
        Client: Candy, Bob
                        Bob (Tri-State
                            (Tri-State Zoo)
                                       Zoo) (15924)
                                            (15924)                             Patient:
                                                                                Patient:      Sophie (38053)
                                                                                              Sophie  (38053)
        Phone: (240) 727-8051                                                  Species:
                                                                               Species:       Porcine
                                                                                              Porcine                       Breed; Vietnamese
                                                                                                                            Breed: Vietnamese Potbelly
                                                                                                                                              Potbelly
      Address:  10105 Cottage
      Address: 10105   Cottage Inn
                               Inn Ln
                                    Ln NE
                                       NE                                          Age;
                                                                                   Age:       GYrs.
                                                                                              6      11 Mos.
                                                                                                Yrs. 11 Mos.                  Sex: Female
                                                                                                                              Sex: Female
                Cumberland, MD
                Cumberland,  MD 21502
                                  21502                                           Color:
                                                                                  Color:      Black
                                                                                              Black


           Date Type
           Date Type             Staff
                                 Staff           History
                                                 History




                                                 Physical Exam:
                                                 Physical Exam:
                                                 GENERAL; BCS
                                                 GENERAL:    BCS 5/9,
                                                                 5/9, BAR
                                                                      BAR

                                                 ABDOMEN:
                                                 ABDOMEN: The  The abdomen
                                                                    abdomen isis soft
                                                                                 soft and
                                                                                      and non-painful.
                                                                                           non-painful. The
                                                                                                         The internal
                                                                                                             internal organs
                                                                                                                      organs palpated,
                                                                                                                              palpated,
                                                 including the
                                                 including the kidneys
                                                               kidneys and
                                                                       and loops
                                                                            loops of
                                                                                   of intestines
                                                                                      intestines had
                                                                                                 had normal
                                                                                                      normal sizes,
                                                                                                             sizes, location,
                                                                                                                    location, and
                                                                                                                              and
                                                 consistency. No
                                                 consistency.  No abnormalities
                                                                   abnormalities were
                                                                                  were detected.
                                                                                         detected.

                                                 CARDIOVASCULAR; No
                                                 CARDIOVASCULAR: No murmurs
                                                                    murmurs or
                                                                            or arrythmias
                                                                               arrythmias are
                                                                                          are heard.
                                                                                              heard.

                                                 EARS; The
                                                 EARS: The ears
                                                           ears are
                                                                are clear
                                                                    clear with
                                                                          with no
                                                                               no evidence
                                                                                  evidence of
                                                                                           of redness
                                                                                              redness or
                                                                                                      or discharge
                                                                                                         discharge

                                                 EYES: The
                                                 EYES:    The eyes
                                                              eyes are
                                                                    are bright
                                                                        bright and
                                                                               and clear.
                                                                                   clear. The
                                                                                          The cornea,
                                                                                              cornea, sclera,
                                                                                                         sclera, conjunctiva,
                                                                                                                 conjunctiva, and
                                                                                                                              and eyelids
                                                                                                                                   eyelids
                                                 are intact and healthy. The lens is transparent and the iris has a  anormal color and
                                                 texture. The
                                                 texture.  The pupils
                                                               pupils are
                                                                      are normally
                                                                          normally responsive
                                                                                    responsive to
                                                                                               to light.
                                                                                                  light. Vision
                                                                                                          Vision appears
                                                                                                                  appears normal.
                                                                                                                           normal.

                                                 GASTROINTESTINAL: There
                                                 GASTROINTESTINAL: There is
                                                                         is no
                                                                            no evidence
                                                                               evidence of
                                                                                        of gastrointestinal
                                                                                           gastrointestinal abnormalities.
                                                                                                            abnormalities.

                                                 MOUTH/TEETH: The gums appear healthy. The tongue, tonsils, palate, and
                                                 pharynx have
                                                 pharynx  have aahealthy
                                                                  healthy color
                                                                          color and
                                                                                 and appearance.
                                                                                     appearance. The
                                                                                                   The teeth
                                                                                                        teeth appear
                                                                                                              appear clean,
                                                                                                                     clean, white,
                                                                                                                            white, and
                                                                                                                                   and
                                                 properly aligned.
                                                 properly aligned. There
                                                                    There is
                                                                           is no
                                                                              no significant
                                                                                 significant accumulation
                                                                                             accumulation of
                                                                                                          of tartar.
                                                                                                             tartar.

                                                 MUCOUS MEMBRANES:
                                                 MUCOUS       MEMBRANES: MucousMucous membranes
                                                                                       membranes are
                                                                                                 are pink
                                                                                                     pink and
                                                                                                          and moist
                                                                                                              moist with
                                                                                                                    with a
                                                                                                                         acapillary
                                                                                                                           capillary
                                                 refill time of less than two seconds.
                                                 refill time of less than two seconds.

                                                 LYMPH NODES:
                                                 LYMPH NODES; Lymph
                                                              Lymph nodes
                                                                    nodes are
                                                                          are of
                                                                              of normal
                                                                                 normal size
                                                                                        size and
                                                                                             and character
                                                                                                 character

                                                MUSCLJLOSKELETAL: The
                                                MUSCULOSKELETAL:       The muscles
                                                                            muscles have
                                                                                      have normal
                                                                                            normal tone
                                                                                                   tone and
                                                                                                         and strength
                                                                                                             strength for
                                                                                                                      for the
                                                                                                                          the pet's
                                                                                                                              pet's
                                                age and
                                                age and breed.
                                                        breed. The
                                                               The pet's
                                                                   pet's gait
                                                                         gait is
                                                                              is normal
                                                                                 normal with no signs
                                                                                        with no signs of
                                                                                                      of lameness
                                                                                                         lameness or
                                                                                                                   or joint
                                                                                                                      joint pain.
                                                                                                                            pain.

                                                NERVOUS SYSTEM: The pet presented bright, alert, and responsive with no
                                                obvious abnormalities.
                                                obvious abnormalities. A lull neurologic
                                                                       A full neurologic exam
                                                                                         exam was
                                                                                              was not
                                                                                                  not performed.
                                                                                                      performed.

                                                RESPIRATORY: Respiration is normal with
                                                                                   with no crackles or wheezes.

                                                SKIN/HAIR COAT: Your  Your pet's skin is healthy with no redness or evidence of
                                                infection or
                                                infection or parasites.
                                                             parasites.

                                                URoGENITAl.: Normal
                                                UROGENITAL:      Normal urinary
                                                                         urinary tract.
                                                                                 tract. The
                                                                                        The bladder
                                                                                            bladder and
                                                                                                    and kidneys
                                                                                                        kidneys are
                                                                                                                are of
                                                                                                                    of normal
                                                                                                                       normal
                                                shape, size, and consistency. Normal genitalia and reproductive organs for the
                                                age, sex, and reproductive status of the animal are present. No discharge was
                                                noted.
                                                noted.



Milling, C:Med
B:BIIIing,  c:Med note, CB:Call
                          cB:call back, CK:Check-ln,
                                        CK:check-In, CM:Communicalions,
                                                      CM:communications, D:Diagnosis, DH:Oectined
                                                                                        DH:Declined to history, E:Examination,
                                                                                                                EExamination, ES:Estimates,
I:I:Depaffing Instr, L:lab
   Departing lnstr,  L:Labresult,                 P:Pcescription. PA:PVL
                           result, M:lmage cases, ?:Prescription, PA:pVLAccepted,               PP:PVI. Performed,
                                                                         Accepted, PB:problems, PP:PVL   Pedormed, PR:PVL
                                                                                                                     PR:PvL Recommended,
R:correspondence, T:lmages,
R:Correspondence,       T:Images, TC:Tentative
                                   Tc:Tentative med!
                                                meth note, V:Vital signs


MOUNTAINVIEW VETERINARY
MOUNTAINVIEW VETERINARY SVS
                        SVS                                           Page 2
                                                                      Page 2of
                                                                             of 3
                                                                                3                                      4/30/2021 1:11 PM
                                                                                                                 Date: 4/30/20211:11

                                                                                                                                                         MVS00308
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                                                              Patient History Report
          Client: Candy,
          Client  Candy, Bob
                          Bob (Tri -State Zoo)
                              (Tri-State       (15924)
                                          Zoo) (15924)                           Patient:      Sophie (38053)
         Phone: (240)
         Phone    (240) 727-8051
                        727-8051                                                Species:
                                                                                Species:       Porcine
                                                                                               Porcine                       Breed: Vietnamese
                                                                                                                             Breed: Vietnamese Potbelly
                                                                                                                                               Potbelly
       Address: 10105
       Address    10105 Cottage
                         Cottage Inn
                                  Inn In
                                      Ln NE
                                          NE                                        Age:
                                                                                    Age:       6Yrs.
                                                                                               6      11 Mos.
                                                                                                 Yrs. 11 Mos.                  Sex: Female
                                                                                                                               Sex: Female
                  Cumberland,
                  Cumberland, MD
                               MD 21502
                                     21502                                        Color:       Black


           Date
           Date Type
                Type              Staff
                                  Staff           History
                                                  History


                                                  ASSESSMENT:
                                                  ASSESSMENT: Apparently healthy on
                                                              Apparently healthy on physical
                                                                                    physical exam.
                                                                                             exam. RV
                                                                                                   RV right
                                                                                                      right neck,
                                                                                                            neck, CDT
                                                                                                                  CDT left
                                                                                                                      left
                                                  neck.
                                                  neck.

                                                  PLAN:
                                                  PLAN: Booster CDT 3-4 weeks
                                                                        weeks

                                                  PROCEDURES PERFORMED ON
                                                  PROCEDURES PERFORMED ON YOUR
                                                                          YOUR PET
                                                                               PET TODAY:
                                                                                   TODAY:



     5/17/2018
     5/17/2018       B
                     B            GD              1.00 LAS
                                                  1.00 LA   Exam Level
                                                          S Exam   Level 1
                                                                         1(LAEX
                                                                           (LAEX1)  by CO
                                                                                 1) by CO
     5/17/2018
     5/17/2018       B
                     B            GD              1.00 dose of
                                                  1.00 dose of LAM
                                                               LAM Rabies
                                                                     Rabies (LAMRAB)
                                                                            (LAMRAB) by by CO
                                                                                           CO
     5/17/2018
     5/17/2018       B
                     B            GD              1.00
                                                  1.00 dose of LAM Bar-Vac CDT (1 d) (LACDT1) by CO
     5/17/2018
     5/17/2018       B
                     B            GD              1.00 Charges Final
                                                  1.00 Charges  Final (CHFINAL)
                                                                      (CHFINAL) by
                                                                                by CO
                                                                                    CO




B:Bilflng,
B:Billing, c:Med
           C:Med note, cB:call
                        CB:Call back, cK:check-In.
                                       CK:Check-!n, CM;communications,   O:Diagnosis, DH:Dectined
                                                    CM:Communications, D:Diagnosis,   Ol-l:Dectined to history, E:ExaminaUon,
                                                                                                                E:Examination, ES:Estimates,
 :Oeparting instr, L:Lab
!:Departing        l:lab result.
                         result, M:Imagecases,
                                 M:lmage cases, P:Pescrlption,  PA:PvL Accepted, PB:prob!ems,
                                                P:Prescription, PA:PVL           PB:probtems, PP:PVL
                                                                                               PP:PvL Performed, PR;PVL
                                                                                                                     PR:PVL Recommended,
R:correspondence,
R:Correspondence, T:lrnages,      rc:Tenlauve mad
                      T:lmages, TC:Tentative  medl note, V:Vital
                                                         V:Vltal signs

 MOUNTAINVIEW
 MOUNTAINVIEW VETERINARY SVS
              VETERINARY SVS                                           Page 3
                                                                       Page 3of
                                                                              of 3
                                                                                 3                                Date: 4/30/2021
                                                                                                                  Date: 4/30/2021 1:11
                                                                                                                                  1:11 PM
                                                                                                                                       PM

                                                                                                                                                          MVS00309
                      Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 49 of 52
                                                                      I
                                                                image 1
     Patient:
     Patient: 38053
              38053         Sophie
                            Sophie                             Species:
                                                               Species: Porcine
                                                                        Porcine                          Breed: Vietnamese
                                                                                                         Breed: Vietnamese Potbelly
                                                                                                                           Potbelly

      Client: 15924
      Client: 15924         Candy,
                            Candy, Bob
                                   Bob (Id-State
                                       (Tri-State                  DOB:
                                                                   DOB: 5/17/14
                                                                        5/17/14                        Gender: Female
                                                                                                       Gender: Female




                   NEW ANIMAL INFORMATION RECORD

              ANIMAL INFO
              ANIMALS
              ANIMALS NAME: *sbpjln;h(                                                 BIRTHDAY/AGE:
                                                                                       BIRTHDAY I AGE:_<__,_/_ _ __
              SPECIES/BREED:
              SPECIES/ BREED Okir         4 f3LCf
                                    '--<Fd''      t:_:::LL"'-'X''-:-;--:-:--;;----
                                       1:r(_.,.&""-                                    SEX:
                                                                                       SEX: MOF
                                                                                            M(f) UNKNOWN
              COLOR/MARKINGS:              1,)ft.C1t w      - 1oyrg
              COLOR/MARKINGS:____../J"'A"'-f[t'-"'-'w""('---$'"-'-'(1'-'Y(S'-"-'
              AVERAGE TEMPERATURE/CLIMATE USED TO: /)ôt.4 (Jr _ _ _ _ _ _ __
              TYPE OF ENVIRONMENT/CAGE: /Jot*-<ct _ _ _ _ _ _ _ _ _ _ __

             TYPE
             TYPE OF
                  OF FOOD,
                     FOOD, AMOUNT
                           AMOUNT GIVEN,
                                  GIVEN, FREQUENCY:                            -     QA44?LY'
             ANY SPECIAL CARE NEEDED: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             TEMPERMENT:            iIc&)`bt-'t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: _ _ _ __



             WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO WHAT: _ _ _ __
                 f'L"' - I
                 Per -wi
                      uJ Pskt
                         f&¥t.L

             ACQUISTION/HUMAN INFO
             ACQVISTZON/H(/MAN
                          I DONATION f1fi±{'/ TRADE /
             METHOD: SALE /                            I LOAN I/RESCUE DATE:                              &Ii3/iC
                                                                                                          f!/;:3/t)
                  NAME: l'hM
                          /3)6I *r     'jo
                                kc 2a' TO
                                   2ci     'lt')&o/t HbopTfl
                                                     ·-Atxwrril
                      ADDRESS:           j3twu.-ur /31'< 1/L
                                         BIWtcMtr &1t              ,go({;
                                                                   9616
                      CITY/STATE/ZIP:
                      CITY/STATE/ZIP:,·_------------------
                  PHONE #
                  PHONE #(OPTIONAL):
                           (OPTIONAL): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  USDA#  (IF APPLICABLE): _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  USDA # (IF APPLICABLE):
                  DRIVERS LICENSE
                          LICENSE#:#:                                 STATE: _ __
                 VEHICLE LICENSE
                          LICENSE#:#:                                 STATE; _ __
                                                                      STATE:.
            TRANSPORTATION INFORMATION:
            METHOD: CARRIER /I INTERMEDIATE HANDLER I/PRIVATE VEHICLE
                 NAME:__________________________                                _
                      NAME;
            DISPOSITION INFO
            DISPOSITTON
            METHOD: SALE /
                         I DONATION /
                                    I DEATH /
                                            I TRADE /
                                                    I LOAN /         DATE; _ __
                                                           I RELEASE DAiE:
                      NAME:______________________
                      NAME;
                      ADDRESS: ________________________________
                      ADDRESS:
                      CITY/STATE/ZIP:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      CITY/STATE/ZIP:
                      USDA# (IF
                      USDA# (IF APPLICABLE);
                                APPLICABLE): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      PHONE
                      PHONE##(
                             (OPTIONAL):
                               OPTIONAL)'----------------
            TRANSPORTATION INFORMATION:
            METHOD: CARRIER /
                            I INTERMEDIATE HANDLER /
                                                   I PRIVATE VEHICLE
                 NAME:
                 NAME: _  _  _  _ _  _ _  _  _ _  _  _ _ _ _ _ _ _ _ _ __
                                                                                                                                   MVS00310
MOUNTAINVIEW VETERINARY SVS
MOUNTAINVIEWVETERINARY  SVS                                     Page 1
                                                                     1 of 1
                                                                          1                                Print Date:
                                                                                                           Print Date:   4/30/21
                                                                                                                         4/30/21
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 50 of 52
                                                                                 image 1
                                                                                 image I
    Patient: 38053
    Patient: 38053               Sophie
                                 Sophie                                       Species: Porcine
                                                                              Species: Porcine                                                          Breed: Vietnamese
                                                                                                                                                        Breed: Vietnamese Potbelly
                                                                                                                                                                          Potbelly

     Client: 15924
     Client: 15924               Candy, Bob
                                 Candy, Bob (Tri-State
                                            (Tri-State                              DOB: 5/17/14
                                                                                    DOB: 5/17/14                                                    Gender: Female
                                                                                                                                                    Gender: Female



           0 05-26-2018
           0 05-26-2016 9:52
                        9:52 At-i
                             AM                   999955550093
                                                  999955550093                            -)r4OUNTAlWlEWVETERINARY
                                                                                          -) 1-\0UNTAINVIE\VVETERINARY SERVICES                                     01
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                                                                                                                                        868 433 9287
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              Alit
                                 EMMY CANDY
              Per 01-'iNER
              PET 0½1aR CANDY                                     IAoUNTAlNVIEW VETERINARY
                                                                  IAOUNTAINVIEW                SERVICES
                                                                                VETERINARY SERVICES                         ACEESSK)NN               4601370587
                                                                                                                                                     4B0\370S87
                                                                  00 SOUTHERN
                                                                  00 SOUTHERN DRIVE
                                                                              DRIVE                                         nsotnsIraro
              OFECES:
              SPECES:    OTHER
                         OTHEA                                    KEYSER, WESl
                                                                  KEVSEn. WEST VI Rol NIA 26726
                                                                               VIRCIN!A   26726                             DATE OF
                                                                                                                            DAlE OF COltECliON
                                                                                                                                    COIL EDT IO0I    05/2612018
                                                                                                                                                     O!S/26/2018
             BREED:                                                                                                         DAIS OF
                                                                                                                            DATE OF REC€8'T:           05/20/2018
             .ENDER : FEMAlE
             oENDER·  FEMALE                                      ACcOUNT t       26044
                                                                                  2G144                                     DATE OF
                                                                                                                            DATE OF REPO"l:·
                                                                                                                                    REPORt r         05/26/2016
                                                                                                                                                     05/26/2018
             A68,     28
                      2Y                                          OFIDIREO 88:
                                                                  ORDEREOBY:         DIJNCAN
                                                                                     DUNCAN

             IDEaX
             IDE    SERVICES:
                 XX SERVICES·    2483 FECAL
                                 2463 FECAI. OVA
                                             OVA AND PARASITES W1TH
                                                 AND PARASITES WITH GIARDIA'
                                                                    OIAR0<A

                                                                                                                                            --------
                PARASITOLOGY
                PARASITOLOGY
                TEST
                TEST                                                                           REsULT
                                                                                               RESULT
                ova &
                OVa &Parasites- Zinc Sulfate Centrifugation •                                  sample submitted In an Improper container.
                                                                                               Sample                                 contaIner. Please submit In aa
                                                                                               sold plastic
                                                                                               solid Plastic cOiltalner
                                                                                                             container or
                                                                                                                        or refer
                                                                                                                           refer to
                                                                                                                                 to the
                                                                                                                                    the IDEX,'(
                                                                                                                                         I0EXX reference
                                                                                                                                                reference laboratories
                                                                                                                                                           laboratories
                                                                                               directory or tests and  servIces   for approved  submittal Information,
                                                                                               directory or tests and services for approved submittal lnlormatkm.
                                                                                               CYNICLOMYcES GUTTULATUS
                                                                                               CYNICLOMYCES GUTTULATIIS ALSO IC'IOWN As
                                                                                                                        ALSO KNOVvN  AS
                                                                                                SACCHAROMYCOPSIS GUTTULAT
                                                                                                SACCHAROMYCOf>SIS          OUrrULATA    A
                                                                                                (NON-PATHOGENIC YEAST)           PRESENT EIMERIA
                                                                                                                       YEAST) PRESENT        EIMERIA OOCYSTS
                                                                                                                                                        000YSTS
                                                                                                PRESENT FEW
                                                                                                PRESENT     FEW (3-10)
                                                                                                                  (3-10) This
                                                                                                                         This Is not a
                                                                                                                                     aparasite
                                                                                                                                       parasite of
                                                                                                                                                or this species.
                                                                                                                                                        species. This
                                                                                                                                                                 This
                                                                                                parasite could be
                                                                                                parasite       he
                                                                                               aaresult of food
                                                                                                           rood contamination, coprophagy and/ot
                                                                                                                                              and/or pmdaUon.
                                                                                                                                                      piedation,
               Olardla Antigen                                                                  NEGATIVE
                                                                                                NEGATIVE

                 NOTES
                 NOTES
                PARASITOLOGY
                PAAASITOLOOY                   aa In cases
                                                       oases of acute or chronio
                                                                         chronic diarrhea in additioo
                                                                                              addition to a
                                                                                                          a fecal
                                                                                                             focal flotation and antigen
                                                  testing tor
                                                  tes.ti11g for ova
                                                                ova and
                                                                    and parasites consider testing
                                                                        parasites consider  testing for
                                                                                                    for viral,
                                                                                                        viral, bacterial   and protozoal
                                                                                                                bacterial and  protozoal
                                                  Infectious agents
                                                  ihfectiOU$   agents using RealPen (canine
                                                                      using RaalPCR (canine diarrhea
                                                                                             diarrhea panel:  test code 262:5j
                                                                                                      pahel: test       2625; feline
                                                                                                                               feline dial-rhea
                                                                                                                                      diarrhea
                                                   panel: test code
                                                   panel: test coda 2627),
                                                                    2827).




            13e1 deeper
            Get  deeper lns!gh!s:
                        insights: For
                                  For complete
                                      complete access
                                               access to
                                                      to this
                                                         this pat1enrs
                                                              patients drasnostk:
                                                                       diagnostic results,
                                                                                  results, indudlrlg
                                                                                           including h:storic
                                                                                                     h!storiu values
                                                                                                              values and
                                                                                                                     and Images,
                                                                                                                         8iages, login
                                                                                                                                 login to
                                                                                                                                       to wnw.vetconnectp!us.coltl
                                                                                                                                          whw.vetconnectptus.corn
            Final report generated May 26, 2018                                                                                                      PAGE 1  1of 1 I




                                                                                                                                                                                      MVS00311
MOUNTAINVIEWVETERINARY
MOUNTAIN VIEW VETERINARY SVS                                                     Pace 1
                                                                                 Paae 1of 1
                                                                                          1                                                                         Dale:
                                                                                                                                                              Print Date:   4/30/21
                         Case 1:20-cv-01225-PX Document 71-14 Filed 12/20/21 Page 51 of 52
                                                             Patient History Report
                            (Tri-State Zoo) (15924)
         Client: Candy, Bob (Tri-State                                           Patient:      Diablo (37611)
         Phone: (240) 727-8051                                                  Species:
                                                                                Species:       Feline
                                                                                               Feline                        Breed: Bobcat
       Address:  10105 Cottage
       Address: 10105  Cottage Inn
                               Inn Ln
                                    Ln NE
                                       NE                                           Age:
                                                                                    Age:       23 Yrs.
                                                                                               23 Yrs. 0
                                                                                                       0Mos.
                                                                                                         Mos.                  Sex: Male
                                                                                                                               Sex: Male
                 Cumberland, MD
                 Cumberland, MD 21502
                                  21502                                           Color:
                                                                                  Color:       Black/Grey
                                                                                               Black/Grey


           Date Type              Staff
                                  Staff           History
                                                  History


               P
     10/3/2019 p                  GD
                                  GD              1.00 bottle
                                                 1.00  bottle of
                                                              of Meloxicam
                                                                 Meloxicam Oral10
                                                                             Oral 10 mlmL Bottle
                                                                                           Bottle (MELBOT)
                                                                                                  (MELBOT)
                                                     4:119528
                                                 Rx #:  119528 0  0Of 0 0Refills Filled by: AJR
                                                                                             AJR
                                                 GIVE 2
                                                 GIVE   2ML
                                                          ML BYBY MOUTH
                                                                  MOUTH ON  ON DYA
                                                                                 DYA ONE,
                                                                                       ONE, THEN
                                                                                              THEN 1ML
                                                                                                    1ML ON
                                                                                                        ON DAY
                                                                                                            DAY 22AND
                                                                                                                  AND 3,
                                                                                                                       3, THEN
                                                                                                                          THEN
                                                 0.25ML EVERY
                                                 0.25ML    EVERY 3-4
                                                                   3-4 DAYS
                                                                        DAYS AS    NEEDED.
                                                                               AS NEEDED.
     10/3/2019 B
     10/3/2019 B                 GD
                                 GD              1.00 bottle
                                                 1.00  bottle of
                                                              of Meloxicam
                                                                 Meloxicam Oral10
                                                                             Oral 10 mlmL Bottle
                                                                                           Bottle (MELBOT)
                                                                                                  (MELBOT) by
                                                                                                           by AJR
                                                                                                              AJR
     6/14/2019 p
     6/14/2019 P                 GD
                                 GD              1,00 bottle
                                                 1.00  bottle of
                                                              of Meloxicam
                                                                 Meloxicam Oral10
                                                                             Oral 10 mlmL Bottle
                                                                                           Bottle (MELBOT)
                                                                                                  (MELBOT)
                                                 Rx #:
                                                 Rx  #: 114450
                                                        114450 0  0Of
                                                                    Of 00Refills
                                                                          Refills Filled
                                                                                  Filled by:
                                                                                         by: GD
                                                                                             GD
                                                 GIVE 2
                                                 GIVE   2ML
                                                          ML BYBY MOUTH
                                                                  MOUTH ON  ON DYA
                                                                                 DYA ONE,
                                                                                       ONE, THEN
                                                                                              THEN 1ML
                                                                                                    1ML ON
                                                                                                        ON DAY
                                                                                                            DAY 22AND
                                                                                                                  AND 3,
                                                                                                                       3, THEN
                                                                                                                          THEN
                                                 0.25ML EVERY
                                                 0.25ML    EVERY 3-4
                                                                   3-4 DAYS
                                                                        DAYS AS    NEEDED.
                                                                               AS NEEDED.
     6/14/2019       B
                     B           GD
                                 GD              1.00 bottle
                                                 1.00  bottle of
                                                              of Meloxicam
                                                                 Meloxicam Oral10
                                                                             Oral 10 mlmL Bottle
                                                                                          Bottle (MELBOT)
                                                                                                  (MELBOT) by
                                                                                                           by GD
                                                                                                              GD
     6/14/2019       B
                     B           GD
                                 GD              1.00 Charges
                                                 1.00  Charges Final
                                                                 Final (CHFINAL)
                                                                       (CHFINAL) by by GD
                                                                                        GD
      7/3/2018
      7/3/2018       T
                     T           BW
                                 BW              Image: Previous
                                                 Image:    Previous vet
                                                                    vet records
                                                                         records
     5/26/2018       L
                     L                           Microbiology results from IDEXX Reference
                                                 Laboratory Requisition ID: 4601370578                          Posted        Final
                                                 Test                 Result                         Reference Range
                                                 GIARDIA              NEGATIVE
                                                 OVA&PARA
                                                 OVA&  PARA
                                                   Ascn: 4601370578

                                                   OVA & PARASITES
                                                   HOOKWORM OVA PRESENT FEW (3-10)
                                                   LARVAE PRESENT
                                                   Larvae are present which do not resemble lungworm larvae.
                                                 Unable to
                                                  differentiate between Strongyloides larvae and free-living
                                                 nematode larvae
                                                   based on appearance.                        If this specimen had prolonged
                                                contact with soil,
                                                 contamination with free-living larvae is possible.
                                                Recommend resubmission of aa
                                                 fresh specimen avoiding contact with soil.
                                                 In cases of acute or chronic diarrhea in addition to aa fecal
                                                flotation and
                                                 antigen testing for ova and parasites consider testing for
                                                viral, bacterial and
                                                 protozoal infectious agents using RealPCR (canine diarrhea
                                                panel: test code
                                                  2625; feline diarrhea panel: test code 2627).
                                                                                         2627)




B:Billing, C:Med         CB:call back, CK:Check·in,
           c:Med note, CB:Ca!l          CK:Check.in, CM:Communlcatlons,
                                                     cM:comrnunrcatlons. D:Diagnosis, DH:Oeclined
                                                                                       DH:oeclinedtohisloq,    E:Examination, ES:Estlmates,
                                                                                                   to history, E:ExaminaUon,  ES:Estimates,
I:Departing         L:Lab result, M:lmage cases, P:Prescription, PA:PVL
   Departing instr, L:lab                                        PAJ'vL Accepted, PB:probtems,
                                                                                  PR:problems, PP:PVl
                                                                                               PP:PVt, Performed, PR:PVl
                                                                                                                    PR:PVL Recommended,
R:correspondence, T:lmages, TC:Tentative
R:Correspondence,                 Tc:Tenlative medt
                                               medi note, V:Vitat
                                                          V:Vilat signs


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                                                                                 1                             Date: 4/30/2021
                                                                                                               Date: 4/30/2021 12:19
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                                              image
                                                  image 1
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     Patient: 37611
     Patient: 37611      Diablo
                         Diablo                  Species: Feline                             Breed: Bobcat
                                                                                             Breed: Bobcat

      Client: 15924
      Client: 15924      Candy, Bob
                         Candy, Bob (Tri-State
                                    (Tri-State      DOB: 4/17/98
                                                    DOB: 4/17/98                         Gender: Male
                                                                                         Gender: Male



          NEW ANIMAL INFORMATION RECORD

      ANIMAL INFO
      ANIMALS NAME:                                       8IRTHltY/AGE:    5/it)
                                                                 YI AGE:-"5+',/t-'Y<t
      5PECIE5/BREEb:RyiQ      ehnt                                 W F
                                                              SEX: (}.fJ F UNKNOWN       -   -\·c4'uf
      COLOR/MARKINGS:. qu   kmnr) co/
      AVERAGE TEMPERATURE/CLIMATE' USED TO:
      TYPE OF ENVIRONMENT/CAGE:


      TYPE OF
      TYPE OF FOOD,
              FOOD, AMOUNT GIVEN, FREQUENCY:."""
                    AMOUNT GIVEN, FREQUENCY:x4eA+                          ------
                                                                       1
      ANY SPECIAL CARE
      ANY SPECIAL CARE N
                       NEEDED:
                          EEDED:·-----------------

      TEMPERMENT:       '&Qtt.fl

      ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT: cn%u                      JJ

     WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO WHAT:.J..al.IIO:o
                                                        WHAT: nnrn     01.wa<;_•_ __


     ACQUISTION/HUAIAN
     ACQUISTION/HUMAN INFO
     METHOD: SALE I/DONATION I/BIRTH I/TRADE I/LOAN I/R          RESCUE
                                                                   SCUE DATE: .;;) ()0;)
          NAME; KaLc& cAtrc. L*U
          NAME:                           J.         J   . 1 ,
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          ADDRESS:·-L:.;::_Jd...Jf:tl.jJll:Uh..<J.4_&L _   _::__ __::__ _ _ _ _ _ _ '' :b• ak "71
                             'j'4on,u ff4 11113
          CITY/STATE/ZIP: .-r.                                                                        '(t[J:;li;ik,.-
          PHONE   #  (OPTIONAL):
          PHONE# (OPTIONAL):                                                                    c&,'M
          USDA   # (IF APPLICABLE):
          USDA# (IF APPLICABLE):                                                         °TT'Th,
                                                                                           l I       L
          DRIVERS LICENSE
          DRIVERS   LICENSE #:
                             #:                                           STATE:
                                                                          STATE:                   :
                    LICENSE #:
          VEHICLE LICENSE#:                                              STATE;
                                                                         STATE:.___         @pjd      t'i
                       INFORMATION;
     TRANSPORTATION INFORMATION:
     METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
          NAME:. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            NAME:
    DISPOSITION INFO
    OISPOSI7TON      INFO                                ;;:· -...
    METHOD: SALE I/DONATION I/DEATH I/TRADE /(OAFj I/RELEASE DATE: \ \'it)
                                                                        Ljlid.
         NAME: Asivci)A
                     iyça   cj!4 Ch'-t. cc . - R.Utw..t.
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         CITY/STATE/ZIP; (', c,i,,t&J iOrn d,JMT)
         CITY/STATE/ZIP:                           wcoX
         USDA#   (IF APPLICABLE):
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         PHONE ## (OPTIONAL)           O-RJ VOÔ _______________
                   (OPTIONAL):: _ _,2>2!.6u\
    TRANSPORTATION INFORMATION:
    METHOD: CARRIER I/INTERMEDIATE HANDLER I/PRIVATE VEHICLE
         NAME::
         NAME:
                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


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